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HIDDEN DISCRIMINATION:



TITLE IX
RELIGIOUS
EXEMPTIONS
PUTTING LGBT
STUDENTS AT RISK

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LETTER FROM HRC PRESIDENT CHAD GRIFFIN




                                           DEAR FRIENDS,
                                           THE CLASSROOM IS A PLACE WHERE STUDENTS SHOULD
                                           FEEL SAFE, RESPECTED, AND CAPABLE OF FULFILLING THEIR
                                           GREATEST POTENTIAL. UNFORTUNATELY, FOR MANY LESBIAN,
                                           GAY, BISEXUAL, AND TRANSGENDER STUDENTS, SCHOOL IS
                                           A PLACE WHERE THEY FACE DAILY BULLYING, HARASSMENT,
                                           AND DISCRIMINATION. A PATCHWORK OF STATE LAWS
                                           COMPOUNDS THAT PROBLEM, LEAVING LGBT STUDENTS
                                           IN MOST STATES ACROSS THE NATION WITH NO LEGAL
                                           PROTECTIONS FROM THE DISCRIMINATION THEY FACE.


Federal law does not explicitly protect    discriminate against LGBT students in       and these schools should be required
students on the basis of sexual            admissions, housing, athletics, financial   to inform their communities and
orientation or gender identity from        aid, and more. The combined total           prospective students when they
discrimination, and 35 states offer        enrollment of these schools is more         request the right to discriminate.
little or no protections for LGBT          than 73,000 students, most of whom
students. This has created a dangerous     are entirely unaware of these waivers.      Many Americans look to their faith as
environment for many students, and has     Moreover, these schools together            a source of guidance and inspiration.
prompted the Obama Administration          receive more than 50,000 applications       LGBT individuals are no different.
to clarify that Title IX – the federal     each fall from prospective students         At the Human Rights Campaign,
law that prohibits sex discrimination      who may not be informed about the           we believe that religious liberty is a
in any education program or activity       school’s policy.                            bedrock principle of our country. We
that receives federal funding – also                                                   also believe that no one should use
outlaws discrimination based on gender     This is an alarming trend that puts         faith as a guise for discrimination,
identity and nonconformity to sex–         thousands of students at risk, and          and that all students deserve to enter
stereotypes. As we continue to push        HRC believes there is more the              a school environment knowing they
for explicit federal non-discrimination    government can do to hold these             will be protected. This resource is
protections for sexual orientation and     schools accountable and ensure              just the beginning of our advocacy
gender identity, Title IX is a crucial     students, parents, employees, and the       on this issue, and we will continue
tool to combat the discrimination and      public have all the facts.                  to push for full equality for all LGBT
harassment that many LGBT students                                                     people, at school, at work, and in the
face on a daily basis.                     Most urgently, we are seeking greater       communities they call home.
                                           transparency and accountability
Some religious educational institutions,   from the Department of Education
however, are relying on a little-known     and Congress so that prospective            Sincerely,
provision in Title IX to seek waivers      students and their families know
that exempt them from treating             exactly which schools are requesting
LGBT students equally. The Human           a license to discriminate from the
Rights Campaign has investigated           federal government. The information
this practice and found 33 schools         that we are presenting in this report       Chad Griffin
in states across the country have          should be released to the public every      President
obtained waivers that allow them to        year by the Department of Education,        Human Rights Campaign




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EXECUTIVE
SUMMARY
L  esbian, gay, bisexual, and transgender (LGBT) students face discrimination and
   harassment at an alarming rate. According to a 2010 study on LGBT students in
higher education, lesbian, gay, and bisexual college students are nearly twice as likely to
experience harassment when compared with their non-LGB peers, and are seven times
more likely to indicate the harassment was based on their sexual orientation.1 In the 2011
National Transgender Discrimination Survey, one-fifth of transgender students reported that
they were denied gender-appropriate housing, and five percent reported outright denial of
campus housing.2 LGBT college students also suffer from higher rates of sexual assault
and misconduct on America’s campuses; transgender and gender nonconforming students
report one of the highest rates of sexual assault and misconduct.3


Title IX of the Education Amendments of 1972 (Title IX)        for sexual orientation and gender identity, Title IX serves
prohibits sex discrimination in any educational program or     as a vital tool to combat the discrimination and harassment
activity that receives federal funding. Although best known    that LGBT students face.
for its impact on girls’ and women’s athletic programs,
Title IX protects students from discrimination in a broad      While the LGBT community has made great strides, this
array of areas in education including admissions, housing,     report reveals how religious colleges and universities are
recruitment, athletics, facilities, financial assistance,      taking advantage of legal loopholes to enshrine their ability
and counseling services.4 Title IX also prohibits sex          to discriminate on the basis of sexual orientation and
discrimination in employment decisions made by an              gender identity. Title IX contains a little-known provision
educational institution including hiring, recruitment, and     that allows educational institutions controlled by a religious
compensation.5                                                 organization to request an exemption from full compliance
                                                               with the law if “application of the law would conflict with
There is growing recognition that Title IX protects students   specific tenets of the religion.”6 Alarmingly, more than four
on the basis of gender identity and sexual orientation.        dozen schools have requested a license to discriminate.
Recent case law, Department of Education guidance, and         The rate of schools seeking exemptions has increased
school district settlements support the use of Title IX by     dramatically from only one school in 2013 to more than 43
LGBT students seeking recourse from discrimination. In the     schools in 2015.
absence of explicit, federal non-discrimination protections




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      Among this report’s key findings:                            students, that may mean choosing an alternate school
      • More than half of all states (26) have at least one        during the application process, transferring to another
         school that has requested an exemption;                   university, or even deciding not to come out as LGBT
      • Schools in the South have requested the most               until after graduation. Allies of LGBT people may wish to
         exemptions;                                               make similar decisions lest they face repercussions for
      • Schools that are affiliated with the Southern Baptist      supporting their LGBT friends.
         Convention requested the greatest number of
         exemptions, followed by schools affiliated with           The Department of Education has little discretion to deny
         Wesleyan and Catholic churches;                           requests by religiously affiliated colleges and universities
      • Almost a third of schools receiving a gender               for an exemption under Title IX. However, through
         identity related exemption referred to the federal        administrative action the Department of Education should:
         government’s groundbreaking Arcadia Settlement as         • Issue regulations requiring schools to publicize
         a primary reason for requesting an exemption;                  the number of exemptions that are requested and
      • 56 schools requested an exemption;                              received, the scope of the exemption, and a statement
      • 33 schools received an exemption from the law as it             explaining that students are still protected under all
         pertains to protecting students on the basis of gender         other provisions of Title IX.
         identity;                                                 • Report the educational institutions receiving
      • 23 schools also received an exemption from the law              exemptions under Title IX as well as the scope of the
         as it pertains to protecting students on the basis of          exemptions.
         sexual orientation; and
      • Schools most commonly requested exemptions from            Congress requires the Department of Education’s Office
         provisions of the law relating to housing, access to      for Civil Rights (OCR) to submit an annual report to the
         facilities, and athletics.                                President, Secretary of Education, and Congress on
                                                                   OCR’s compliance and enforcement activities. Congress
      If this trend continues, many LGBT students may find         should amend 20 U.S.C. § 3413 (the Office for Civil
      themselves enrolled at schools that are granted the legal    Right’s governing statute) to:
      right to discriminate against them partway through their     • Require OCR to annually report the number of Title
      degree program. Students should have the opportunity              IX exemptions that were requested, as well as the
      to make determinations about school attendance                    number of requests that the Department granted or
      based on full information regarding a university’s ability        denied.
      to legally discriminate against the student. For some




      56 33
                                                                            SCHOOLS RECEIVED AN EXEMPTION
                                                                            FROM THE LAW AS IT PERTAINS TO
                                                                            PROTECTING STUDENTS ON THE BASIS OF

                                                                            GENDER IDENTITY




         23
      SCHOOLS                                                               SCHOOLS ALSO RECEIVED AN EXEMPTION
                                                                            FROM THE LAW AS IT PERTAINS TO
                                                                            PROTECTING STUDENTS ON THE BASIS OF
      REQUESTED
      AN EXEMPTION
                                                                            SEXUAL ORIENTATION




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LEGAL
LANDSCAPE
STATUTORY PROHIBITIONS ON SEX                               In order to address continued discrimination on the basis of
DISCRIMINATION IN EDUCATION                                 sex in education, Congress passed Title IX of the Education
Congress first addressed discrimination in education        Amendments of 1972 (Title IX). The law states that, “No
with the landmark Civil Rights Act of 1964. Title IV of     person in the United States shall, on the basis of sex, be
the Civil Rights Act prohibits discrimination in public     excluded from participation in, be denied the benefits of,
primary and secondary schools as well as public             or be subjected to discrimination under any educational
universities and colleges on the basis of race, color,      program or activity receiving Federal financial assistance.”8
national origin, sex, and religion. Private schools and
educational programs, along with public schools, are        More specifically, Title IX:
barred from discrimination through Title VI of the Civil    • Prohibits discrimination in any educational program or
Rights Act if they accept federal funding; however, the        activity that receives federal funding, including primary
protected characteristics are limited to race, color, and      and secondary schools, colleges and universities,
national origin. The primary remedy under Title IV is          secular and parochial schools;
school desegregation, thus Title VI has been a more         • Prohibits discrimination in vocational and professional
popular tool for students since the Supreme Court of           programs;
the United States has determined that it contains an        • Prohibits discrimination in admissions, recruitment,
implied private right of action.7                              housing, facilities, classes, extracurricular activities,




     STORIES OF LGBT DISCRIMINATION
    George Fox University

    Jayce, a transgender male student, was denied a request to live in male housing with his friends.
    George Fox University is affiliated with the Quakers, one of the more liberal Protestant denominations,
    but it had received a Title IX religious exemption from the Department of Education before Jayce
    made his request. George Fox had argued that accommodating transgender students would be
    incompatible with their interpretation of the Bible. Jayce questioned the school’s rationale: “I’m living
    with a bunch of young women… It’s not a good recipe for promoting the kind of behavior that a
    Christian university expects from its students.”9 Unfortunately, he had no legal recourse.




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          counseling, financial assistance, employment, health       was denied partnership in the accounting firm and
          insurance and benefits, and athletics; and                 was advised to act more feminine to be considered for
      •   Applies to schools even if their only source of federal    future promotions. The Supreme Court unanimously
          funding is in the form of federal student loans,           held that Title VII did not permit an employer to evaluate
          scholarships, or research grants.10                        female employees based upon their conformity with the
                                                                     employer’s stereotypical view of femininity. While this case
      Title IX conditions federal funding on agreement by the        did not raise questions involving sexual orientation, the sex
      recipient institution that it will not discriminate on the     stereotyping reasoning utilized by the Court has proved
      basis of sex. Non-compliance can result in suspension          pivotal for later claims involving sexual orientation and
      or termination of a recipient’s federal funding.11 Prior to    gender identity discrimination.
      suspension or termination of funding, the Department of
      Education must notify the educational institution of its       In Oncale v. Sundowner Offshore Services, the Supreme
      failure to follow the law, give the school an opportunity      Court determined that an employer could be held liable
      to remedy the alleged violation, and determine that the        under Title VII for failing to stop sexual harassment
      school – even with notice – will not comply.12 It is very      involving employees of the same gender.17 Subsequently,
      rare for the Department of Education to terminate federal      federal district and circuit courts have found that openly
      funding.                                                       gay and lesbian employees can seek recourse under
                                                                     Title VII when they have been subjected to sexual
      In 1977, the U.S. Supreme Court ruled that individuals         harassment.18
      can sue to enforce Title IX.13 Enforcement typically
      results in an injunction compelling the institution to cease   Lower courts have also contributed to the body of law
      its discriminatory activities. The Supreme Court held in       on discrimination against LGBT employees. To date,
      subsequent cases that victims of discrimination can also       two federal circuit courts have ruled that Title VII could
      sue for money damages resulting from an educational            apply to a claim brought by a transgender woman who
      institution’s deliberate indifference to known acts of         alleged that she was fired based on her gender identity.19
      discriminatory conduct.14                                      In addition, several district courts have determined that
                                                                     discrimination against gay and lesbian employees was a
                                                                     violation of Title VII because the employers relied upon
      EMERGING CASE LAW AND AGENCY                                   gender-based stereotypes when making employment
      GUIDANCE                                                       decisions.20
      Title VII of the Civil Rights Act of 1964 prohibits
      discrimination on the basis of sex – among other               This line of reasoning was further extended in
      characteristics – in employment. Because federal courts        administrative decisions issued by the U.S. Equal
      routinely rely on Title VII case law to interpret Title        Employment Opportunity Commission (EEOC.)21 In 2012,
      IX,15 developments in Title VII case law are critical to       the EEOC “recognized that a complaint of discrimination
      understanding the rights of students. Increasingly, federal    based on gender identity, change of sex, and/or
      courts have allowed claims of employment discrimination        transgender status was cognizable under Title VII.”22 And
      based on an employee’s sexual orientation or gender            in 2015, the EEOC concluded that “sexual orientation is
      identity to proceed under Title VII’s sex discrimination       inherently a ‘sex-based consideration,’ and an allegation of
      provisions. These determinations have been made based          discrimination based on sexual orientation is necessarily
      on the legal theory that discrimination on the basis of        an allegation of sex discrimination under Title VII.”23
      gender identity, sexual orientation, or sex-stereotyping is,
      at its core, discrimination “on the basis of sex.”             Through a series of “Dear Colleague” letters and guidance
                                                                     documents, the Department of Education has provided
      Several notable cases underscore this line of reasoning.       clarification on how educational institutions should
      In Price Waterhouse v. Hopkins16, a female employee            interpret Title IX. The Department of Education has




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interpreted Title IX to prohibit:                                    school districts clarifying that Title IX protects students
• Gender-based harassment of both male and female                    based on gender identity and sex-stereotypes. In July 2013,
     students, including harassment by a person of the               the agencies entered into a settlement agreement with
     same sex;24                                                     the Arcadia Unified School District in Arcadia, California,
• Harassment “for failing to conform to stereotypical                following an investigation into allegations of discrimination
     notions of masculinity or femininity;”25                        against a transgender student.29 The student filed a
• Discrimination against transgender and gender non-                 complaint with the Department of Education alleging that
     conforming students;26 and                                      the school district prevented him from using restroom and
• Failure to respect transgender students’ gender identity           locker room facilities consistent with his gender identity,
     when operating single-sex classes.27                            and also alleged that the school prevented him from staying
                                                                     in overnight accommodations with other male students on a
The Department of Justice also interprets Title IX to                school-sponsored trip because he is transgender.
protect students on the basis of gender identity and sex-
stereotyping. Relying on the precedents set in Oncale                The school district agreed to settle the case without
and Price Waterhouse, the Department of Justice has                  admitting any unlawful conduct. The agreement required
explained that “[t]reating a student adversely because the           the school district to implement school- and district-wide
sex assigned to him at birth does not match his gender               measures to prevent gender-based discrimination based on
identity is literally discrimination ‘on the basis of sex.’”28 The   an individual’s gender identity. In addition, the district was
agency has participated in an array of lawsuits to ensure            required to amend its policies and procedures to prohibit
that LGBT students’ Title IX rights are enforced.                    discrimination based on a student’s gender identity and
                                                                     nonconformity with sex-stereotypes.30

THE ARCADIA SETTLEMENT                                               The Arcadia Settlement was a critically important step in
The Department of Education and Department of Justice                protecting LGBT students in the absence of explicit federal
have entered into numerous settlement agreements with                protections.




     STORIES OF LGBT DISCRIMINATION
     Pepperdine University

     Hayley Videckis and Layana White played college basketball in Arizona before they were offered full
     scholarships to play at Pepperdine University, an NCAA Division I basketball school. Videckis and White
     allege that after they began dating, members of the University and the athletic staff became obsessed with
     uncovering whether the couple was in a relationship. The women’s basketball head coach frequently spoke
     disapprovingly of “lesbianism.” Videckis and White hid their relationship, but the environment became so
     hostile that they ultimately left the basketball team and the school.31




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      STANDARDS FOR RECEIVING A                                            an organ thereof, and it receives a significant amount
      RELIGIOUS EXEMPTION                                                  of financial support from the controlling religious
      Title IX contains a little-known provision that allows               organization or an organ thereof.”33
      educational institutions controlled by a religious
      organization to request an exemption from fully complying        Schools that are not controlled by a religious organization
      with the law if “application of the law would conflict with      – but nevertheless embed faith principles into their
      specific tenets of the religion.”32 However, not all schools     missions – have also sought exemptions. These schools
      that claim to be religious are entitled to an exemption. In      have described themselves in a variety of ways, such as
      order to receive an exemption under Title IX, a school must      a “Christ-centered learning community”34 and as a school
      prove that it is “controlled by a religious organization.” The   with an “unqualified commitment to historic, orthodox
      Department of Education has said that a school is normally       positions on essential doctrines of Christian faith.”35 To
      considered to be controlled by a religious organization if:      date, the Department of Education has neither denied nor
                                                                       granted an exemption to these types of schools.
      1.   The educational institution “is a school or department
           of divinity, defined as an institution or a department or   Religious schools are not exempted from the entirety of
           branch of an institution whose program is specifically      Title IX. Rather, a school must identify which portions of
           for the education of students to prepare them to            Title IX and its accompanying regulations are inconsistent
           become ministers of religion or to enter upon some          with the tenets of its religion that provide the basis for the
           other religious vocation, or to prepare them to teach       exemption.36 Thus, if a school requests an exemption from
           theological subjects;”                                      Title IX with regards to housing for “homosexual” students,
      2.   “Faculty, students or employees [are] members of, or        the school is still bound by Title IX for discrimination in
           otherwise espouse a personal belief in, the religion of     housing for transgender students or admissions for lesbian,
           the organization by which it claims to be controlled;” or   gay and bisexual students. In letters from the Department
      3.   The school’s “charter and catalog, or other official        of Education to the schools that received exemptions, the
           publication, contains explicit statement that it is         Assistant Secretary for Civil Rights cautions the schools
           controlled by a religious organization or an organ          that if a student alleges that the exemptions requested
           thereof or is committed to the doctrines of a particular    are not in fact based upon the religious tenets of the
           religion, and the members of its governing body are         controlling organization, OCR will follow up with the
           appointed by the controlling religious organization or      religious organization to confirm the veracity of the claim.




           STORIES OF LGBT DISCRIMINATION
           California Baptist University

           Domaine Javier, a transgender nursing student, was expelled after publicly revealing her gender identity.37
           California Baptist University alleged that Javier committed fraud on her school application by listing her
           gender as “female.” Javier sued the school for violating California’s Unruh Civil Rights Act, which prohibits
           “business establishments” from discriminating on the basis of sex, including gender identity and gender
           expression.38 The court ruled that for-profit enterprises at California Baptist, such as the library and
           restaurant on campus, could not discriminate against Javier, but the school’s educational activities were not a
           business establishment, and therefore her expulsion was not prohibited.39




10											
   EXHIBIT A                                                                        12 AT RISK
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                                                               1+213+7158+10
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FINDINGS
TIMING
                                                               Frequency Chart by Quarter
The announcement of the Arcadia Settlement appears
to have marked the beginning of a new and dangerous
trend: religious colleges and universities requesting Title                                                      15
IX exemptions to discriminate on the basis of gender
identity. Prior to the Arcadia Settlement in July 2013,                                                                          10          10
                                                                                                         7               8
there were no requests to discriminate on the basis of
gender identity. After the settlement, 10 of the schools                                         3
                                                                 1       1       2       1
that received exemptions for gender identity cited the
Arcadia Settlement. When the Supreme Court declined to
                                                               2012    2013    2014     2014    2014    2014    2015    2015    2015     2015
review marriage equality cases from three circuit courts in     Q2      Q4      Q1       Q2      Q3      Q4      Q1      Q2      Q3       Q4*
October 2014,40 the trend expanded to include requests
to discriminate on the basis of sexual orientation. Only one   *Department of Education data is incomplete.
                                                               Note that for purposes of showing accurate volume over time, this data
educational institution, Spring Arbor University, requested    includes the two schools that requested exemptions that were not




30+70+M
permission to discriminate on the basis of sexual              based on sexual orientation or gender identity.
orientation before October 2014.

                                                               Of the two universities that requested exemptions
                               OF THE SCHOOLS                  during the Obama Administration prior to 2014, only one
                               THAT RECEIVED                   requested an exemption for sexual orientation or gender



      10
                                                               identity. The other, Maranatha Baptist College, requested
                               EXEMPTIONS
                                                               an exemption for discrimination based on parental or
                               FOR GENDER                      marital status because the school does not admit divorced
                               IDENTITY CITED                  individuals, men or women married to a divorced person,
                               THE ARCADIA                     or individuals who have or are expecting a child outside of
                               SETTLEMENT                      heterosexual marriage.41


                                                               SCOPE OF EXEMPTIONS
                                                               Regulations implementing Title IX identify 25 different
                                                               areas in which discrimination is prohibited, divided into
More than four dozen schools have already requested a          three broad categories: discrimination in recruitment
Title IX religious exemption. The rate of schools seeking      and admissions, discrimination in education programs or
exemptions during the Obama Administration has                 activities, and discrimination in employment.42 Schools
increased dramatically. There were no requests at all from     requesting an exemption must specify exactly which areas
2009 through 2011. In 2012 and 2013, only one school           of the regulation they wish to be exempt from. The most
requested an exemption each year. In 2014 there were 13        common areas from which exemptions were requested
requests, and in 2015 there were at least 43.                  were housing, facilities, and athletics.




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      Frequency Chart by Area of Discrimination                                                                                        Religious Affiliation

      ■ Sexual Orientation                            ■ Gender Identity                                                                                                                   ■ Assemblies of God
                         33                        33
                                      31                                                                                                                                                  ■ Baptist
                                                                           28
                                                                                                                                                       6       3
             27
                                                                                                                                                                      3                   ■ Catholic
                                                                                                                                                                                            Christian and Missionary
                                             23                23 23
                                                                                                                                                                                          ■ Alliance
      22            23         23                                                       22
                                                          20                                                                                                              5
                                                                                  17
                                                                                                                                                                                          ■ Churches of Christ
                                                                                                                                                                            3
                                                                                                                   10                                                      2              ■ Mennonite
                                                                                                              6                 6
                                                                                                                                              20                                          ■ Other
                                                                                                        5                                                                 2
                                                                                                                                                                                          ■ Pentecostal
                                                                                                                                                               2 5
                                                                                                 1                         2
                                                                                                                                                                                          ■ Southern Baptist
       Admissions


                     Housing


                                Facilities


                                              Athletics

                                                          Rules of
                                                          behavior

                                                                     Employment

                                                                                  Recruitment
                                                                                   of students

                                                                                                 Counseling

                                                                                                               Financial
                                                                                                              Assistance

                                                                                                                              Health
                                                                                                                           Insurance
                                                                                                                                                                                          ■ Wesleyan


      Schools have sought exemptions to be able to discriminate                                                                        Note: Five schools did not identify a religious affiliation
      on the basis of sexual orientation and gender identity.
      While every school that received an exemption for sexual
      orientation also sought an exemption for gender identity,
      some schools only sought gender identity exemptions.                                                                             a result of the highly publicized case involving George
      To date, 23 have received an exemption from the law as                                                                           Fox University (see sidebar). Yet George Fox University
      it pertains to protecting students on the basis of sexual                                                                        is an outlier as the only Quaker institution to request an
      orientation, while 33 schools have received an exemption                                                                         exemption. Schools affiliated with the Southern Baptist
      from the law as it pertains to protecting students on                                                                            Convention have far outnumbered any other denomination
      the basis of gender identity. Of those schools, 16 also                                                                          with regards to requests for exemptions.
      received exemptions related to marital status. All but one
      of the schools that received exemptions based on sexual
      orientation and marital status made their request after the                                                                      COORDINATED REQUESTS
      Supreme Court refused to hear marriage equality cases on                                                                         Close examination of the request letters shows that
      appeal from three circuit courts.                                                                                                schools affiliated with the Southern Baptist Convention
                                                                                                                                       (SBC) appear to have coordinated requests for
      LOCATION OF SCHOOLS AND RELIGIOUS                                                                                                an exemption. The SBC is the largest Protestant
                                                                                                                                       denomination in the United States.43 The requests used
      AFFILIATION
                                                                                                                                       common language and rationale, and several argue
      The Southern region of the United States holds the
                                                                                                                                       that “denominational loyalty” required them to seek an
      greatest number of schools seeking exemptions, followed
                                                                                                                                       exemption from Title IX. For example, many schools
      by the West Coast. California and Texas are home to the
                                                                                                                                       referenced the Southern Baptist Convention’s policy on
      greatest number of these schools with 6 apiece. Oklahoma
                                                                                                                                       gender identity:
      follows closely behind with 5. In total, 26 states – more
      than half of the United States – had at least one school                                                                              The separation of one’s gender identity from the physical
      seeking an exemption.                                                                                                                 reality of biological birth sex poses the harmful effect of
                                                                                                                                            engendering an understanding of sexuality and personhood
      The religious affiliations of schools requesting a religious                                                                          that is fluid.” Moreover, “gender identity is determined by
      exemption from Title IX cover an array of denominations,                                                                              biological sex and not by one’s self-perception—a perception
      but all are Christian educational institutions. Press coverage                                                                        which is often influenced by fallen human nature in ways
      of schools seeking exemptions initially came about as                                                                                 contrary to God’s design.44




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   EXHIBIT A                                                                        14 AT RISK
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Other schools referenced the SBC’s most recent statement       under Title IX that include ADF only request exemptions
of faith, the Baptist Faith and Message: “Man is the special   on the basis of gender identity.
creation of God, made in His own image. He created them
male and female as the crowning work of His creation.           Further suggestive of coordination, 17 schools – including
The gift of gender is thus part of the goodness of God’s       those that cc’d ADF – used identical language in their
creation.”45                                                   requesting letters:

Among the schools that are not affiliated with SBC, at             As you know, the Office for Civil Rights has not issued
least four schools cc’d Alliance Defending Freedom (ADF)           regulations or guidance explaining how an educational
on their exemption letters: Belmont Abbey College, Biola           institution’s response to a transgender individual might
                                                                   violate Title IX and its accompanying regulations, though
University, George Fox University, and Simpson University.
                                                                   the Department of Education recently issued guidance on
ADF is a legal advocacy organization that has long sought          sexual violence prevention which incorporates discrimination
to slow progress for LGBT Americans. While the exact               based on “gender identity” as part of “sex discrimination”
relationship between ADF and the schools is unclear, their         under the statute. And as you also know, the resolution
presence on the letters suggests at least some degree of           agreement between the Arcadia United School District
collaboration.                                                     and ED OCR (and the Department of Justice) requires
                                                                   that school district to permit transgender students to use
Recently, ADF has sent letters to public school districts          the restroom, locker room, and living accommodations
across the country including in Arizona, Illinois, Missouri,       of their choice, and to participate in athletic programs as
                                                                   a member of the sex to which they believe they belong.
New York, and Ohio, urging them to prevent transgender
                                                                   It is thus reasonable to suppose that ED OCR believes
students from using facilities consistent with their gender        that such responses are required by Title IX. It is also
identity. The group included a suggested model policy for          reasonable to presume that your office interprets Title IX
schools to implement that defines “sex” as “the biological         to impose gender identity non-discrimination obligations
condition of being male or female as determined at birth           upon covered institutions in the employment context. To the
based on physical differences, or, when necessary, at the          extent these suppositions are correct, it appears as though
chromosomal level.”46 The model policy explicitly does             compliance with Title IX, as interpreted by ED OCR to reach
not allow students to use facilities based on their gender         transgender “discrimination,” would be inconsistent with the
identity. All of the letters requesting religious exemptions       religious tenets of [X College/University].




     STORIES OF LGBT DISCRIMINATION
    Southwestern Christian University

    Christian Minard was one semester shy of graduation when she was expelled after school officials
    learned that she had married her same-sex partner. Southwestern Christian required students to
    sign a “lifestyle covenant” prohibiting, among other things, “Lesbian, Gay, Bi-sexual and Transgender
    (LGBT) behavior or acts.”47 The school argued that students are expelled for violating a variety of
    infractions that are prohibited in the lifestyle covenant including cursing, drinking, and smoking. But
    according to Minard, “Students violate parts of [the lifestyle] covenant all the time, but they don’t get
    expelled. I didn’t even get a hearing.”48




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      POLICY
      RECOMMENDATIONS
      Religiously controlled educational institutions should not be   institutions required to notify students about exemptions
      exempt from full transparency. Costs related to education       they have received. This data is only available through
      are one of the biggest expenses incurred by Americans;          FOIA requests. The process to obtain these records is
      therefore, as consumers prospective students should             complex, placing this critical information out of reach of
      have the right to complete and accurate information about       the majority of students.
      whether a school has received a license to discriminate
      before making such an important decision. Laws and              Recommendation: Notice by Schools
      regulations already require educational institutions to         The Department of Education should require schools to
      publicly report a multitude of consumer information to help     publish comprehensive information about the scope of the
      students decide which school is right for them, such as:        exemption they received and the ways in which Title IX
      • Pertinent institutional information;49                        still protects students. HRC calls on the Department of
      • Financial assistance available to students enrolled in        Education to amend its regulations to require educational
          the institution;50                                          institutions to post:
      • Athletic participation rates;51                               • When an exemption has been requested;
      • Crime statistics;52 and                                       • When an exemption has been received;
      • An annual security report.53                                  • The characteristics or behaviors to which the
                                                                            exemption applies;
      Currently, the Department of Education does not                 • The scope of the exemption; and
      voluntarily release the names of schools that have been         • A statement explaining that students are still protected
      granted Title IX religious exemptions nor are educational             under all other provisions of Title IX.




           STORIES OF LGBT DISCRIMINATION
          Wheaton College

          Wheaton College ranks among America’s most unfriendly colleges for LGBT students.54 So it
          was a big deal when Justin Massey was allowed to form an LGBT support group, Refuge. The
          school’s decision to officially sanction Massey’s student-led group in 2013 sent shockwaves
          across religiously affiliated campuses. Refuge served as a lifeline for LGBT and questioning
          students who felt isolated and alone. However, after Massey came out as gay, the school
          removed him from the group’s leadership. He further claimed that the school removed him from
          student government activities.55




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   EXHIBIT A                                                                        16 AT RISK
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Recommendation: Notice by the Department of                    Recommendation: Congressional Action
Education                                                      Congress requires the Department of Education’s Office
The Department of Education provides a wealth of               for Civil Rights (OCR) to submit an annual report to the
information for students exploring options for college         President, Secretary of Education, and Congress on
including tuition, estimated fees, accreditation, degree       OCR’s compliance and enforcement activities. The law
programs, campus security, and varsity athletic teams.         also requires OCR to identify significant civil rights or
HRC calls on the Department of Education to:                   compliance problems that require “corrective action and
• Regularly report which educational institutions have         as to which, in the judgment of the Assistant Secretary,
     been granted Title IX religious exemptions and the        adequate progress is not being made.”56 HRC calls on
     scope of the exemptions;                                  Congress to amend 20 U.S.C. § 3413 (the Office for Civil
• Add Title IX religious exemptions as a searchable            Right’s governing statute) to:
     feature on College Navigator; and                         • Require OCR to annually report the number of Title
• Provide the following information on individual school            IX exemptions that were requested, as well as the
     landing pages as a part of College Navigator:                  number of requests that the Department granted and
       • When an exemption has been received;                       denied.
       • The characteristics or behaviors to which the
           exemption applies;
       • The scope of the exemption; and
       • A statement explaining that students are still
           protected under all other provisions of Title IX.




     STORIES OF LGBT DISCRIMINATION
    Grace University

    Danielle Powell was not allowed to enroll for her final college semester after her same-sex
    relationship was revealed. Grace University told Powell that she could re-enroll if she went through a
    restoration program involving mandatory church attendance, meetings with counselors and mentors,
    and regular communication with a school dean. However, the school expelled her when it became
    clear that she continued dating women. The school even demanded that she return more than $6,000
    in federal aid money. Powell said that she did not think that “a lot of people are aware of the fact that
    you legally can be kicked out of a school… for being gay.”57




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      ABOUT THE
      AUTHORS
                                 Sarah Warbelow is the                                          Remington Gregg serves
                                 Legal Director for the Human                                   as legislative counsel at the
                                 Rights Campaign. She leads                                     Human Rights Campaign,
                                 HRC’s team of lawyers and                                      principally focusing on federal
                                 fellows focused on federal,                                    legal and policy issues related
                                 state, and municipal policy.                                   to the military and veterans,
                                 She also coordinates HRC’s                                     education, immigration,
                                 advocacy efforts as amicus                                     foreign affairs, domestic
      curiae (“friend of the court”) in litigation affecting the    violence, racial justice, hate crimes, and profiling.
      lesbian, gay, bisexual, and transgender community.
                                                                    Prior to joining HRC in 2013, Gregg was Associate
      Warbelow joined the Human Rights Campaign in                  Counsel and Advisor for Open Government in the
      January 2008 as senior counsel for special projects           White House Office of Science and Technology
      and Justice for All fellow. She then served as HRC’s          Policy, advising on a range of legal and policy issues
      State Legislative Director, from September 2009 to            related to science, technology, and national security,
      April 2014, working with state and local legislators          and reducing legal and regulatory burdens to create
      and lesbian, gay, bisexual, and transgender advocacy          a more open and accountable government. He has
      organizations in pursuing their LGBT-related legislative      also worked on civil rights litigation and policy with
      priorities.                                                   the American Civil Liberties Union and NAACP Legal
                                                                    Defense Fund. Gregg graduated from Binghamton
      Before joining HRC, Warbelow served as the program            University (State University of New York) and New
      manager for the American Association of University            York Law School.
      Women Foundation Legal Advocacy Fund, specializing
      in education and employment discrimination law.
      Warbelow is also an affiliated professor at George
      Washington University and George Mason Law School,
      teaching courses on civil rights law and public policy.
      She received her bachelors’ degrees in social relations
      and women’s studies from Michigan State University
      and her master’s of public policy and law degree from
      the University of Michigan.




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   EXHIBIT A                                                                        18 AT RISK
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7
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   EXHIBIT A                                                                        20 AT RISK
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      APPENDIX A: METHODOLOGY


      The Human Rights Campaign (HRC) sought access                  The majority of the data is derived from the request letters
      to records regarding Title IX exemptions through the           from the schools to the Department of Education and the
      federal Freedom of Information Act (FOIA). Under FOIA,         granting letters from the Department of Education to the
      the public can obtain copies of federal agency records         schools. In addition, HRC relied upon data provided by
      – such as letters and emails – that are sent or received       the Department of Education regarding pending requests
      by the agency. In September 2014, HRC requested all            that did not include request letters. The records obtained
      communications between the Department of Education             by HRC span from January 2009 through December
      and schools requesting a Title IX religious exemption,         2015. A FOIA request for documents dating back to the
      including the original requests as well as information on      passage of Title IX is still pending. Letters sent from the
      whether the agency granted or denied the requests. HRC         Department of Education to individual schools granting
      has since submitted six additional FOIA requests; four of      Title IX exemptions can be viewed in Appendix D.
      those requests have been fulfilled to date. Materials sent
      to HRC in accordance with the FOIA requests have been          For the purposes of tabulation, HRC did not include two
      incomplete. For example, HRC received several letters          exemptions granted to schools that specifically did not
      granting an exemption without being sent the original          include sexual orientation and/or gender identity in their
      requests even though the original request fell within          requests.
      the scope of HRC’s FOIA request. Additional schools
      may have requested or received exemptions from the             HRC will continue to submit FOIA requests to the
      Department of Education that were not disclosed by the         Department of Education on a regular basis. This report
      agency.                                                        will be updated upon receipt of new information at least
                                                                     twice per calendar year.




      APPENDIX B: OPTIONS FOR STUDENTS WHO HAVE EXPERIENCED DISCRIMINATION


      If you believe that you or your child are the victim of        2. State Anti-Discrimination Laws
      discrimination based on actual or perceived sexual                Fourteen states and the District of Columbia
      orientation or gender identity, you have alternatives for         explicitly address discrimination against students
      recourse.                                                         based on sexual orientation and gender identity:
                                                                        California, Colorado, Connecticut, Illinois, Iowa, Maine,
      1. Department of Education Office for Civil Rights                Massachusetts, Minnesota, Nevada, New Jersey, New
         The Department of Education is responsible for                 York, Oregon, Vermont, and Washington. Wisconsin
         enforcing several civil rights laws, including Title IX.       explicitly prohibits discrimination in education only on
         If you believe that you or your child are the victim of        the basis of sexual orientation. If you believe that you
         discrimination at school based on gender identity,             or your child are the victim of discrimination based
         gender nonconformity, sexual orientation, or sex-              on sexual orientation or gender identity in one of the
         stereotypes, you can file a complaint online at the            above states, you may file a complaint with the state’s
         Office for Civil Rights’ website at http://www.ed.gov/         human rights agency. Please note that the name of
         about/offices/list/ocr/complaintintro.html. You do             the responsible agency varies from state to state as do
         not need a lawyer to file a complaint with the agency.         timelines for filing a complaint.
         Alternatively, you can file a complaint in federal court.
         Additional guidance can be found at http://www2.
         ed.gov/about/offices/list/ocr/docs/howto.html.




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APPENDIX C: TABLE OF SCHOOLS REQUESTING EXEMPTIONS AND SCOPE OF EXEMPTIONS


University                                State              Date Requested     Date Granted   Affiliation

American Indian College                   Arizona            10/07/15                          Pentacostal

Anderson University                       South Carolina     01/07/15           02/11/15       Southern Baptist

Asbury University                         Kentucky           01/07/15                          Wesleyan

Baptist College of Florida                Florida            12/04/14           12/22/14       Southern Baptist

Belmont Abbey College                     North Carolina     01/16/15           02/11/15       Catholic

Bethel College                            Indiana            05/01/15           07/29/15       Missionary Church

Biola University                          California         11/14/14

Blue Mountain College                     Mississippi        08/12/15           10/26/15       Southern Baptist

Carson-Newman University                  Tennessee          05/01/15                          Southern Baptist

Charleston Southern University            South Carolina     12/08/14           02/11/15       Southern Baptist

Colorado Christian University             Colorado           11/04/14

Covenant College                          Georgia            05/28/15           07/29/15       Presbyterian

Criswell College                          Texas              10/13/15                          Southern Baptist

Dordt College                             Iowa               10/1/15                           Christian Reformed Church

East Texas Baptist University             Texas              02/27/15           05/04/15       Southern Baptist

Franciscan University of Steubenville     Ohio               08/27/14           10/22/14       Catholic

Freed-Hardeman University                 Tennessee          07/15/15                          Churches of Christ

Fresno Pacific University                 California         06/02/15           10/13/15       Mennonite Brethren

George Fox University                     Oregon             03/31/14           05/23/14       Quaker

Hannibal-LaGrange University              Missouri           08/27/15           10/30/15       Southern Baptist

Hardin-Simmons University                 Texas              10/05/15                          Baptist

Howard Payne University                   Texas              03/25/15           04/24/15       Southern Baptist

John Paul the Great Catholic University   California         08/25/15                          Catholic

Judson College                            Alabama            02/17/15           04/29/15       Southern Baptist

LABI College                              California         09/15/15                          Assemblies of God

Lancaster Bible College                   Pennsylvania       06/01/15

Liberty University                        Virginia           01/16/14           04/22/14       Baptist

Louisiana College                         Louisiana          07/17/15           07/31/15       Southern Baptist

Maranatha Baptist Bible College           Wisconsin          02/29/12           06/19/13       Baptist



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      University                         State            Date Requested   Date Granted   Affiliation

      Mississippi College                Mississippi      09/11/15         10/13/15       Southern Baptist

      Missouri Baptist University        Missouri         06/18/15                        Baptist

      Multnomah University               Oregon           02/11/15                        Protestant

      North Greenville University        South Carolina   02/09/15         05/04/15       Southern Baptist

      Northpoint Bible College           Massachusetts    10/06/15                        Pentacostal

      Northwest Nazarene University      Idaho            07/29/14         08/18/14       Wesleyan

      Ohio Christian University          Ohio             05/14/15                        Wesleyan

      Oklahoma Baptist University        Oklahoma         11/24/15         12/16/14       Southern Baptist

      Oklahoma Christian University      Oklahoma         09/25/14         10/22/14       Churches of Christ

      Oklahoma Wesleyan University       Oklahoma         11/14/14         12/22/14       Wesleyan

      Ozark Christian College            Missouri         11/16/15

      Simpson University                 California       10/07/13         05/23/14       Christian and Missionary Alliance

      Southeastern University            Florida          10/26/15                        Assemblies of God

      Southern Nazarene University       Oklahoma         11/12/15                        Wesleyan

      Southern Wesleyan University       South Carolina   01/20/15         03/24/15       Wesleyan

      Southwest Baptist University       Missouri         07/08/15         07/29/15       Southern Baptist

      Spring Arbor University            Michigan         06/02/14         06/27/14       Methodist

      St. Gregory University             Oklahoma         03/03/15         03/24/15       Catholic

      Tabor College                      Kansas           12/03/14         01/08/15       Mennonite Brethren

      Toccoa Falls College               Georgia          07/08/15         07/31/15       Christian and Missionary Alliance

      Trinity Bible College              North Dakota     10/18/15                        Assemblies of God

      Union University                   Tennessee        01/19/15         03/24/15       Baptist

      University of Dallas               Texas            07/23/15                        Catholic

      University of Mary Hardin-Baylor   Texas            01/29/15         03/24/15       Southern Baptist

      University of Mobile               Alabama          03/18/15         05/04/15       Southern Baptist

      University of the Cumberlands      Kentucky         01/19/15         03/24/15       Southern Baptist

      William Carey University           Mississippi      03/06/15                        Southern Baptist

      William Jessup University          California       04/28/15

      Williams Baptist College           Arkansas         11/17/14         12/22/14       Southern Baptist




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   EXHIBIT A                                                                        24 AT RISK
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SEXUAL ORIENTATION: GRANTED EXEMPTIONS OF INTEREST




                                                                                                                                                                        Rules of Behavior/Sanctions




                                                                                                                                                                                                                   Recruitment of Students




                                                                                                                                                                                                                                                          Financial Assistance

                                                                                                                                                                                                                                                                                 Health Insurance
                                                                                                                                                                                                      Employment
                                                                                                                        Admissions




                                                                                                                                                                                                                                             Counseling
                                                                                                                                               Facilities

                                                                                                                                                            Athletics
                                                                                                                                     Housing
University                         State            Date Requested   Date Granted   Affiliation

Anderson University                South Carolina   01/07/15         02/11/15       Southern Baptist                      P           P          P           P             P                            P              P

Baptist College of Florida         Florida          12/04/14         12/22/14       Southern Baptist                      P           P          P           P             P                            P              P

Bethel College                     Indiana          05/01/15         07/29/15       Missionary Church                     P           P          P           P             P                            P

Blue Mountain College              Mississippi      08/12/15         10/26/15       Southern Baptist                      P           P          P           P             P                            P              P                                      P

Charleston Southern University     South Carolina   12/08/14         02/11/15       Southern Baptist                      P           P          P           P             P                            P

Covenant College                   Georgia          05/28/15         07/29/15       Presbyterian                          P           P          P           P                                          P              P                       P              P                     P

East Texas Baptist University      Texas            02/27/15         05/04/15       Southern Baptist                      P           P          P           P             P                            P              P

Hannibal-LaGrange University       Missouri         08/27/15         10/30/15       Southern Baptist                      P           P          P           P             P                            P              P                                      P

Howard Payne University            Texas            03/25/15         04/24/15       Southern Baptist                      P           P          P           P             P                            P              P

Judson College                     Alabama          02/17/15         04/29/15       Southern Baptist                      P           P          P           P             P                            P              P

Louisiana College                  Louisiana        07/17/15         07/31/15       Southern Baptist                      P           P          P           P             P                            P

Mississippi College                Mississippi      09/11/15         10/13/15       Southern Baptist                      P           P          P           P             P                            P              P                                      P

North Greenville University        South Carolina   02/09/15         05/04/15       Southern Baptist                      P           P          P           P             P                            P

Oklahoma Baptist University        Oklahoma         11/24/15         12/16/14       Southern Baptist                      P           P          P           P             P                            P              P

Oklahoma Christian University      Oklahoma         09/25/14         10/22/14       Churches of Christ                    P           P          P           P                                          P                                                     P                     P

Southwest Baptist University       Missouri         07/08/15         07/29/15       Southern Baptist                      P           P          P           P             P                            P              P                                      P

Spring Arbor University            Michigan         06/02/14         06/27/14       Methodist                                         P          P           P             P                            P

Toccoa Falls College               Georgia          07/08/15         07/31/15       Christian and Missionary Alliance     P           P          P           P                                          P              P

Union University                   Tennessee        01/19/15         03/24/15       Baptist                               P           P          P           P             P                            P              P

University of Mary Hardin-Baylor   Texas            01/29/15         03/24/15       Southern Baptist                      P           P          P           P             P                            P              P

University of Mobile               Alabama          03/18/15         05/04/15       Southern Baptist                      P           P          P           P             P                            P              P

University of the Cumberlands      Kentucky         01/19/15         03/24/15       Southern Baptist                      P           P          P           P             P                            P              P

Williams Baptist College           Arkansas         11/17/14         12/22/14       Southern Baptist                      P           P          P           P             P                            P              P




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      GENDER IDENTITY: GRANTED EXEMPTIONS OF INTEREST




                                                                                                                                                                                    Rules of Behavior/Sanctions




                                                                                                                                                                                                                               Recruitment of Students




                                                                                                                                                                                                                                                                      Financial Assistance

                                                                                                                                                                                                                                                                                             Health Insurance
                                                                                                                                                                                                                  Employment
                                                                                                                                    Admissions




                                                                                                                                                                                                                                                         Counseling
                                                                                                                                                           Facilities

                                                                                                                                                                        Athletics
                                                                                                                                                 Housing
      University                              State            Date Requested   Date Granted   Affiliation

      Anderson University                     South Carolina   01/07/15         02/11/15       Southern Baptist                                                          P             P                            P              P

      Baptist College of Florida              Florida          12/04/14         12/22/14       Southern Baptist                       P           P          P           P             P                            P              P

      Belmont Abbey College                   North Carolina   01/16/15         02/11/15       Catholic                               P           P          P           P             P                            P              P

      Bethel College                          Indiana          05/01/15         07/29/15       Missionary Church                      P           P          P           P             P                            P

      Blue Mountain College                   Mississippi      08/12/15         10/26/15       Southern Baptist                       P           P          P           P             P                            P

      Charleston Southern University          South Carolina   12/08/14         02/11/15       Southern Baptist                       P           P          P           P                                          P              P                       P              P                     P

      Covenant College                        Georgia          05/28/15         07/29/15       Presbyterian                           P           P          P           P             P                            P              P

      East Texas Baptist University           Texas            02/27/15         05/04/15       Southern Baptist                       P           P          P           P

      Franciscan University of Steubenville   Ohio             08/27/14         10/22/14       Catholic                                           P          P           P                                          P              P                       P              P                     P

      Fresno Pacific University               California       06/02/15         10/13/15       Mennonite Brethren                     P           P          P           P

      George Fox University                   Oregon           03/31/14         05/23/14       Quaker                                             P                      P             P                            P              P

      Hannibal-LaGrange University            Missouri         08/27/15         10/30/15       Southern Baptist                       P           P          P           P             P                            P              P

      Howard Payne University                 Texas            03/25/15         04/24/15       Southern Baptist                       P           P          P           P             P                            P

      Judson College                          Alabama          02/17/15         04/29/15       Southern Baptist                       P           P          P           P             P                            P

      Louisiana College                       Louisiana        07/17/15         07/31/15       Southern Baptist                       P           P          P           P             P

      Mississippi College                     Mississippi      09/11/15         10/13/15       Southern Baptist                                   P          P           P             P                            P              P

      North Greenville University             South Carolina   02/09/15         05/04/15       Southern Baptist                       P           P          P           P                                          P                                                     P                     P

      Northwest Nazarene University           Idaho            07/29/14         08/18/14       Wesleyan                               P           P          P           P                                          P              P                       P              P                     P

      Oklahoma Baptist University             Oklahoma         11/24/15         12/16/14       Southern Baptist                       P           P                      P             P

      Oklahoma Christian University           Oklahoma         09/25/14         10/22/14       Churches of Christ                                 P          P           P                                          P              P                       P              P                     P

      Oklahoma Wesleyan University            Oklahoma         11/14/14         12/22/14       Wesleyan                               P           P          P           P             P                            P              P                                      P

      Simpson University                      California       10/07/13         05/23/14       Christian and Missionary Alliance      P           P          P           P             P                            P

      Southern Wesleyan University            South Carolina   01/20/15         03/24/15       Wesleyan                                           P          P           P                                          P              P                       P              P                     P

      Southwest Baptist University            Missouri         07/08/15         07/29/15       Southern Baptist                       P           P          P           P

      Spring Arbor University                 Michigan         06/02/14         06/27/14       Methodist                                          P          P           P                                          P              P

      St. Gregory University                  Oklahoma         03/03/15         03/24/15       Catholic                               P           P          P           P             P                            P              P

      Tabor College                           Kansas           12/03/14         01/08/15       Mennonite Brethren                     P           P          P           P             P                            P              P

      Toccoa Falls College                    Georgia          07/08/15         07/31/15       Christian and Missionary Alliance      P           P          P           P             P                            P              P

      Union University                        Tennessee        01/19/15         03/24/15       Baptist                                P           P          P           P             P                            P              P

      University of Mary Hardin-Baylor        Texas            01/29/15         03/24/15       Southern Baptist                       P           P          P           P             P                            P              P                                      P

      University of Mobile                    Alabama          03/18/15         05/04/15       Southern Baptist                       P           P          P           P             P                            P              P                                      P

      University of the Cumberlands           Kentucky         01/19/15         03/24/15       Southern Baptist                       P           P          P           P             P                            P              P                                      P

      Williams Baptist College                Arkansas         11/17/14         12/22/14       Southern Baptist                       P           P          P           P             P                            P              P




24											
   EXHIBIT A                                                                        26 AT RISK
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APPENDIX D: LETTERS FROM THE DEPARTMENT OF EDUCATION GRANTING AN EXEMPTION



                                                L'~ITED STATES DEPJ\RT\-IENT                                   or:EDUCATIO\.f
                                                                                                                                       I! II: ASSIS J',\N I" SITlffT-\R'l




           h:hruary I 1. 2015

           hans P. Whitaker. Ph.D.
           President
           Anderson Lnivl'rsitv
           116 Boukvarct
           Anderson. South Carolina 29621

           Dear President \Vhitali.cr:

           The purpose of this letter is to respond to y<.iurJanuary 7. 2015. letter to the U.S. DepartnH:nt of
           Education, Office for Civil Righ,s (OCR). in \\ hicl1you requested a religious exemption from Title !X of
           the F:ducation Amendments of 1972 (Tith: IX). 20 L .S.C. § 168 !. for Anderson University ( l: ni\ersity)
           of Anderson, South Carolina, Title IX prohibits discrimination on the basis of sex in any education
           program or activity operated by a recipient orFederal financial assistance.

           The implementing regulation at 34 C.F.R. ~ l 06.12 provides that Title IX does not apply to an
           educational institution controlled by a religious organization to the extent that application ofTitk IX
           would be inconsistent with the controlling organization's religious tenets. Therefore. su<:heducational
           institutions are allowed to request an exemption from Title IX by identifying the provisions of Title IX
           that conflict with a specific tenet of the religious organization. The request must identify the religious
           organization that controls the educational institution and specify the tenets of that organization and the
           provisions of the law and/or reguiation that rnnllict \\ ith those tenets.

           Your request explained that the L.niversity is controlled by the South Carolina Baptist Convention
           (Convention), which is a ··Southern Baptist general body whose constituency is the:cooperating Southern
           Baptist churches of South Carolina.'· Your letter enclosed a copy of the University· s Articles of
           Incorporation and Bylaw·s.The Articles of Incorporation state that the University's board of directors
           "shall be appointed by South Carolina Baptist Convention in session.'·

           Your letter requests a religious exl.'.mptionfrom pro\'isions nfTitlc IX "to the extent application oftlrnsc
           provisions would not he consistent with the Convcntion·s religious tenets regarding marriage, sc.\.m!lsidc
           of marriage. sexual orientation. gender idcntit), pregnanc~. and abortion.'" !n support of this n:qucsL ~ ()ti
           cite to The Baptis1 Faith and Message 2000. a statement nf faith adopted by the Convention. 1\ccording
           1n your letter. that statement of faith explains that the tcnl'ts of the Convention arc that marriage is
           bet\\ecn one man and one woman anu serves as the means f()r procreation. that God created people in
           male and !cnrnle form. and that the "gift of gender is thus parl of the goodness of God's creation." You
           further cite the Convention's belief that one should ··~peak on behalf ofthc unborn and contend !'or the
           sanctity of all human life from eonception t;, natural death ...

           You explain that it would not be consistent \\ith the C011\·ention·sreligious tenets for the Lniversity to
           comply with Title IX to the extent that it prohibits the Lniversity from "engaging in recruiting and
           admissions under a policy ·which called for the consideration of an applicant for admissi01i"s sc:\ual
           orientation. transgendcrcd status. marital status. past and present practices regarding marriage. sex nutsidc
           marriage. pregnancy and abortion; ... from subjecting students to rules of behavior, sanctions. or other
           treatment because of these student characteristics: !or] from making all employment decisions .. 111a
                                                   ,\I)() ~ii\RYL.i\i'.::)                    \\·,,.s!Il\:CTO\J,
                                                                             i\\'f'. ~.'.'..-._.                    nc 2()2(12-1100

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         Evans P. \Vhitaker - page 2


         manner which takes into consideration these employee characteristics:·

         You state that. for these reasons, the University is requesting an exemption from the fol lowing regulator:
         provisions to the extent that they prohibit discrimination based on marital status. sex outside of marriage.
         sexual orientation. gender identity, pregnancy or abortion:

             •   34 CF.R. ~ 106.21 (governing admission):
             •   34 C.F.R. § I 06.23 (governing recruitment of students):
             •   34 C.F.R. § I 06.31 (b)( 4) (governing different rules of behavior or sanctions):
             •   34 C.F.R. § 106.3 l(h)(7) (governing the limitation of rights. privileges. advantages. or
                 opportunities):
             •   34 C.F.R. § ! 06.32 (governing housing):
             •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker rooms):
             •   34 C.F.R. § I 06.40 (governing different rules based on marital or parental status ,if students):
             •   34 C.F.R. § 106.41 (governing athletics):
             •   34 C.F.R. § I 06.51 (governing employment):
             •   34 C.F,R. § 106.52 (governing employment criteria);
             •   34 C.F.R. § I 06.53 (governing recruitment {Jf employees):
             •   34 C.F.R. § 106.57 (governing the consideration of marital m parental status in employment
                 decisions): and
             •   34 C.F,R. § 106.60 (governing pre-employment inquiries).

         The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
         of marital status, sex outside of marriage, sexual orientation, gender identity, pregnancy. or abort ion and
         compliance would conflict with the controlling organization ·s religious tenets.

         Please note that this letter should not be construed to grant exemption from the requirements of Title IX
         and the regulation other than as stated above. ln the eYent that OCR receives a complaint against your
         institution. we arc obligated to determine initially whether the allegations fall within the exemption here
         granted Also, in the unlikely event that a complainant alleges that the practices followed by the
         institution are not based on the religious tenets of the controlling organization, OCR is obligated to
         contact the controlling organi7.ation to verify those tenets. If the organization provides an interpretation
         of tenets that has a different prnctical impact than tl1at described by the institution, or if the organization
         denies that it controls the institution, this exemption will be rescinded.

         I hope this letter responds fully to your request. If you have any questions, please do not hesitate to
         contact me.

         Sincerely.




         Catherine E. Lhamon
         Assistant Secretary for Civil Rights
         l;. S. Department of F.ducatio11




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   EXHIBIT A                                                                        28 AT RISK
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            December n..2014

            Thomas A. Kinchen
            President
            The Baptist College ol' Florida
            540() College Drive
            Graceville. FL 32440-1898

            Dear President Kinchen:

            The purpose of this letter is to respond to your December 4, 2014. letter to the U.S. Department
            of Education, Office for Civil Rights (OCR), in which you requested a religious exemption from
            Title lX of the Education Amendments of I 972 ('I'itlc IX), 20 U.S.C. § 1681, for The Baptist
            College of florida (College) of Graceville, Florida. Title IX prohibits discrimination on the
            basis of sex in any education program or activity operated by a recipient of Federal financial
            assistance.

            The implementing regulation al 34 C.F.R. S I 06.12 provides that Title IX does not apply to an
            c<lucational institution controlled by a religious organization to the extent that application of
            Title IX would be inconsistent with the controlling organization's        religious tenets. Therefore.
            such educational institutions arc allowed to request an exemption from Title IX by identifying
            the provisions of Title IX that conflict with a speciftc tenet of the religious organization. The
            request must identify the religious organization that controls the educational institution and
            spel'.i fy the tenets of that organization and the provisions of the law and/or regulation that
            conflict with those tenets.

            Your request explained that the College "is subject to the direction and control of a religious
            organization. That organization is the Florida Baptist Convention."' Your letter enclosed a copy
            of the Collcgc·s Charter and Bylaws. Article II of the College's Charter states that the College·s
            pUIJJOSC is to be a "religious, educational. benevolent, and charitable body, medium, institution.
            trustee and agtnl'.y, serving and doing lhc wi II of the Florida Baptist Convention in the matter of
            its operating. conducting. and managing The Uaptist College of Florida, Inc., for and on its
            behalf. and in holding in trust the assets and properties of The Baptist College of Florida. Inc.,
            for its use. maintenance an<l operation in accordance ,vith the instruction, direction and
            aulhoriLation of the Florida Baptist Com·ention."' Your request further explained that
            ··fp]ursuant to the Co!lege·s Charter and Bylaws, the Florida Baptist Convention controls the




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            Thomas A. Kinchen•- page 2



            [College I in part by exercising its right to select the entire elected membership of the board of
            dirc:ctors of the College, the governing body nf the College."

            Your letter requests a religious exemption from provisions of Tille IX "to the extent application
            of those provisions would not be consistent with the Convention's religious tenets regarding
            marriage, sex outside of marriage, sexual orientation, gender identity, pregnancy and abortion.''
            In ~upport of this request, you cite to The Baptist Faith and Message 2000. the most recent
           statement of faith adopted by lhe Convention. According to your letter. that statement of faith
           c:--plains that the tenets of the Convention are that marriage is between one man and one woman
           and serves as the means for procreation, that God made man in male and female form. and that
           the ·'gift of gender is thus part of the goodness of God's creation." You further cite the
           Convention's befo:f that one should "speak on behalf of the unborn and contend for the sanctity
           of all human life from conception lo natural deatJ1."

            You explain that it would not be consistent with the Convention's religious tenets for the College
            to comply with Title IX to the extent that it prohibits the College from "engaging in recruiting
           and admissions under a policy which called for the consideration ofan applicant for admission's
           sexual orientation, transgendercd status, marital status. past and present practices regarding
           marriage. sex outside marriage, pregnancy and abortion; ... from subjecting students to rules of
           behavior, sanctions, or other treatment becauseof thesestudent characteristics; for] from making
           employment decisions ... in a manner which takes into consideration these employee
           characteristics.··

           You state that. for these reasons. the College is requesting an exemption from the following
           regulatory provisions to the extent that they prohibit discrimination based on marital status, sex
           outside of marriage, sexual orientation. gender identity, pregnancy or aboction:

               •   34 C.F.R. § I 06.21 (goveming admission);
               o   34 C.F.R. § I 06.23 (governing recruitment of students);
               •   34 C.F.R. § I 06.31 (b)(4) (governing different rules of behavior or sanctions);
               o   34 C.F.R. § J 06.31 (b)(7) (governing the limitation of rights, privileges. advantages, or
                   opportunities):
               •   34 C.f.R. § I 06.32 (governing housing):
               •                *
                   34 C.F.R. I 06.33 (governing comparable facilities such as restrooms and locker
                   rooms):
               •   34 C.F.R. § I 06.40 (governing different nilcs based on marital or parental status of
                   students):
               a   34 C.F.R.. § 106.41 (governing athletics);
               •   34 C.F.R. § 106.51 (governing employment):
               •   34 C.F.R. § 106.52 (governing employment criteria);




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   EXHIBIT A                                                                        30 AT RISK
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                •   34 C.F.R. § I 06.53 (governing recruitment of employees);
                •   34 C .r.R. § I 06.57 (governing the consideration of marital or parental status in
                    employment decisions): and
                •   34 C.F.R. § 106.60 (governing pre-employment inquiries).

            The College is exempt from these provisions to the extent that they prohibit discrimination on
            the basis of marital status, sex outside of marriage, sexual orientation, gender identity,
            pregnancy, or abortion and compliance would conflict with the controlling organization's
            religious tenets.

             Please note lhat this letter should not be construed to grant exemption from the requirements of
            Title IX and the regulation other than as stated above. In the event that OCR receives a
            complaint against your institution, we are obligated to determine initially whether the allegations
             foll within the exemption here granted. Also, in the unlikely event that a complainant alleges
            that the practices followed by the institution are not based on the religious tenets of the
            controlling organization, OCR is obligated to contact the controlling organization to verify those
            tenets. If the organization provides an interpretation of tenets that has a different practical
            impact than that described by the institution, or if the organi:1..ationdenies that it controls the
            institution, this exemption will be rescinded.

            I hope this letter responds fully to your request. If you have any questions, please do not hesitate
            to contact me.

            Sincerely.




            Catherine F. Lhamon
            Assistant Secretary for Civil Rights
            U.S. Deparl:nent of Education




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                                           UNJTED STATES DI--YARB1EI\'T Of- EDI.X:ATlON




          h.:bruary l I. 20 l 5

          William K. Thierfrlder
          Pres id-en\
          Belmont ;\!-,hey College
          l 00 lkln11,n1-\11.I lolly Road
          lk lrnont. '-iC 28012

          Dear President lhierfrlder:

          The p1:rpose of this lcllcr is to respond to ym1r Januar~ 16.2015. letter to the lJ.S. Department of
          Education, Office for Civil Rights (OCR). in which ~011 requested a religious exemption from Tith.: IX of
          the Education Amendments of 1972 (Title IX). 20 L.S.C. ~ 168l. for Belmont Ahbcy Colle~e (College)
          of Belmont. 'Jorth Carolina. Title IX prohibits discrimination on the basis of sex in any educati()n
          program or activity operated by a recipient of Federal financial assistance.

          The Department" s implementing regulatior. at 3..i C .I-'.R. ~ l 06. 12 provides that Title IX docs not apply to
          an edllcational institution contro!led by a religious organization to the extent that application of Title IX
          would be inconsistent with the controlling organization's religious tenets. Therefore. such educational
          institutions are allowed to request an exemption from Title IX by identifying the provisionsor Title IX
          that conflict with a specific tenet of the religious organization. The request must identify the religious
          organization that controls the educational i'lstitution and specif\ the tenets of that organization and the
          proYisions of the law and!or regulation that conflict \\ith those tenets.

          Your request explains that the College is owned by and affiliated with the Southern Benedictine Soc ie~
          of "ior1h Carolina, Inc., the members of which are Henedictine \lonks. Your letter further e,plains that
          '"[t]he \1onks founded the college on the basis of. and as an expression of. their Catholic faith·· and that
          '"the \11onksand the College also believe that the Church \\as founded by Jesus Christ and given authnrity
          by him to interprl't the Word of God and 10 teach with binding authority on questions of faith and
          morals.··

          Your ktter requests a religious CX(!mptionirom prmisions of Title IX lo the cxknt that it prohibits
          dis-:rimination based nn gcn(kr identity. In support of this request. you cite Biblical passages that rcllcc1
          the Collcge·s and \/lonks' hclier··that human beings. fashioned by (iod in His own imagc and likeness.
          arc thus created male and female ((ienesis I :21}"· and that ··heterosexual creation of human beings
          e,prcs~cs God·s creative intention (MatthC\\ 19:4).". Your lcllcr further explains that. because ofthcsc
          religious 1enc1s.the College docs nut '"support or affirm the resolution of tension between onc·s binlogical
          sc., and the experience or gender by the adopti<,rnof psychological identity disi:ordant "ith tine· s birth
          sex, nor attempts to change onc·s birth sex by surgical intervention. nur conduct or dress consistent\\ ith
          an idcntit) other than one·s biological birtl: se,:·

          Your exempt ion request points to a recent OCR rcsolut il)IJagreement in which a school clistrict agreed lo
          allo,\ a transgender male student lo use the restroom. locker room. and living facilities consistent \,·ith the
          student's gender identity. and to play on beys· athletic teams. You explain that the College would not he
          ahle to make similar accommodations consistent,~ ith its Catholic bclicfa. Instead. your letter explains that
          the College will --make institutional decisions ... regarding housing. student admission and retention.
                                              4:JO lv!;\RYI/1.,D   .:,;·,·.:. ,:;y.;_ \\.\S' ''.\!C:"IOi\, UC 20202-JHJIJ


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   EXHIBIT A                                                                        32 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
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            William K. Thierfelder - page 2


            appropriate conduct, employment, hiring and retention. and other matters•· consistent with the tenets of
            the Southern Benedictine Society of\lorth Carolina.

            We interpret these statements as a request for exemption from the following provisions in the
            Department's Title IX regulations to the extent th.at they prohibit discrimination based on gender identity:

                •   34 C.F.R. § 106.2! {governing admission):
               •    34 C.F.R. § 106.23 (governing recruitment of students):
               •    34 C.F.R. § I 06.3 I (b)( 4) (governing difkrent rules of behavior or sandions):
               •    34 C.F.R. § l 06.32 (governing housing):
               •    34 C.F.R. § 106J3 (gnverning comparable facilities such as restrooms and Ind.er rooms):
               •    34 C.F.R. § 106.41 (governing athletic~):
               •    34 C.F.R. § I 06.51 (governing employment}:
               •    34 C.F.R. § I 06.52 (governing employment criteria):
               •    34 C.F.R. ~ I 06.53 (governing recruitment   or  employees); and
               •    34 C.F.R. § 106.60 (governing pre-employment inquiries).

           The College is exempt from these provisions to the extent that they prohibit discrimination on the basis <•f
           gender identity and compliance would conflict with the controlling organization's religious tenets.

           Please note that this letter should not be construed to grant exemption from the requirements of Title IX
           and the regulation other than as stated above. In the event that OCR receives a complaint against your
           institution, we are obligated to determine initially whether the allegations fall within the exemption here
           granted. Also, in the unlikely event that a complainant alleges that the practices followed by the
           institution are not based on the religious tenets of the controlling organization, OCR is obligated to
           contact the controlling organization to verify those tenets. If the organization provides an interpretation
           of tenets that has a different practical impact than that described by the institution, or if the organization
           denies that it controls the institution, this exemption \,ill be rescinded.

           I hope this letter responds fully to your request. rr you have any questions, please do not hesitate to
           contact me.

           Sincerely.




           Catherine L Lhamm1
           Assistant Secretary for Civil Rights
           lJ.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                                      33   31
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                                              U>JTl ED STATES f)F,:JA rn:-,,1E>2T                              or EDUCATlO\l




         Julv 29. 2015

         Dr. Gregg Chenoweth
         Prcsidcn'.
         Bethel College
         I 00 I Bethel Circle
         Mishawaka. IN 46545

         Dear Dr. Chenoweth:

         l write to respond ~o your May l, 2015, letter to the U.S. Department of Education. Office for
         Civil Rights (OCR), in which you requested a religious exemption for Bethel Coilege ,:College)
         of Mishawaka, Indiana, from Title [X of the Education An1endments of 1972 (T:tle IX). 20
         C.S.C. § 1681. Title fX prohibits discrimination on the basis of sex in any education program or
         activity operated by a recipient of Federal financial assistance.

         The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX does not apply to an
         educational institution controlled by a religious organization to the extent that application of
         Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
         such educational institutions are allowed to request an exemption from Title IX by identif~·ing
         the provisions of Title IX that conflict with a specific tenet of the religious organization. The
         request must identify the religious organization that controls the educational institutio:1 and
         specify be tenets of that organization and the provisions of the law or regulation that conflict
         with those tenets.

         Your request explained that the College ..is a private, Christian evangelical College•- that was
         --estabiist1ed in ! 94 7, as a Christian liberal arts college by the Missionary Church:· According to
         your letter. the College ·s Articles or Incorporation require "'that the controlling majori1y of the
         Trustees governing the College must be members in good stating or the \1issionary Church-· and
         the Bylaws of the College require "that the President of the Missionary Church shall be an ex-
         officio member of the Board. In addition. the President of Bethel College is an ex officio
         member of the denominational Board of Trustees." Your letter explains that mos: of the tenets
         of the Missionary Church are codified in the Missionary Church Constitution (Constitution). The
         College uses the Constitution ··as a reference for behavioral and doctrinal standards expected of
         the College, its students, faculty, and other employees ... and follows Biblical principles in its
         policies and practices applicable to Christian education, and to its students and employees."· You

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   EXHIBIT A                                                                        34 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
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           Dr. Gregg Chenoweth - page 2


          further state that students "are required to attend chapel regularly" and that ''The Covenant of
          Lifestyle requires students and employees to follow the Code of Conduct established by the
          College," which "incorporated the Christian standards of behavior directed by Biblical principles
          and the tenets of the Missionary Church.''

          Your letter requests a religious exemption from the provisions of Title IX to the extent those
          provisions "would require the College to allow males and females to reside in the same housing.
          to visit within the housing of the opposite sex without restrictions, to allow an unmarried male
          and female to live together, or to allow a person v.·ith gender identity issues to be treated as a
          member of the sex which they have assigned to themselves ... •· or "'would require that the
          College not discriminate in discipline, admissions, hiring. and employment decisions. in matters
          such as employment leaves for pregnancy. childbirth. and elective termination of pregnancy, or
          on the basis of pre-marital sex, unmarried pregnancy, extra-marital sex, or homosexual activity."'
          In support of this request, you cite to the Constitution and Biblical principles that state ··that God
          created two sexes, male and female; that marriage is between one man and one woman: and that
          extramarital sex, premarital sex, and the practice of homosexuality are sinful behaviors, and
          therefore prohibited." You letter further explains that it is the position of the College. "'based
          upon its religious beliefs taken from Biblical principles and the Doctrine of the Missionary
          Church, that a person cannot change his or her birth sex." Finally, you state that the ·'College's
          Christian religious beliefs, which are based upon the Bible and the tenets of the Missionary
          Church, also prohibit elective abortion, pre-marital sex. extra-marital sex, and homosexual
          behavior for students and employees."

          You state that. for these reasons, the College is requesting an exemption from the follo,ving
          regulatory provisions "so that the College may discriminate on religious grounds in regard to its
          students and employees, in keeping with its religious beliefa and the tenets of the Missionary
          Church:"

              •   34 C.F.R. § 106.2l(b)(iii) (governing admission):
              •   34 C.F.R. ~ I 06.21 (c) (governing admission);
              •   34 C.F.R. § I06.31 (b)(4) (governing di ffcrcnt rules of behavior or sanctions);
              •   34 C.F .R. § I 06.32 (governing housing):
              •   34 C.f.R. § I 06.33 (governing comparable facilities such as restrooms and locker
                  rooms);
              •   34 C.F.R. § I 06.40 (governing different rules based on marital or parental status of
                  students):
              •   34 C .F.R. § I 06.41 (governing athletics):
              •   34 C.F.R. § l 06.5 l(a) (governing employment):
              •   34 C.F.R. § 106.51(6)(6) (governing employment): and
              •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in
                  employment decisions).




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         The College is exempt from these provisions to the extent that they prohibit discrimination on
         the basis of marital status, sex outside of marriage, sexual orientation, gender identity,
         pregnancy, or abortion and compliance \Vould conflict with the controlling organization's
         religious tenets.

         Please note that this letter should not be construed to grant exemption from the requirements of
         Title IX and the regulation other than as stated above. In the event that OCR receives a
         complaint against your institution. we are obligated to determine initially whether the allegations
         fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
         that the practices followed by the institution an:: not based on the religious tenets of the
         controlling organization, OCR is obligated to contact the controlling organization to verify those
         tenets. If the organization provides an interpretation of tenets that has a different practical
         impact than that described by the institution, or if the organization denies that it controls the
         institution, this exemption will be rescinded.

         I hope this letter responds fully to your request. lfyou have any questions, please do not hesitate
         to contact me.

                                                               Sincerely,


                                                               E'Atherine E. Lhamon
                                                               Assistant Secretary for Civil Rights
                                                               U.S. Department of Education




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   EXHIBIT A                                                                        36 AT RISK
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                                                                                                 December22, 2014


           Barry H. Corey
           President
           Biola University
           13800 Biola Avenue
           La Mirada, CA 90639

           Dear President Corey:

                   The purpose of this letter is to respond to your November 14, 2014, letter to the U.S.
           Department of Education, Office for Civil Rights (OCR), in which you requested a religious
           exemption for Bio la University of La Mirada, California from Title IX of the Education
           Amendments of 1972. Title IX prohibits discrimination on the basis of sex in any education
           program or activity operated by a recipient of Federal financial assistance. We are processing
           your request and have determined that we need further information.

                   Subsection (a)(3) of Title IX, 20 U.S.C. § 168l(a)(3), and the Department's
           implementing regulation at 34 C.F.R. § 106.12 provide that Title IX and its regulations do not
           apply to an educational institution controlled by a religious organization to the extent that
           application of Title IX would not be consistent with the controlling organization's religious
           tenets. Such educational institutions are allowed to claim an exemption from Title IX by
           identifying the provisions of the Department's Title IX regulations that conflict with a specific
           tenet of the controlling religious organization.

                   Your letter included sufficient information regarding the provisions of the Department's
          Title IX regulations from which the University requests exemption. But your letter did not
          identify the religious organization that controls the University. Your letter describes the
          University as "a Christian evangelical institution," but does not name a specific religious
          organization. An educational institution will normally be considered to be controlled by a
          religious organization under Title IX if one or more of the following conditions prevail:

              ( 1)        It is a school or department of divinity, defined as an institution or a department
                          or branch of an institution whose program is specifically for the education of




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HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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          Letter to PresidentCorey - page 2


                      students to prepare them to become ministers of religion or to enter upon some
                      other religious vocation, or to prepare them to teach theological subjects; or
              (2)     It requires its faculty, students or employees to be members of, or otherwise
                      espouse a persona! belief in, the religion of the organization by which it claims
                      to be controlled; or
              (3)    Its charter and catalog, or other oflicial publication, contains an explicit
                     statement that it is controlled by a religious organization or an organ thereof or
                     is committed to the doctrines of a particular religion, and the members of its
                     governing body arc appointed by the controlling religious organization or an
                     organ thereof, and it receives a significant amount of financial support from the
                     controlling religious organization or an organ thereof.
                    If you would like OCR to make a determination regarding the University's religious
          exemption request, please let us know the specific religious organization that controls the
          University. Feel free to provide any explanation or supporting documentation that may be
          helpful to OCR's understanding. If you no longer desire a religious exemption determination,
          please simply let us know your wish to withdraw the request at this time so that we may close the
          request file.

                  Thank you for your cooperation. If you have any questions, please do not hesitate to
          contact me. I can be reached at (202) 453-6048.

                                                         Sincerely,
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                                                         Seth Galanter
                                                         Principal Deputy Assistant Secretary
                                                         Office for Civil Rights
                                                         U.S. Department of Education




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   EXHIBIT A                                                                        38 AT RISK
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                                 UNITEDSTATESDEPARTMENTOF EDUCATION
                                                        OFFICEFOR CIVILRIGHTS

                                                                                                         THE ASSISTANTSECRETARY




                                                              October 26, 2015

          Dr. Barbara C. McMillin
          President
          Blue Mountain College
          P.O. Box 160
          Blue Mountain, MS 38610

          Dear Dr. McMillin:

          I write to respond to your August 12, 2015, letter to the U.S. Department of Education, Office for
          Civil Rights (OCR), in which you requested a religious exemption for Blue Mountain College
          (College) of Blue Mountain, Mississippi from Title IX of the Education Amendments of 1972
          (Title IX), 20 U.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any
          education program or activity operated by a recipient of Federal financial assistance.

          The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX does not apply to an
          educational institution controlled by a religious organization to the extent that application of
          Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
          such educationalinstitutionsare allowed to request an exemption from Title IX by identifying
          the provisions of Title IX that conflict with a specific tenet of the religious organization. The
          request must identify the religious organization that controls the educational institution and
          specify the tenets of that organization and the provisions of the law or regulation that conflict
          with those tenets.

          Your request explains that the College, "a Southern Baptist institution of higher education," "is
          controlled by a religious organization. That organization is the Mississippi Baptist Convention
          ... whose constituency is the cooperating Southern Baptist churches of Mississippi." Your letter
          states that "[p]ursuant to the College's Charter, the Mississippi Baptist Convention controls the
          College by electing the College's board of trustees."

          Your letter requests a religious exemption from the provisions of Title IX "to the extent
          application of those provisions would not be consistent with the Convention's religious tenets
          regarding marriage, sex outside of marriage, sexual orientation, and gender identity." In support
          of this request, you cite to the Word of God, which your letter states is the Convention's
          religious authority. According to your letter, the Word of God teaches that marriage is between
          one man and one woman and serves as the means for procreation. You letter further states that
          the Convention has declared that "God's design was the creation of two distinct and

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                                                                 www.ed.gov

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          complementary sexes, male and female."

         You explain that it would not be consistent with the Convention's religious tenets for the College
         to-comply with Title IX to the extent that it prohibits the College from "engaging in recruiting,
         admissions, and financial assistance under a policy which called for the consideration of an
         applicant for admission's sexual orientation, gender identity (including but not limited to
         transgendered status), marital status, past and present practices regarding marriage, and sex
         outside marriage[; ... from] subjecting students to rules of behavior, sanctions, or other
         treatment because of these student characteristics[; or from] making all employment decisions ...
         in a manner which takes into consideration these employee characteristics."

         You state that, for these reasons, the College is requesting an exemption from the following
         regulatory provisions "to the extent the regulation would require the institution to treat marriage,
         sex outside of marriage, homosexuality, and gender identity in a manner that is inconsistent with
         the religious tenets of the Convention:"

             •   34 C.F.R. § 106.21 (governing admission);
             •   34 C.F.R. § 106.22 (governing preferences in admission);
             •   34 C.F.R. § 106.23 (governing recruitment of students);
             •   34 C.F.R. § 106.3 l(b)(4) (governing different rules of behavior or sanctions);
             •   34 C.F.R. § 106.31(b)(7) (governing the limitation of rights, privileges, advantages, or
                 opportunities);
             •   34 C.F.R. § 106.32 (governing housing);
             •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
                 rooms);
             •   34 C.F.R. § I 06.37 (governing financial assistance);
             •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
                 students);
             •   34 C.F .R. § 106.41 (governing athletics);
             •   34 C.F.R. § I 06.51 (governing employment);
             •   34 C.F.R. § I 06.52 (governing employment criteria);
             •   34 C.F.R. § 106.53 (governing recruitment of employees);
             •   34 C.F .R. § I 06.57 (governing the consideration of marital or parental status in
                 employment decisions); and
             •   34 C.F.R. § 106.60 (governing pre-employment inquiries).

         The College is exempt from these provisions to the extent that they prohibit discrimination on
         the basis of marital status, sex outside of marriage, sexual orientation, or gender identity and
         compliance would conflict with the controlling organization's religious tenets.

         Please note that this letter should not be construed to grant exemption from the requirements of
         Title IX and the regulation other than as stated above. In the event that OCR receives a
         complaint against your institution, we are obligated to determine initially whether the allegations




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   EXHIBIT A                                                                        40 AT RISK
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          Dr. Barbara C. McMillin - page 3


          fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
          that the practices followed by the institution are not based on the religious tenets of the
          controlling organization, OCR is obligated to contact the controlling organization to verify those
          tenets. If the organization provides an interpretation of tenets that has a different practical
          impact than that described by the institution, or if the organization denies that it controls the
          institution, this exemption will be rescinded.

          I hope this letter responds fully to your request. If you have any questions, please do not hesitate
          to contact me.

                                                                Sincerely,

                                                                 Gu--
                                                                Catherine E. Lhamon
                                                                Assistant Secretary for Civil Rights
                                                                U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                                 UN!TED STATES DEP1\RT\ffNT                                      OF EDUCATION




          Fcbruar; 1 I. 20 15

          Jairy C. llunter. Jr.
          Pre,,i<lcn1
          Charlcstl,n Southt·rn Lniversity
          9200 l ·nivcrsity Boulevard
          I' 0 Box 118087
          Charlt·ston. SC 29421-8ll87

          Dear President Hunter:

          The pumose of this Idler is to respond to your December 8.2014. letter to the U.S. Dcpart1J1entof
          Educ al ion. Office for Civil Rights (OCR). in\\ hich you requested a religious exemption from Titk IX pf
          the Education Amendments of 1972 (Title IX}. 20 L .S.C. ~ 1681. for Charleston Soutlwrri Lniversit:,
          ( University) of Charleston. South Carolina. Title !X prohibits discrimination on the basis of sex in an;·
          education program or activity operated by a recipient of Federal financial assistance.

          The implementing regulation at 34 C.F.R. ~ !06.1:?.pro...-idesthat Title IX does not apply to an
          educational institution controlled by a religious organiLation 10 the extent that application of Title IX
          would be inconsistent wi1hthe controlling organization ·s religious tenets. Therefore. such educational
          institutions are allowed to request an exemption from Title IX by identif-Yingthe provisions of Title IX
          that conflict with a specific tenet of the religious organization. The request must identif~. the religious
          organization that controls the educational institution and specif)' the tenets of that organization and the
          provisions of the law and/or regulation that conflict\\ ith those tenets.

          Your request explained that the University ..is go\erned and controlled hy its Board of Trustees, ,,hich
          consists (1ftwenty-five members who arc elected by the South Carolina Baptist Convcntil)n:· '{our letter
          enclosed a copy of the Lniversity·s Ry laws. Article !I of those Bylaws state that one of the ohjccti,es of
          the institution is to --rolpcrate a Baptist. liberal arts uni,ersit<·

          Your letter requests a religious exemption from certain provisions of Tille lX to the e:--.tentthat application
          nfthose provisions would not be consistent \\ith the South Carolina Baptist Convention's religious tenets.
          In support of !his request. your letter cites ~everal religious tenets that con11ict with the application nf the
          Title IX regulations listed below. Specifically. ~\)Ur kiter explains that the University. consistent\\ ith tlw
          South..:rn Baptist Convcntion·s 1 statement on trans.gender individuals. --amnns that a person cannot
          change his/her birth gender and so must be treated as such: rather than a sclf-identitied gender. \\ hi..:h
          would he inconsistent with the University's religious beliefs ... Addi1ionally. yo11rkttcr slates that the
          l,'nivcrsity views ··a!l forms of sexual intimacy that occur outside the covenant llfhclcrnscxual marriage.
          even when consensual" as inconsistent with the tenets of the Southern Baptist Convrntio1; and that the
          ··t:nivcrsity·s religious beliefs prohibit pre.marital sex and elective abortion ... You state that. for these
          rea5ons. application ofcc11ain provisions in Title IX ··\,ould be inconsistent with the religious beliefs and
          practict:s of the South Carolina l3aptist Concntion and Charleston Southern Lniversity.··


          ' Your lcncr explains that the University is affiliated "i th the Southern Baptist Convention via its ,on trolling
          organization. the South Carolina Baptist Convention.
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40											
   EXHIBIT A                                                                        42 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
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           Jairy C. Hunter. Jr. - page 2


           Your letter requests a religious exemption from the following provisions of Title IX to the extent that
           comp! iance would rnnflict v.'ith the South Carolina Baptist Convention's religious tenets:

               •    34C.F.R.§ l06.21(b)(iii) and(c)(governingadmission):
               •    34 C.F.R. § I 06.31 (b)( 4) (governing di fie rent rules of behavior or sanctions):
               •    34 C.F.R. § I 06.32 (governing housing):
               •    34 C.F.R. § l 06.33 (governing comparable facili!ics such as restrooms and locker rooms):
               •    34 C.F.R. § 106.40 (governing different rules based on marital or parental status of students):
               •    34 C.F.R. § 106.4 I (governing athictics):
               •    34 C.F.R. § 106.51 (a) and (b)(6) (g,werning employment}: and
               •    34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment
                    dei.:isions ).

           The College is exempt from these provisions to the extent that they prohibit discrimination on the basi~ of
           marital status. sex outside of marriage. sexual ,irientation. gender identity, pregnancy. or abortion and
           compliance would conflict with the controlling organization·~ religious tenets.

           Please note that this letter should not be construed to grant exemption from the requirements of Title IX
           and the regulation other than as stated above. ln the event that OCR receives a complaint against your
           institution. we arc obligated to determine initially whether the allegations fall within the exemption here
           granted. Also. in the unlikely event that a complainant alleges that the practices followed by the
           institution are not based on the religious tenets of the controlling organization, OCR is obligated to
           contact the controlling organization to verity those tenets. If the organization provides an interpretation
           of tenets that has a different practical impact than that described by the institution. or if the organization
           denies that it controls the institution, this exemption \\ill be rescinded.

           I hope this letter responds fully to your request. If you have any questions, please do not hesitate to
           contact me.

           Sincerely.




           Catherine E. Lharnon
           Assistant Secretary for Civil Rights
           l.' .S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                                      43   41
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                                                   U:',.JJTEDSTATFS DJ:-:PARTVfF'\:TOF EDUC!\TlON




         July 29, 20i5

         Dr. J. Derek Halvorson
         President
         Covenant College
         l 4049 Sc~nic Highway
         Lookout \fountain. GA 30750

         Dear Dr. Halvorson:

         I v-.Titeto respond to your May 28, 2015, letter to the U.S. Department of Education, Office for
         Civil Rights (OCR), in which you requested a religious exemption for Covenant College
         (College) of Lookout Mountain, Georgia, from Title IX of the Education Amendments of 1972
         (Title IX), 20 U .S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any
         education program or activity operated by a recipient ofFederai financial assistance.

         The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX docs not apply to an
         educational institution controlled by a religious organization to the extent that application of
         Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
         such educational institutions are allowed to request an exemption from Title IX by identifying
         the provisions of Title IX that conflict with a specific tenet of the religious organization. The
         request must identify the religious organization that controls the educational institution and
         specify the tenets of that organization and the provisions of the law or regulation that c•.:mflict
         with thos,;: tenets.

         Your request explained that the College ''was founded in ! 955 as a Christ-centered institution of
         higher education, emphasizing liberal arts. It is an agency of the Presbyterian Church in
         America (PCA) and is governed by a Board of Trustees elected by the General Assembly of the
         Presbyterian Church of America." Your request explains that "[t]he Presbyterian Church in
         America and Covenant Collcgc- ..-as one of its agencies--undcrstand    the Bible to be the infollibk
         written Word of God ... Iand I both the Denomination and the College affirm that the W ;:stminstcr
         Confession of Faith and the Westminster Larger and Shorter Catechisms provide the most
         adequate and comprehensive expression of the system of doctrine taught in the Bible."

         Your !ctter requests a religious exemption from the provisions of Title IX and its acconpanying
         regulations '"to the extent that they arc interpreted to curtail the College's freedom to respond to
         transgencer individuals in accordance with its theologically-grounded       convictions.'· In support
         of this request you cite to the College's Statement on Sexual Identity and Conduct (Statement),
         which yo'..!assert is consistent with the Westminster Confession of Faith and the Westminster
         Larger and Shorter Catechisms. The Statement pro,ides that "[t]he creation of human beings



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   EXHIBIT A                                                                        44 AT RISK
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          Dr. J. Derek Halvorson - page 2


          was a special creative act of God. God created human beings, male and female ... As such,
          students are not to adopt a gender identity different from one gifted them by their Creator. This
          gendered ordering of creation is to be accepted, honored. and reflected in sexual intimacy."

          Your request also notes that ·'the EEOC has begun openly declaring that the ban on ·sex'
          discrimination in Title VII of the Civil Rights Act of 1964 also forbids discrimination on the
          basis of 'sexual orientation.' It is conceivable that the Department of Education's Office for
          Civil Rights could interpret Title IX of the Education Amendments of 1972 the same way."
          Your letter states ·'[t]o the extent these suppositions arc correct, it appears as though Cl~mpliancc
          with Title IX. if interpreted by ED OCR to reach sexual orientation 'discrimination," would also
          be inconsistent with the theological commitment of Covenant College. The College, therefore.
          also seeks exemption on this basis." In support of this request, you cite the following language
          from the Presbyterian Church of America's Fifth General Assembly in 1977: '"The act of
          homosexuality is a sin according to God's Word: ... In light of the Biblical view of its sinfulness.
          a practicing homosexual continuing in this sin would not be a fit candidate for ordination or
          membership in the Presbyterian Church in America.'"

          Finally you request an exemption from Title IX to the extent that it restricts the College· s
          freedom to apply and enforce its Statement on Human Life. In support of this request, you cite
          to the Presb;1erian Church of America's Position Paper on Abortion which states, ·'the
          intentional killing of an unborn child is a violation of God's command and authority" and the
          College's Statement of Community Beliefs which. according to your letter, states that the
          College "strongly oppose[s] abortion since it devalues and destroys human life."

          You state that, for these reasons, the College is requesting an exemption from Title IX and the
          following implementing regulations "to the extent they arc interpreted to reach gender identity or
          sexual orientation discrimination, and to the extent they restrict the College's freedom to apply
          and enforce its Statement on Human Life:''

             •    34 C. F. R. § 106.21 (governing admission);
             •    34 C.F.R. § I 06.22 (governing preferences in admission);
             •    34 C.F.R. § 106.23 (governing recruitment of students);
             •    34 C. F. R. § I06.31(governing education programs or activities);
              •   34 C.F.R. & I 06.32 (governing housing):
              •   34 C.F.R. § I 06.33 (governing comparable facilities such as restrooms and locker
                  rooms):
              •   34 C.F.R. § 106.34 (governing access to classes and schools);
              •   34 C.F.R. § I 06.36 (governing counseling and use of appraisal and counseling materials):
              •   34 C.F.R. § 106.37 (governing financial assistance):
              •   34 C.F.R. § I 06.38 (governing employment assistance to students);
              •   34 C.F.R. § I 06.39 (governing health and insurance benefits and services):
              •   34 C .F.R. § 106.40 (governing different rules based on marital or parental status of
                  st:Jdents):




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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         Dr. J. Derek Halvorson - page 3


             •   34 C.F.R. § 106.41 (governing athletics):
             •   34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical
                 education classes); and
             •   34 C.F.R. §§ 106.51-61 (governing employment).

         The College is exempt from these provisions to the extent that they prohibit discrimination based
         on gender identity. sexual orientation. or abortion and compliance would conflict with the
         controlling organization's religious tenets.

         Please note that this letter should not be construed to grant exemption from the requirements of
         Title IX and the regulation other than as stated above. In the event that OCR receives a
         complaint against your institution. we arc obligated to determine initially whether the allegations
         fall within the exemption here granted. Also. in the unlikely event that a complainant alleges
         that the practices followed by the institution are not based on the religious tenets of the
         controlling organization, OCR is obligated to contact the controlling organization to v¢rii)' those
         tenets. If the organization provides an interpretation of tenets that has a different practical
         impact than that described by the institution, or if the organization denies that it contwls the
         institution, this exemption will be rescinded.

         I hope this letter responds fully to your request.   If you have any questions, please do not hesitate
         to contact me.

                                                                  Sincerel ·
                                                                (b)(6)

                                                                 Catherine E. Lhamon
                                                                 Assistant Secretary for Civil Rights
                                                                 U.S. Department of Education




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   EXHIBIT A                                                                        46 AT RISK
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                                            UNITED STATES DEPARTMENT OF EDUCATION
                                                                   OFFICE FOR CIVIi, RIGHTS
                                                                                                                     I I II: ASSIST,\NT SECRETARY



           May 4, 2015

           Lawrence Ressler, Ph.D.
           Interim President
           East Texas Baptist University
           I Tiger Drive
           Marshall_ TX 75670

           Dear Dr. Ressler:

           I write to respond to your February 27, 2015, letter to the U.S. Department of Education, Office for Civil
           Rights (OCR), in which you requested a religious exemption for East Texas Baptist University
           (University) of Marshal!, Texas, from Title IX of the Education Amendments of 1972 (Title IX), 20
           U.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any education program or activity
           operated by a recipient of Federal financial assistance.

           The implementing regulation at 34 C. F .R. § 106. 12 provides that Title IX does not apply to an
           educational institution controlled by a religious organization to the extent that application of Title IX
           would be inconsistent with the controlling organization's religious tenets. Therefore, such educational
           institutions are allowed to request an exemption from Title IX by identifying the provisions of Title IX
           that conflict with a specific tenet of the religious organization. The request must identify the religious
           organization that controls the educational institution and specify the tenets of that organization and the
           provisions of the law or regulation that conflict with those tenets.

           Your request explained that the University "is controlled by a religious organization. That organization is
           the Baptist General Convention of Texas." Your letter states that "[p ]ursuant to the University's
           Certificate of Formation and Bylaws, the Baptist General Convention of Texas controls the University in
           part by exercising its right to select a majority of the membership of the board of directors ofthe
           University, the governing body of the University." Your letter sets forth the University's mission, which
           states in part that the University "is an institution affiliated with the Baptist General Convention of Texas
           since 1912."

           Your letter requests a religious exemption fi-ornthe provisions of Title IX "to the extent application of
           those provisions would not be consistent with the Convention's religious tenets regarding marriage, sex
           outside of marriage, sexual orientation, gender identity, pregnancy, and abortion." In support ofthis
           request, you cite to On Sexual Ethics, a resolution adopted by the Convention in 2009. According to your
           letter, that resolution states that "the Bible teaches that the ideal for sexual behavior is the marital union
           between husband and wife and that all other sexual relations - whether premarital, extramarital, or
           homosexual - are contrary to God's purposes and thus sinful." You further cite the Convention's
           religious belief that "gender is based on biological attributes and is seen as a gift from God and
           immutable." Your letter states that the "Convention has declared on six occasions its religious beliefs
           opposing abortion." Fina!ly, you cite to the Baptist Faith and Message, which, according to your letter,
           states that "[m]arriage is the uniting of one man and one woman.'"

          You explain that it would not be consistent with the Convention's religious tenets for the University to
          comply with Title IX to the extent that it prohibits the University from "engaging in recn,iting and
          admissions under a policy which called for the consideration of an applicant for admission ·s sexual
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HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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         Dr. Lawrence Ressler - page 2


         orientation, gender identity {including but not limited to transgendercd status), marital status, past and
         present practices regarding marriage, sex outside marriage, pregnancy, and abortion[; ... J from subjecting
         students to rules of behavior, sanctions, or other treatment because of these student behaviors[: or from J
         making all employment decisions ... in a manner which takes into consideration these employee
         behaviors."

         You state that, for these reasons, the University is requesting an exemption from the following regulatory
         provisions "to the extent the regulation would require the institution to treat marriage, sex outside of
         marriage, homosexuality, gender identity, pregnancy, and abortion in a manner that is inconsistent with
         the religious tenets of the Convention:"

             •   34 C.F.R. § 106.21 (governing admission);
             •   34 C.F.R. § I 06.23 (governing recruitment of students);
             •   34 C.F.R. § I 06.3 I (b)(4) (governing different rules of behavior or sanctions);
             •   34 C.F.R. § 106.31 (b )(7) (governing the limitation of rights, privileges, advantages, or
                 opportunities);
             •   34 C.F.R. § 106.32 (governing housing);
             •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker rooms);
             •   34 C.F.R. § I 06.40 (governing different rules based on marital or parental status of students);
             •   34 C.F.R. § 106.41 (governing athletics);
             •   34 C.F.R. § 106.51 (governing employment);
             •   34 C.F .R. § 106.52 (governing employment criteria);
             •   34 C.F.R. § 106.53 (governing recruitment of employees);
             •   34 C.F.R. § l 06.57 (governing the consideration of marital or parental status in employment
                 decisions); and
             •   34 C.F.R. § 106.60 (governing pre-employment inquiries).

         The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
         of marital status, sex outside of marriage, sexual orientation, gender identity, pregnancy, or abortion and
         compliance would conflict with the controlling organization's religious tenets.

         Please note that this letter should not be construed to grant exemption from the requirements of Title IX
         and the regulation other than as stated above. In the event that OCR receives a complaint against your
         institution, we are obligated to determine initially whether the allegations fall within the exemption here
         granted. Also, in the unlikely event that a complainant alleges that the practices followed by the
         institution are not based on the religious tenets of the controlling organization, OCR is obligated to
         contact the controlling organization to verify those tenets. Ifthc organization provides an interpretation
         of tenets that has a different practical impact than that described by the institution, or if the organization
         denies that it controls the institution, this exemption will be rescinded.

         I hope this letter responds fully to your request. If you have any questions, please do not hesitate to
         contact me.

         Sincerely,


        C/{_
         Catherine E, Lhamon
         Assistant Secretary for Civil Rights
         U.S. Department of Education




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   EXHIBIT A                                                                        48 AT RISK
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             Page 3- Dr. Ailey

                   Based on the above principle. ETBU has requested and
                                                                        is granted by this letter,
                   exemption to:

                   34 C.F .R. § 106.21 (c)                       Admission; prohibitions relating to
                                                                   marital 0< parental status
                   34 C.F.R.§ 106.31                             Education programs and activities
                   34 C.F.R. § 106.34                            Access to course offerings
                   34 C.F.R. § 106.36                            Counseling and use of appraisal and
                                                                   counseling materials
                   34 C.F.A. § 106.37                            Financial assistance
                   34 C.F.R. § 106.38                            Employment assistance to students
                   34 C.F.R. § 106.40                            Marital or parental status
            This letter should not be construed to grant exemption
                                                                      to any section of the Title IX
            regulation not specifically mentioned. If OCR receives
                                                                      a complaint on these issues
            against ETBU, we will be obligated to determine initially
                                                                       whether the allegations fall
            within the exemptions granted. Also, in the unlikely event
                                                                           that a complaint alleges that
            the practices followed by ETBU are not based on the religio
                                                                            us tenets of the controlling
            organization, OCR may be obligated to contact the contro
                                                                         lling organization to verify
            those tenets. If the organization provides an interpretatio
                                                                        n of tenets that has a different
            practical impact than that described by ETBU, or if the
                                                                     organization denies that it
            controls ETBU, this exemption will be rescinded.

            I hope this letter responds fully to your request.    If you have any questions. please do
            not hesitate to contact me.

                                                       Sincerely,


                                                       ~~
                                                      Jeanette J. Lim
                                                      Acting Assistant Secretary
                                                        for Civil Rights

            Enclosures




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                                          OCT2 2 2014

          Fr. Sean 0. Sheridan
          President
          Franciscan University of Steubenville
          I 235 University Blvd.
          Steubenville, OH 43952

          Dear Fr. Sheridan:

          T:1e purpose of this lcncr is to respond to your August 27. 2014, letter to the lJ .S. Department
          of Education, Office for Civil Rights (OCR), in which you requested a religious
          exemption     for Franciscan University of Steubenville     (University) of Steubenville, Ohio
          from Title IX ofthe Education Amendments of 1972 (Title IX), 20 L.S.C. § 1681. Title IX
          prohibits discrimination on the basis of sex in any education program or activity operated by a
          recipient of Federal financial assistance.

          Title IX and its implementing regulation at 34 C.F.R. § 106.12provide that Title IX does not
          apply to educational institutions controlled by a religious organization to the extent application
          of Ti tie IX would be inconsistent with the organization's religious tenets. Therefore. such
          educational institutions are allowed to request an exemption from Title IX by identifying the
          provisions of Title IX that conflict with a specific tenet of the religious organization. The
          request must identify the religious organization that controls the educational institution and
          specify the tenets of that organization and the provisions of the law and/or regulation that
          conflict with those tenets.

          Your request explains that the University is a ··Catholic co-educational institution of higher
          education" that is ··ov.ned and controlled by a religious organization of the Catholic faith:·
          specifically the "Franciscan Friars of the Most Sacred Heart of Jesus."

          Your exemption request points to a recent OCR resolution agreement in which a school district
          agreed to allow a transgender male student to use the restroom, locker room. and living facilities
          consistent with the student's gender identity. and to play on boys' athletic teams. You explain
          that the requirements of that resolution agreement arc ··opposed to Franciscan Cniversity's
          Catholic mission and identity and to the tenets of the Catholic Church." Specifically, you cite to
          Catholic theology that asserts that "human beings are created male or female'" and that the
          ''tenets of the Catholic Church are violated by manipulating one's God-given sex or gender
          and/or by attempting to identify as the sex or gender opposite to one's God-given sex/gender."

          You state that. for these reasons, the Cniversity seeks an exemption from Title IX to the extenl
          that it is interpreted as it was in the OCR resolution agreement described above. We interpret




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   EXHIBIT A                                                                        50 AT RISK
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           Fr. Scan 0. Sheridan - page 2



           this statement as a request for exemption from provisions 34 C.F.R. §§ l 06.32 (governing
           housing), 106.33 (governing comparable facilities such as restrooms and locker rooms), and
           I 06.41 (governing athletics). The University is exempt from these provisions to the extent that
           they require a recipient to treat students consistent with their gender identity. but doing so would
           conflict with the controlling organization's religious tenets.

           Please note that this letter should not be construed to grant exemption from the requirements of
           Title IX and its implementing regulations other than as stated above. In the event that OCR
           receives a complaint against your institution, we are obligated to determine initially whether the
           allegations fall within the exemption here granted. Also, in the unlikely event that a complainant
           alleges that the practices followed by the institution arc not based on the religious tenets of the
           controlling organization, OCR is obligated to contact the controlling organization to verify those
           tenets. If the organi7.ation provides an interpretation of tenets that has a different practical
           impact than that described by the institution, or if the organization denies that it controls the
           institution, this exemption will be rescinded.

           I hope this letter responds fully to your request. If you have any questions. please do not hesitate
           to contact me.

                                                                 Sincerely,




                                                                 Catherine E. Lharnon
                                                                 Assistant Secretary for Civil Rights
                                                                 U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                        UNITED STATESDEPARTMENT OF EDUCATION
                                                            OFFICE f.OR CIVIL RiGJ ITS
                                                                                                           THE ASSISTANT SECRETARY




                                                              October 13, 2015

          Dr. Richard Kriegbaum
          President
          Fresno Pacific University
          1717S. Chestnut Ave.
          Fresno, CA 93 702

          Dear Dr. Kriegbaum:


          l write to respond to your June 2, 2015, letter to the U.S. Department of Education, Office for
          Civil Rights (OCR), in which you requested a religious exemption from Title IX of the
          Education Amendments of 1972 (Tille IX), 20 U.S.C. § 1681, for Fresno Pacific University
          (University) of Fresno, California. Title IX prohibits discrimination on the basis of sex in any
          education program or activity operated by a recipient of Federal financial assistance.

          The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX does not apply to an
          educational institution controlled by a religious organization to the extent that application of
          Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
          such educational institutions are allowed to request an exemption from Title IX by identifying
          the provisions of Title IX that conflict with a specific tenet of the religious organization. The
          request must identify the religious organization that controls the educational institution and
          specify the tenets of that organization and the provisions of the law and/or regulation that
          conflict with those tenets.

           Your request stated that throughout its history, the University "has always maintained its
          sponsorship by the Conferences of Mennonite Brethren Churches, and now specifically the
           Pacific District Conference of Mennonite Brethren Churches." Your request also stated that the
           University "has always existed for the purpose of providing education consistent with the beliefs
          of the Mennonite Brethren denomination." Your letter explains that the University"s Articles of
          Incorporation and Bylaws "provide that ... persons who are elected and serve as delegates to the
          Convention of the Pacific District Conference of Mennonite Brethren Churches ... shall have
          the authority to elect sixty percent (60%) of the voting members of the Board of Trustees of
          Fresno Pacific University." Your letter further notes that the University's Bylaws ..state that the
          Confession of Faith of the Pacific District Conference ofMem1onite Brethren Churches shall be
          the Confession of Faith of Fresno Pacific University and that no amendment to the Articles of
                                         ·IOOMARYLAND AVE. S.W., WASHINGTON.               DC 20202-1100
                                                            www.cd.gov

             The Deparlmt!nl of Edm.,1tio11'smission is to pmmote student achievement and preparation for global competitivene:,s
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   EXHIBIT A                                                                        52 AT RISK
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            Dr. Richard Kricgbaum - page 2


            Incorporation or Bylaws of Fresno Pacific University may be made which would conflict with
            the Confession of Faith of the Pacific District Conference of Mennonite Brethren Churches."

            Your letter requests a religious exemption from the provisions of Title IX "to the extent that they
            are interpreted to address gender identity discrimination and to the extent that they restrict the
            University's freedom to enforce its Values and Behavioral Standards statement and otherwise
            conduct Fresno Pacific University in accordance with the Confession of Faith:· In support of
            this request you cite to the Confession of Faith of the United States Conference of Mennonite
            Brethren Churches, which states that "God created them [humans] male and female in the image
            of God .... Disciples maintain sexual purity and marital faithfulness and reject immoral
            premarital and extramarital relationships and all homosexual practices .... Marriage is a covenant
            relationship intended to unite a man and a woman for life. Al creation, God designed marriage
            for companionship, sexual union and lhe birth and nurture of children. Sexual intimacy
            rightfully takes place only within marriage:' Your letter also cites to the University"s Values and
            Behavioral Standards statement, by which all students are required to abide, and which provides
            that "[p]hysical intimacy is reserved for individuals within a marriage covenant. Cohabitation
            with a boyfriend/girlfriend, or members of the opposite sex, outside of the marriage relationship
            is prohibited. Certain sexual behaviors are prohibited. These include but are not limited to:
            fornication, adultery, and same-sex romantic relations." Your letter explains that the University
            "maintains gender-specific housing and allows members of one gender to be present in residence
            halls of the other only during specified hours and then only with the door remaining open."

            You state that, for these reasons, the University is requesting an exemption from "Title IX and
            the following regulations (in their current or future forms) to the extent that they are interpreted
            to address gender identity discrimination and to the extent that they restrict the University's
            freedom to enforce its Values and Behavioral Standards statement and othe1wise conduct Fresno
            Pacific University in accordance with the Confession of Faith:''

               o   34 C.f.R. § f06.2 I (governing admission);
               o   34 C.F.R. § 106.22 (governing preferences in admission);
               o   34 C.F.R. § I 06.23 (governing recruitment of students);
               o   34 C.F.R. § 106.3 !(governing education programs or activities)
               o   34 C.F.R. § 106.32 (governing housing);
               •   34 C.F.R. § I 06.33 (governing comparable facilities such as restrooms and locker
                   rooms);
               •   34 C.F.R. § I 06.34 (governing access to classes and schools);
               o   34 C.F.R. § I 06.35 (governing access to institutions of vocational education);
               o   34 C.F.R. § 106.36 (governing counseling and use of appraisal and counseling materials);
               •   34 C.F.R. § 106.37 (governing financial assistance);
               o   34 C.F.R. § I06.38 (governing employment assistance to students)
               •   34 C.f.R. § I 06.39 (governing health and insurance benefits and services)




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             o   34 C.F.R. § I06.40 (governing different rules based on marital or parental status of
                 students);
             o   34 C.F.R. § 106.41 (governing athletics);
             •   34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical
                 education classes); and
             o   34 C.F. R. §§ 106.51-61 (governing employment).

          The University is exempt from these provisions to the extent that they are interpreted to address
          gender identity discrimination and to the extent that they conflict with the University's Values
          and Behavioral Standards statement or the Confession of Faith.

          Please note that this letter should not be construed to grant exemption from the requirements of
          Title IX and the regulation other than as staled above. Tnthe event that OCR receives a
          complaint against your institution, wc are obligated to detennine initially whether the allegations
          fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
          that the practices fol lowed by the institution are not based on the religious tenets of the
          controlling organization, OCR is obligated to contact the controlling organization to verify those
          tenets. If the organization provides an interpretation of tenets that has a different practical
          impact than that described by the institution, or if the organization denies that it controls the
          institution, this exemption will be rescinded.

          I hope this letter responds fully to your request. If you have any questions, please do not hesitate
          to contact me.

                                                                Sincerely,

                                                               Ct_~
                                                                Catherine E. Lharnon
                                                                Assistant Secretary for Civil Rights
                                                                Office for Civil Rights
                                                                U.S. Department of Education




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   EXHIBIT A                                                                        54 AT RISK
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                                              UNITED STATESDEPARTM1\NTOf EDUCATION
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                                                                                     May 23, 2014


             Dr. Robin Baker
             President
             George Fox University
             414 N. Meridian St.
             Newberg, Oregon 97132


             Dear Dr. Baker:

             The purpose of this letter is to rt!spond to your March 3 I, 2014. letter to the U.S.
             Department of Education, Oflice for Civil Rights (OCR), in which you requested a
             religious exemption for George Fox University (Univcrsity)of Newberg, Oregon
             from Title IX orthe Education i\menumcnts or 1972 (Title IX), 20 U.S.C. § 1681.
             Title IX prohihits discrimination on the basis of sex in any education program or
             activity operated by a recipient of Federal [inancial assistance.

             The implementing regulation at 34 C.f.R. § 106.12 provides that Title IX docs not
             apply to educational institutions controlled by rdigious organizations to the extent that
             application of Title IX would he inconsistent with the institution's rdigious tenets.
             ll1creforc, such educational inslitutions arc allowcd to rcqm:st an exemption from
             Title IX by identifying the provisions of Title IX that conflict with a specilic tenet of
             the religious organization. The request must identify the religious organi;,11tion that
             controls the educational institution and specify the tenets of that organization and the
             provisions of the law and/or regulation that conf1ict with those tenets.

             Your request explained that the University, which is owned by the Northwest Yearly
             Meeting of Friends (part of tbc Quaker movement), is "a Christ-centered community"
             that is ;'committed to providing n Christian education." You note that four of the
             University's seven Board of Trustees members must be Friends. You state that the
             University's biblical belief is that human beings arc created male and ('t;malc, and that tlw
             University "cannot in good conscience support or encourage an individual to live in
             conflict with biblical principles."

             Your exemption rcquest points lo a recent OCR resolution agreement in which a school
             distriet agreed to allow a transgender male student to use the restroom, locker room, and
             living facilities consistent with the student's gender identity, and to play on boys' athletic
             lc,1ms. You explain that the Univcr~ity "would not be able to make similar
             accommodations eonsislt:nl with [your] religious beliefs." You furlher stute that, for
             these reasons, the University is requesting an exemption from Title IX and its
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           Dr. Robin Baker, George Fox University
           May 23, 2014
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           implementing rc:gulation to the extent that they prohibit discrimination based on gcnth!r
           identity. \Ve. interpret this statement as a request for c:u:mptinll from provisions
           34 C.F.R.  **  I 06.32 (governing housing), I 06.33 (governing comparnble titcilitics sud1
           as restrooms and locker rooms), and I 06.41 (governing athletics). The University is
           exempt from these provisions to the extent that they require a n.:cipient to treat students
           consistent with their gender identity, but doing so would conllict with the controlling
           organization's religious tenets.

           Please note that this letter should not be construed to grant exemption from the
           requirements of Title IX and the regulation other thnn ,1sstated ,1bovc. In the event that
           OCR receives a complaint against your institution, we arc obligated to dcte1111ineinitially
           whether the allcgntions fall within the exemption here granted. Also, in the unlikely event
           that n complainant alleges that the practices followed by the institution arc not based on
           the religious tenets of the controlling organization. OCR is obligated to contact the
           controlling orgrmization to verify those tenets. lfthc organi;,:ation provides an
           inleq,rclation 01·1enets that has u different practical impact than that described by the
           institution, or if the organization denies that it controls the institution, this exemption will
           be rescinded.

           I hope this lc.:tlcrresponds fully to your request. 11·you have any questions, please do not
           hesitate to contact me.

                                                           Sinccrdy,



                                                          Catherine E. Lhamon
                                                          Assistant Sccretu1y for Civil Rights
                                                          Oflicc for Civil Rights
                                                          U.S. Department of Educntion




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   EXHIBIT A                                                                        56 AT RISK
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                                UNITEDSTATESDEPARTMENTOF EDUCATION
                                                    OFFICEFOR CIVIL RIGHTS

                                                                                                  THE ASSISTANT SECRET
                                                                                                                     ARY




          October 30, 2015

          Dr. Anthony W. Allen
          President
          Hannibal-LaGrange University
          2800 Palmyra Road
          Hannibal, MO 6340 I

          Dear Dr. Allen:

          I write to respond to your August 27, 2015, letter to the U.S. Department of Education, Office for
          Civil Rights (OCR), in which you requested a religious exemption for Hannibal-LaGrange
          University (University) of Hannibal, Missouri from Title IX of the Education Amendments of
          1972 (Title IX), 20 U.S. C. § 1681. Title IX prohibits discrimination on the basis of sex in any
          education program or activity operated by a recipient of Federal financial assistance.

           The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX does not apply to an
           educational institution controlled by a religious organization to the extent that application of
           Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
           such educational institutions are allowed to request an exemption from Title IX by identifying
           the provisions of Title IX that conflict with a specific tenet of the religious organization. The
           request must identify the religious organization that controls the educational institution and
           specify the tenets of that organization and the provisions of the law or regulation that conflict
           with those tenets.

           Your request explained that the University, "a Southern Baptist institution of higher education,"
           "is controlled by a religious organization. That organization is the Missouri Baptist Convention
           ... whose constituency is the cooperating Southern Baptist churches of Missouri." Your letter
           states that "[p]ursuant to the University's Charter, the Missouri Baptist Convention controls the
           University in part by exercising its right to elect the entire membership of the board of directors
           of the University, the governing body of the University."

           Your letter requests a religious exemption from the provisions of Title IX "to the extent
           application of those provisions would not be consistent with the Convention's religious tenets
           regarding marriage, sex outside of marriage, sexual orientation, and gender identity." In support
           of this request, you cite to The Baptist Faith and Message 2000, the most recent statement of
           faith adopted by the Convention. According to your letter, that statement of faith explains that
           the tenets of the Convention are that marriage is between one man and one woman and serves as

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         the means for procreation, that God made people in male and female form, and that the "gift of
         gender is thus part of the goodness of God's creation."

         You explain that it would not be consistent with the Convention's religious tenets for the
         University to comply with Title IX to the extent that it prohibits the University from "engaging
         in recruiting, admissions, and financial assistance under a policy which called for the
         consideration of an applicant for admission's sexual orientation, gender identity (including but
         not limited to transgendered status), marital status, past and present practices regarding marriage,
         and sex outside marriage[; ... from] subjecting students to rules of behavior, sanctions, or other
         treatment because of these student characteristics[; or from] making all employment decisions ...
         in a manner which takes into consideration these employee characteristics."

         You state that, for these reasons, the University is requesting an exemption from the following
         regulatory provisions "to the extent the regulation would require the institution to treat marriage,
         sex outside of marriage, homosexuality, and gender identity in a manner that is inconsistent with
         the religious tenets of the Convention:"

             •   34 C.F.R. § 106.21 (governing admission);
             •   34 C.F.R. § 106.22 (governing preferences in admission);
             •   34 C.F.R. § 106.23 (governing recruitment of students);
             •   34 C.F.R. § 106.31 (b)( 4) (governing different rules of behavior or sanctions);
             •   34 C.F .R. § 106.31 (b)(7) (governing the limitation of rights, privileges, advantages, or
                 opportunities);
             •   34 C.F.R. § 106.32 (governing housing);
             •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
                 rooms);
             •   34 C.F.R. § 106.37 (governing financial assistance);
             •   34 C.F.R. § I 06.40 (governing different rules based on marital or parental status of
                 students);
             •   34 C.F.R. § 106.41 (governing athletics);
             •   34 C.F.R. § 106.51 (governing employment);
             •   34 C.F.R. § 106.52 (governing employment criteria);
             •   34 C.F.R. § 106.53 (governing recruitment of employees);
             •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in
                 employment decisions); and
             •   34 C.F.R. § 106.60 (governing pre-employment inquiries).

          The University is exempt from these provisions to the extent that they prohibit discrimination on
          the basis of marital status, sex outside of marriage, sexual orientation, or gender identity and
          compliance would conflict with the controlling organization's religious tenets.

          Please note that this letter should not be construed to grant exemption from the requirements of
          Title fX and the regulation other than as stated above. In the event that OCR receives a




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   EXHIBIT A                                                                        58 AT RISK
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           complaint against your institution, we are obligated to determine initially whether the allegations
           fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
           that the practices followed by the institution are not based on the religious tenets of the
           controlling organization, OCR is obligated to contact the controlling organization to verify those
           tenets. If the organization provides an interpretation of tenets that has a different practical
           impact than that described by the institution, or if the organization denies that it controls the
           institution, this exemption will be rescinded.

           I hope this letter responds fully to your request. If you have any questions, please do not hesitate
           to contact me.

                                                                 Sincerely,


                                                                 Y.f  e~hamon
                                                                 Assistant Secretary for Civil Rights
                                                                 U.S. Department of Education




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           /\pril 24. 2015

           \Villinm N. Fllis
           President and (:E(1
           l·knvard Payne Cnivcrsity
           I 000 Fisk Strel:'.t
           Brovvnwooc. Texas 76801-2715

           '.)car President Uh:


           I write to n.:spond .o y\1ur N1arch 25. 2015. letter to the U.S. Department of Education, Office
           for Civil Rights (CCR), in which you requested a rdigious exemption from Title IX of the
           Education Amendments or 1972 (Title IX). 20 t:.s.C. § 1681, for Howard Payne University
           (Lni-vcrsity) of Brownwood, Texas. Title IX prohibits discrimination on the basis of sex in any
           education program or activity opernted by a rl:'.dpient of Federal financial assistance.

           The impk:mcnting regulation at 34 C.F.R. ~ I 06.12 provides that Title !X does not apply to an
           educational institution controlled by a religious organization to the extent that application of
            litlc IX \h}uld be inconsistent with the controlling organization ·s religious tenets. Therefore.
           such educational institutions arc al!owcd to request an exemption from Title IX by identifying
           the provisions of :·itlc IX that conflict with a specific tenet of the religious organization. The
           request must identify the religious organization that controls the educational institution and
           speci(v the tenets ,)f :!mt organization and the pro\'isions or the law and/or regulation that
           cont1ict with thos,~ tenets.

           Your request explained that the L,niversity '·is controlled by Baptists.'' in particular, tbe Baptist
           Gcnt=ral Conventi(:n of Texas. Your letter states that "'Every member of the board of trustees
           must be a member of' a Baptist church. The majority of the members of the board ortrustees are
           elected by :be Co,m~ntion.··

           Your icttcr rc4ucs1s a religious c:xcmption "from provisions of Title IX to the extent application
           of those provision~ would not be consistent with the religious tenets of the Baptist General
           Conventionof Texas ... regardingmarriage.sex outsideof marriage.sexual orientation. gender
           identi!y (including hut not limited to transgcndcr status). pregnancy, and abortion."

           In ~uppNt of this request. you state that ··Messengers to the Convention·s annual meetings haw
           reanirmed the view of Scripture on the sacredness and dignity of all human lite. both born and

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   EXHIBIT A                                                                        60 AT RISK
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           unborn. and supports:d legislation prohibiting abortion exct:pt to save the life of the mother or in
           cases of incest or rape." You also cite to a Resolution on Transgender Issues that the Executive
           Board of the Convention adopted in ;;-ebruary 2015 that, according to your letter. states that
           "gender;,_ bnscd on \1iologicnl attributes and is seen as a gift from God and immutable'" and that
           the Convention affir:ns "that in creation God made male and female as biological gendt.:r
           assignment." finally. you cite to the Baptist Faith and Message, adopted by the Convention in
            1988. According to your letter. that statement of faith states that "Marriage is the uniting of one
           man and one woma.11··and that ii provides ··the channel for sexual expression according to
           bihl irnl standards. a,1dthe means for procreation of the human race."

           You explain that it would not be consistent with the Convention's       religious tenets for the
           Lniversity to comply with Title IX to the extent that it prohibits the College from "engaging in
           recruiting and admi~sions under a policy which called for the consideration of an applicant for
           admis~ion·s sexual orientation, gender identity (including but not limited to transgendered
           status). marital status. past and present practices regarding marriage, sex outside marriage,
           pregnancy and abortion: ... Iflrom subjecting students to rules of behavior. sanctions. or other
           treatment because of these student characteristics[: or from] making all employment decisions ...
           in a manner which takes into consideration these employee characteristics."

           You slate that. for these reasons. the University is requesting an exemption from the following
           regulatory provisiors '·to the extent the regulation would require the institution to treat marriage.
           sex outside or marriage. homosexuality. gender identity, pregnancy and abortion in a manner that
           is inconsistent with the religious tenets of the Convention:,.


               •    34 C.r.R. § ,06.21 (governing admission):
               •    34 C.F.R. § 106.23 (governing recruitment of students):
               •    34 C.F.R. § i06.3 i(b)(4) (governing different rules of behavior or sanctions);
               •    34 c.r;.R. § l 06.31 (b )(7) (governing the limitation of rights, privileges. advantages.   or
                    opportunities):
               o    34 c.r.R. § 106.32 (governing housing):
               e    34 CY.R. § 106.33 (governing comparable facilities such as restrooms and locker
                    rooms):
               "    34 C. F .R. § 106.40 ( go\·cming different rules based on marital or parental status of
                    students);
               o    34 C.F.R. § I 06.41 (governing athletics);
               •    34 C.F.R. § I 06.51 (governing employment):
               o    34 C.F.R. § 106.52 (governing employment criteria):
               e    34 C. f.R. § 106.53 (governing recruitment of employees):
               "   34 C.F.R. § 106.57 (governing 1he consideration of marital or parental status in
                   cmploymcn\ decisions);




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              ..   34 C.f.R. § I 06.60 (gon:ming pre-employment     inquiries).

          The University is exempt fwm thcst: provisions to the extent that they prohibit discrimination    on
          thc basis of marriage status, sex outside of marriage, sexual orientation. gender identity,
          pregnancy. or abor11on and compliance would conflict with the controlling organi7,.ation·s
          religious tenets.

          Please note that this letter shlnild not be construed to grant exemption from the requirements of
          Title lX and the regulation other than as stated above. ln the event that OCR receives a
          complaint against your institution, we arc obligated to deterrninc initially whether the allegations
          fall within the exemption here grantt.:d. Abo. in the unlikely event that a complainant alleges
          that the practices fl'llo\.\ed by the institution are not based on the religious tenets of the
          controlling organization. OCR is obiigated to contact the controlling organization to verify those
          tenets. If the organization provides an interpretation of tenets that has a different practical
          impact than that described by the institution, or if the organizaticin denies that it controls the
          institution. this cxc:nption will be rescinded.

          I hope this letter responds fully to your request. If you have any questions, please do not hesitate
          to contact me.

          Sincerely.




          Catherine E. Lhanwn
          Assistant Secretary for Civil Right~
          U.S. Department of Education




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   EXHIBIT A                                                                        62 AT RISK
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                                                                                                                                     'i°I IE ASSISTA~T SEC!fflARY




            April 29. 2015

            David E. Potts
            President
            Jud.son College
            302 Ribb Street
            Marion. AL 36756

            Dear President Potts:

            I write to respond to your February 17. 2015. letter to the lJ .S. Department of Education, Office
            for Civil Rights (OCR), in v,·hich you requested a religious exemption for Judson College
            (College) of Marion. Alabama. from Title IX of the Education Amendments of I 972 (Title IX).
            20 U.S. C. § 1681. Title IX prohibits discrimination on the basis of sex in any education pm gram
            or activity operated by a recipient of Federal financial assistance.

            The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX docs not apply to an
            educational institutiot1 controlled by a religious organization to the extent that application of
            Title IX v.·ould be inconsistent with the controlling orgar1i1.ation's religious tenets. Therefore,
            such educatiunal institutions are allowed to request an exemption from Title IX by identifying
            the provisions of Title IX that conflict with a specific tenet of the religious organization. The
            request must identity ,he religious organization that controls the educational institution and
            specify the tenets of that organization and the provisions of the law or regulation that conflict
            with those tenet~.

            Your request explained tbat the College. '·a Southern Baptist institution of higher education:· "is
            controlled by a religious organization. That organization is the Alabama Baptist State
            Convention:· Your letter enclosed a copy of the College's charter. which states that the College
            is '·a distinctly Christian Libera! Arts College for Women. As an entity of the Alabama Baptist
            State Convention. Judson affirms its denominational loyalty, and accepts its responsibility to its
            Baptist constituency and to the total community and state." (Article !IL Section I (a)). The
            charter further cxplair.s that "[t)o be nominated for the office of trustee, a member must be in
            good standing ofa cooperating Alabama Baptist church." (Article V, Section A). You also
            enclosed a copy of the College·s bylaws, which state that the '•management of the College shall
            be wsted in a Board of Trustees consisti:i.g of not more than 32 rotating members plus such other
            honorary lilt: members as shall be elected by the Alabama Baptist State Convention:· (Article L
            Section 1).

            Your letler requests a religious exemption from the provisions of Title IX ·'to the extent
            application of those provisions would not be consistent with the Convcntion"s religious tenets
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HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                                                                                         63   61
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           David E. Potts-- page 2


          regarding marriage, sex outside of marriage, sexual orientation, gender identity, pregnancy, and
          abortion." In support of this request, you cite to The Baptist Faith and Message 2000, the most
          recent statement of fmth adopted by the Convention_ According to your letter, that statement of
          faith explains that the tenets of the Convention arc that marriage is between one man and one
          woman and serves as the means for procreation. that God made man in male and female fonn.
          and that the "gift of gender is thus part of the goodness of God's creation." You further cite the
          Convention's belief that one should ''speak on behalf of the unborn and contend for the sanctity
          of all human life from conception to natural death."

          You explain that it would not be consistent with the Convention's religious tenets for the
          University to comply with Title IX to the extent that it prohibits the College from "engaging in
          recruiting and admissions under a policy which called for the consideration of an applicant for
          admission ·s sexual orientation. gender identity (including but not limited to transgcndcrcd
          status). marital status. past and present practices regarding marriage, sex outside marriage,
          pregnancy, and abortion[; ... J from subjecting students to rules of behavior, sanctions, or other
          treatment because of these student characteristics[; or from] making all employment decisions ...
          in a manner which takes into consideration these employee characteristics."

          You state that, for these reasons, the College is requesting an exemption from the following
          regulatory provisions ·'to the extent the rcgulat[on would require the institution to treat marriage,
          sex outside of marriage, homosexuality, gender identity. pregnancy, and abortion in a manner
          that is inconsistent wi lh the religious tenets of the Convention:•·

              •   34 C.F.R. § 106.21 (governing admission):
              •   34 C.f.R. § I 06.23 (governing recruitment of students);
              •   34 C.F.R. § I 06.31 (h)(4) (governing different rules of behavior or sanctions);
              •   34 C.F.R. § 106.31 (b)(7) (governing the limitation of rights, privileges, advantages, or
                  opportunities):
              •   34 C.F.R. § 106.32 (governing housing):
              •   34 C .F.R. § I 06.33 (governing comparable facilities such as restrooms and locker
                  rooms):
              •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
                  students):
              •   34 C.F.R. § 106.41 (governing athletics);
              •   34 C.F. R. § 106.51 (governing employment);
              •   34 C .F. R. § I 06.52 (governing employment criteria);
              •   34 C.F.R. § I 06.53 (governing recruitment of employees);
              •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in
                  employment decisions): and
              •   34 C.F.R. § I 06.60 (governing pre-employment inquiries).




62											
   EXHIBIT A                                                                        64 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
             Case 6:21-cv-00474-AA              Document 59-1          Filed 08/11/21         Page 65 of 112




            David E. Potts- page~


            The College 1s exempt from these pro-visions to the extent that they prohibit discrimination on
            the basis of marital status, sex outside of marriage, sexual orientation, gender identity,
            pregnancy. or abortion and compliance would conflict with the controlling organi7..ation's
            religious tenets.

            Please note that tbis letter should not be construed to grant exemption from the requirements of
            Title IX and the regulation other than as slated above. In the event that OCR receives a
            complai11t against your institution. we arc obligated to detenninc initially whether the allegations
            !all within the exemption here granted. Also. in the unlikely event that a complainant alleges
            that the practices folk,wed by the institution are not based on the religious tenets of the
            controlling organization, OCR is obligated to contact the controlling organization to verify those
            tenets. If the organization provides an interpretation of tenets that has a different practical
            impact than that described by the institution, or if the organization denies that it controls the
            institution. this exemption will be r<.:scindcd.

            I hope this letter responds fully to your request. If you have any questions, please do not hesitate
            to contact me.

            Sincerely,



             I j_.   ; .



            Catherine L Lhamon
            Assistan1 Secretary for Civil Rights
            C.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                             65   63
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      l.   --.....~... .._..   ·/




             July 3 L 2015

             Dr. Rick Brc,vcr
             President
             Louisiana College
             : 140 College Drive
             Box 583
             Pineville. Li\ 71359

             Dear President Brewer:

             I \\Tile to respond to your July 17, 2015, letter to the C.S. Department of Education, Office for
             Civil Rights (OCR), in which you requested a religious exemption for Louisiana Col!egc
             (College) of Pineville, Louisiana, from Title IX of the Education Amendments of 1972 (Titie
             iX), 20 U.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any education
             program or activity operated by a recipient of Federal financial assistance.

             The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX does not apply to an
             educational institution controlled by a religious organization to the extent that application of
             Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
             such educational institutions are allowed to request an exemption from Title IX by identifi ing                                                                    0




             the provisions of Title IX that conflict ,.vith a specific tenet of the religious organization. The
             request must identify the religious organization that controls the educational institutio:1 and
             specify the knets of that organization and the provisions of the law or regulation that conflict
             \\"ith those tenets.

             Your request explained that the College is ··affiliated with the Louisiana Baptist Convention ...
             According to your letter, the College ·s Articles ofincorporation provide that ..ft !he college is
             governed and controlled by its Board of Trustees. which consists of thirty-three members. who
             arc elected by the Louisiana Raptist Convention ... These elected members of the Board arc
             members in good standing of a Baptist church in Louisiana cooperating with the Louisiana
             Baptist Convention.·· Your letter also states that .. [t]he college follows biblical pri:1ciples in its
             policies and practice~ applicable to Christian education. and to its students and employees:·

             Your letter requests an exemption from the provisions of Title IX to the extent they pr8hibit
             discrimination based on marital status, sex outside of marriage. sexual orientation. gcr.dcr
             identity, pregnancy, or abortion so that the College ·'may make decisions consistent with its
             religious beliefs and principles in regard to its students and employees." In support of this
                                                            -HlD iv·1AI\Y~.A\J-) /\\':"::. S.1/',_._, \\",\S! iL'\J~~H)\~, '.JC 2U2U1-T100
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64											
   EXHIBIT A                                                                        66 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
             Case 6:21-cv-00474-AA             Document 59-1           Filed 08/11/21       Page 67 of 112



           Dr. Rick Brewer - page 2


           request, you state that the College follows the ''teachings of the Bible and the beliefs of the
           Baptist Church" and refer to The Baptist Faith and Message as the College's statement of faith.
           According to your request, these teachings and beliefs provide "that God created two sexes, male
           and female: that marriage is between one man and one woman for a lifetime: and that
           extramarital sex, premarital sex, and the practice of homosexuality arc sinful behaviors. and
           therefore prohibited." Your letter explains that ··employees are expected to conduct themselves
           in a manner consistent with Louisiana College's Christian values. As such, employment of
           someone who identifies as being of the opposite sex from their birth gender and who expresses
           that identification ... is against the college's religious beliefs.'' Your letter further explains that
           ·'[t]he college's religious beliefs prohibit pre-marital sex and elective abortion." Finally, your
           letter states that "if students and/or employees exhibit behavior, which is not in keeping with the
           College's mission and vision, then the College may impose sanctions up to, and including.
           expulsion from the college or termination of employment:·

           You stat(! that, for these reasons, the College is requesting an exemption from the following
           regulatory provisions so that "the College may make decisions consistent with its religious
           beliefs a:id principles in regard to its students and employees:"

              •    34 C.1-'.R.§ 106.21(b)(l)(iii) (governing admission);
              •    34 C.F.R. § I 06.21 (c) (governing admission):
              •    34 C.F.R. § I 06.31 (b)( 4) {governing different rules of behavior or sanctions):
              •    34 C.F.R. § 106.32 (governing housing);
              •    34 C.F .R. § 106.33 (governing comparable facilities such as restrooms and locker
                   rooms):
               •   34 C.F.R. § I 06.40 (governing different rules based on marital or parental status of
                   students);
               •   34 C.F.R. § 106.41 (governing athletics);
               •   34 C.F.R. § 106.51(a) (governing employment);
               •   34 C.F.R. § I 06.51 {b)(6) (governing employment); and
               •   34 C.F.R. § I 06.57 (governing the consideration of marital or parental status in
                   employment decisions).

           The College is exempt from these provisions to the extent that they prohibit discrimination on
           the basis of marital status, sex outside of marriage, sexual orientation, gender identity,
           pregnancy. or abortion and compliance would conflict with the controlling organization·s
           religious tenets.

           Please note that this letter should not be construed to grant exemption from the requirements of
           Title IX and the regulation other than as stated above. In the event that OCR receives a
           complaint against your institution, we are obligated to determine initially whether the allegations
           fall within the exemption here granted. Also. in the unlikely event that a complainant alleges
           that the practices followed by the institution are not based on the religious tenets of th.:
           controlling organization, OCR is obligated to contact the controlling organization to verify those
           tenets. If the organization provides an interpretation of tenets that has a different practical




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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          Dr. Rick Brewer - page 3


          impact than that described by the institution, or if the organization denies that it controls the
          institution, this exemption will be rescinded.

         I hope this letter responds fully to your request. If you have any questions, please do not hesitate
         to contact me.

                                                                 Sincere! ·.
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                                                                 Assistant Secretary for Civil Rights
                                                                 U.S. Department of Education




66											
   EXHIBIT A                                                                        68 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
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                                       UNITED STATES DEPARTMENT OF EDUCATlON
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                                                             October 13. 2015

          Dr. Lee Royce
          President
          Mississippi College
          Box 4001
          IOl Nelson Hall
          Clinton, MS 39058

           Dear Dr. Royce:

           I write to respond to your September 11, 2015. letter to the U.S. Department of Education. Office
           for Civil Rights (OCR), in which you requested a religious exemption for Mississippi College
           (College) of Clinton, Mississippi from Title IX of the Education Amendments of 1972 (Title IX),
           20 U .S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any education program
           or activity operated by a recipient of Federal financial assistance.

           The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX does not apply to an
           educational institution controlled by a religious organization to the extent that application of
           Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
           such educational institutions are allowed to request an exemption from Title IX by identifying
           the provisions of Title IX that conflict with a specific tenet of the religious organization. The
           request must identify the religious organization that controls the educational institution and
           specify the tenets of that organization and the provisions of the law or regulation that conflict
           with those tenets.

           Your request explained that the College, '·a Southern Baptist institution of higher education," ••is
           controlled by a religious organization. That organization is the Mississippi Baptist Convention .
           . . whose constituency is the cooperating Southern Baptist churches of Mississippi." Your letter
           states that "[p)ursuant to the College·s Charter, the Mississippi Baptist Convention controls the
           College by electing the College's board of trustees.''

           Your letter requests a religious exemption from the provisions of Title IX "to the extent
           application of those provisions would not be consistent with the Convention's religious tenets
           regarding marriage, sex outside of marriage, sexual orientation, gender identity. pregnancy and
           abortion.·• In support of this request, you cite to the Convention's religious authority, the Bible.
           According to your letter. that Bible teaches that marriage is between one man and one woman
           and serves as the means for procreation and that "l c ]hildren. from the moment of conception. arc
           a blessing and heritage from the Lord."' Yow· letter further states that the Convention has
           declared that ·'[t)he union of one man and one woman is the only form of marriage prescribed in
                                          400 MARYLAND AVE. S.W., WASHINGTON, DC 20202-1100
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HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                                                   69   67
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           Dr. Lee Royce - page 2


           the Bible ... [t]he Bible affirms that all human life, both born and prebom, is a person bearing
           the image of God"; and "God's design was the creation of two distinct and complementary sexes,
           male and female ..,

          You explain that it would not be consistent with the Convention's religious tenets for the College
          to comply with Title IX to the extent that it prohibits the College from "engaging in recruiting,
          admissions. and financial assistance under a policy which called for the consideration or an
          applicant for admission's sexual orientation, gender identity (including but not limited to
          transgendered status), marital status, past and present practices regarding marriage, pregnancy,
          abortion, and sex outside marriage[; ... from] subjecting students to rules of behavior, sanctions.
          or other treatment because of these student characteristics[; or from] making all employment
          decisions ... in a manner which takes into consideration these employee characteristics.'·

          You state that, for these reasons, the College is requesting an exemption from the following
          regulatory provisions "to the extent the regulation would require the institution to treat marriage,
          sex outside of marriage, homosexuality, pregnancy, abortion. and gender identity in a manner
          that is inconsistent with the religious tenets of the Convention:"

              •   34 C.F. R. § 106.21 (governing admission);
              0  34 C.F.R. § I 06.22 (governing preferences in admission);
               • 34 C.F.R. § l 06.23 (governing recruitment of students);
              o 34 C.f.R. § 106.3 l(b)(4) (governing different rules of behavior or sanctions);
              • 34 C.F.R. § I 06.31 (b)(7) (governing the limitation of rights, privileges, advantages, or
                 opportunities);
              • 34 C.F.R. § 106.32 (governing housing);
              • 34 C.F.R. § I 06.33 (governing comparable facilities such as restrooms and locker
                 rooms);
              • 34 C.F.R. § I 06.37 (governing financial assistance);
              o  34 C. F.R. § I 06.40 (governing different rules based on marital or parental status of
                 students);
              • 34 C.F.R. § 106.41 (governing athletics);
              • 34 C.F.R. § I 06.51 (governing employment);
              • 34 C.F.R. § I 06.52 (governing employment criteria);
              o 34 C.F.R. § I 06.53 (governing recruitment of employees):
              • 34 C.F.R. § I 06.57 (governing the consideration of marital or parenlal status in
                 employment decisions); and
              • 34 C.F.R. § l 06.60 (governing pre-employment inquiries).

          The College is exempt from these provisions to the extent that they prohibit discrimination on
          the basis of marital status, sex outside of marriage, sexual orientation, pregnancy, abortion, and
          gender identity and compliance would conflict with the controlling organization's religious
          tenets.




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   EXHIBIT A                                                                        70 AT RISK
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           Dr. Lee Royce - page 3


           Please note that this letter should not be construed to grant exemption from the requirements of
           Title IX and the regulation other than as stated above. In the event that OCR receives a
           complaint against your institution, we arc obligated to detennine initially whether the allegations
           fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
           that the practices followed by the institution are not based on the religious tenets of the
           controlling organization, OCR is obligated to contact the controlling organization to verify those
           tenets. If the organization provides an interpretation of tenets that has a different practical
           impact than that described by the institution, or if the organization denies that it controls the
           institution, this exemption will be rescinded.

           I hope this letter responds fully to your request. If you have any questions, please do not hesitate
           to contact me.

                                                                 Sincerely,

                                                                 (1~
                                                                 Catherine E. Lhamon
                                                                 Assistant Secretary for Civil Rights
                                                                 U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                            71   69
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                                           UNITED STATES DEPARTMENT OF EDUCATION
                                                                 OFrlCF FOR CIVIL RICI ITS
                                                                                                                 Tl fl' 1\SSISTi\'.\T SECRETARY



          May 4, 2015

          Randall J. Pannell
          Acting CEO and Vice President of Academic Affairs
          North Greenville University
          P.O. Box 1892
          Tigervillc, SC 29688

          Dear Mr. Pannell:

          I write to respond to your February 9, 20 I 5, letter to the U.S. Department of Education, Office for Civil
          Rights (OCR), in which you requested a religious exemption for North Greenville University (University)
          of Tigcrville, South Carolina, from Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. §
          I 68 I. Title IX prohibits discrimination on the basis of sex in any education program or activity operated
          by a recipient of Federal financial assistance.

          The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX docs not apply to an
          educational institution control!ed by a religious organization to the extent that application of Title IX
          would be inconsistent with the controlling organization's religious tenets. Therefore, such educational
          institutions are allowed to request an exemption from Title IX by identifying the provisions of Title IX
          that conflict with a specific tenet of the religious organization. The request must identify the religious
          organization that controls the educational institution and specify the tenets of that organization and the
          provisions of the law or regulation that conflict with those tenets.

         Your request explained that the University is "governed and controlled by its Board of Trustees, which
         consists of twenty-five members who are elected by the South Carolina Baptist Convention." Your letter
         enclosed a copy of the University's Amended and Restated Articles of Incorporation, which also states
         that the University's trustees "shall be appointed by the South Carolina Baptist Convention." (Section 9).
         You also attach the University's 2014-2015 Catalogue, which states that the University is "(a]ffiliated
         with and committed to the South Carolina Baptist Convention" and that an "education at North Greenville
         University is regarded as preparation for effective Christian service and witness. The Bible, as the
         inspired and infallible Word of God, is the solid foundation of the curriculum and the basis of the
         philosophy of education and of life."

         Your letter requests a religious exemption from certain provisions of Title IX where compliance "would
         be inconsistent with the deeply held religious beliefs and practices of the South Carolina Baptist
         Convention and North Greenville University." In support of this request, you cite to the Southern Baptist
         Convention's statement of faith, The Baptist Faith and Message 2000, passages from the University's
         Student and Employee Handbooks, and the Bible. According to your letter, the statement of faith explains
         that the tenets of the Convention provide that ';Christians should oppose ... all forms of sexual
         immorality, including adultery, homosexuality, and pornography'' and "speak on behalf of the unborn and
         contend for the sanctity of all human life from conception until natural death." You also cite the Southern
         Baptist Convention's statement on transgender identity, which according to your letter "affirm[s] God's
         good design that gender identity is determined by biological sex and not by one's self-perception." In
         further support of the request for exemption related to human sexuality, you state that "the teachings of
         the Bible and the beliefs of the Baptist Church, both of which are follov.-·edby the University, are that God
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70											
   EXHIBIT A                                                                        72 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
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           Randall J. Pannell- page 2


           created two sexes, male and female; that marriage is between one man and one woman; and that
           extramarital sex, premarital sex, and the practice of homosexuality are sinful behaviors, and are therefore
           prohibited."

          You state that, for these reasons, the University is requesting an exemption from the following regulatory
          provisions to the extent that they would require the University to act in a manner that is inconsistent with
          the Convention's religious tenets:

               •   34 C.F .R. § I 06.21 (b )(iii) (governing different treatment on the basis of sex in admission);
               •   34 C.F.R. § !06.2l(c) (governing the consideration of marital or parental status in admission);
               •   34 C.F.R. § 106.3 l(b)(4) (governing the use of different rules of behavior or sanctions based on
                   sex);
               •   34 C.F.R. § 106.32 (governing housing);
               •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker rooms);
               •   34 C.F.R. § I 06.40 (governing the use of different rules based on marital or parental status of
                   students);
               •   34 C.F .R. § I 06.4 I (governing athletics);
               •   34 C.F.R. § 106.5 l (a) (governing emplo)'Tilent);
               •   34 C.F.R. § 106.51(6)(6) (governing leaves of absence from employment for pregnancy,
                   childbirth, false pregnancy, and termination of pregnancy); and
               •   34 C.F.R. § I 06.57 (governing the consideration of marital or parental status in employment
                   decisions).

          The University is exempt from these provisions to the extent that compliance would conflict with the
          controlling organization's religious tenets.

          Please note that this letter should not be construed to grant exemption from the requirements of Title IX
          and the regulation other than as stated above. In the event that OCR receives a complaint against your
          institution, we are obligated to detcnnine initia!ly whether the allegations fall within the exemption here
          granted. Also, in the unlikely event that a complainant alleges that the practices followed by the
          institution are not based on the religious tenets of the controlling organization, OCR is obligated to
          contact the controlling organization to verify those tenets. Ifthc organization provides an interpretation of
          tenets that has a different practical impact than that described by the institution, or if the organization
          denies that it controls the institution, this exemption will be rescinded.

          I hope this letter responds fully to your request. If you have any questions, please do not hesitate to
          contact me.

          Sincerely,




          Catherine E. Lhamon
          Assistant Secretary for Civil Rights
          U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                                                                                                                         THE !\SSISL\i':T                SCCiffT.-\ RY



          August 18, 2014

          Dr. Da,., id Alexander
          President
          Northv..:cst Nazarene University
          623 S. l;nivcrsity Boulevard
          Nampa, ldahu 83686

          Dear Dr. Alexander:

          The purpose of this letter is to respond to your July 29.2014, letter to the U.S. Department of
          Education. Office for Civil Rights (OCR). in \Vhich you requested a religious exemption for
          J\:orthwest Nazarene University (University) of Nampa, Idaho from Title IX of the Education
          Amrndments of 1972 (Title !X), 20 U.S.C. § 1681. Title IX prohibits discrimination on the
          basis of sex in any education program or activity operated by a recipient of' federal financial
          assistance.

          The implementing ,·egulation at 34 C.F.R. § I 06.12 provides that Title IX docs not apply to
          an educational institution controlled by a religious organization to the extent that application
          ur Title IX vmu!d be inconsistent ,vith the controlling organization's     religious tenets.
          1l1ereforc, such educational institutions arc al lowed to request an exemption from Title IX by
          identifying the pro,·isions of Title IX that conflict with a specific tenet of the rdigious
          organization.  The request must identify the religious organization that controls the
          educational institution and specify the tenets of that organization and the provisions       the                                                                 or
          law and/or regulation that conllict with those tenets.

          Your request explained that the University "is grounded in the Wesleyan-Holiness tradition, and
          is an educational expression of the Northwest region of the Church           the l\azarcne.·· The letter             or
          explains that the school is ··assigned by the Church of the Nazarene to serve seven districts of the
          denorr..ination"' and :hat its "Roard of Trustees is elected from the members of the sevt:n
          districts.'· Your letter states that the University· s Amended and Restated Articles of
          Incorporation require all members of the Univcrsity"s Board of Trustees to be members of the
          Church of'-lazarcnc and that half of the Board members must be clergy. Your letter further
          1::xp!ains that the University" s •·faculty and stall arc required to profess faith and arc prohibi1cJ
          from professing views not in hannony with the Artides of :-aith of the Church             the ~az:arcnc.''                                       or
          In addition. students arc expected to maintain a lifestyle that is consistent with the directives and
          guidc1incs cstablish~d by the General Assemblies of the Church and published in the Church of
          Nazarene Manual.

          You .state that the University and the Church ofNazarenc·s    belie[ based on biblical
          interpretation. is th.it human beings arc created male and female, and that the University

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   EXHIBIT A                                                                        74 AT RISK
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            Dr. D.ivid Alexander -- rage 2


            "reject[s] all attempts at construing sexuality or sexual identity by medically altering the human
            body ... or ... pradcing behaviors characteristic of the opposite sex as morally objectionable
            and sinfut.·· Yot1 reier to the Church ofNazarcne·s Manual as evidence of the Church's belief
            that homosexuality is a sin. Additionally, because the Manual states that the Church is opposed
            to abortion. the University also opposes the "intentional termination of a pregnancy absent a very
            few compelling circumstances ...

           Your exemption request points to a recent OCR resolution agreement in which a school district
           agreed to allow a transgender male student to use the restroom. locker room, and living facilities
           consistent with the studenfs gender identity, and to play on boys' athletic teams. You explain
           that the Uni·versity '\vould not he able to makt.: similar accommodations consistent with [its]
           religious beliefs and convictions." You further state that. for these reasons, the University is
           requesting an exemption from the following regulatory provisions to the extent that they prohibit
           discrimination based on gender identity: 34 C.F.R. §§ I 06.3 I (6)(4) (governing different mies of
           behavior or sanctions): 106.32 (goveming housing). 106.33 (governing comparable facilities
           such as restrooms and locker rooms), and 106.41 (governing athletics). The University is
           exempt from these provisions to the extent that they require a recipient to treat students
           consistent with their gender identity. but doing so would conflict with the controlling
           organization· s religious tenets.

           Your request al.so seeks a ·'religious exemption from any regulation prohibiting discrimination
           against a student on account oftcnnination of pregnancy.'· \Ve interpret that as a request for
           exemption from 34 C.F.R. § 106.40(b). The University is exempt from this provision to the
           extent that compliance would conflict with the controlling organization·s religious tenets.

           Please note that this letter should not be construed to grant exemption from the requirements of
           Title IX and the regulation other than as stated above. In the event that OCR receives a
           c0mplaint against your institution. we are obligated to detennine initially whether the allegations
           fall within the exemption here granted. Also. in the unlikely event that a complainant alleges that
           the practices followed by the institution are not based on the religious tenets of the controlling
           organization, OCR is obligated to contact the controlling organization to verify those tenets. If
           the organization provides an interpretation of tenets that has a different practical impact than that
           described by the institution, or if the organization denies that it controls the institution, this
           exemption will be rescinded.

           I hope this letter responds folly to your request. !f you have any questions, please do not hesitate
           to contact me.

            Sincerely.




           Catherine E. Lhamon
           Assistant Secretary for Civil Rights
           U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                                       U'iITED STXJTS DFPARTvlANT OF EDUCATION


                                                                                                                                          THE A.SSISTA~rc SFCRI. TARY


           December           16. 2014

           Davr<lWesley Whillock
           President
           Ok!ahonia Baptist University
           500 West Univcrsily
           OBU Bo:\ 61241
           Shawnee. OK 74804

           Dear President Whitlock:

           The purpose of this letter is to respond to your November 24, 2014, letter to tile U.S. Department of
           Education, Office for Civil Rights (OCR), in which you requested a religious exemption for Oklahoma
           Baptist University (University) of Shawnee, Oklahoma from Title IX of the Education Amendments of
           1972 {Title IX}. 20 U.S.C. § !681. Title IX prohibits discrimination on the basis ofs<:,x in any education
           program or activity operated by a recipient of Federal financial assistance.

           The im plcmenting regulation at 34 C.F .R. § I 06.12 provides that Title JX docs not apply to an
           educational institution controlled by a religious organization to the extent that application of Title IX
           would be inconsistent with the conrrolling organization's        religious tenets. Therefore, such educational
           institutions are al lowed to request an exemption from Title IX hy identifying the provisions of Title IX
           that conf1rct with a specific tenet of the religious organization. The request must identil),·the religious
           ,,rganization that controls the educational institution and specify the tenets of that organization an<l the
           provisions of the law and/or regulation that con£1ict with those tenets.

           Your request explained that the University "is a Southern Baptist institution of higher education'' and
           stated that it 1s controlled by the Baptist General Convention of the State of Oklahoma. Your letter
           enclosed a copy of the University·s charter. which states that the university's purpose is "to encourage.
           support. provide, and maintain Christian education and to engage in Christian undertakings which are in
           keeping with the purpose ,,fthc Baptist General Convention of the State of Oklahoma.'' You also
           enclosed a copy oft!ic Univcrsity·s bylaws, which state that the "Board of Trustees of the University shall
           consist ofthi11y Trustees who shall be electeJ by the Baptist General Convt:ntion of the State of
           Oklahoma." (Article II. Section I.) The bylaws further state that the "President of the University must be
           an active member ofa church affiliated with The Baptist General Convemion of the State of Oklahoma."
           (Article V. Section 2.)

          Your letter rcqucsrs a religious e~emption from the provisions of Title IX that '·would not be consistent
          with the Convcntion·s religious tent:ts regarding marriage. sex outside of marriage, sexual orientation.
          gender identity. pregnancy. and abortion:· In support of this request, you cite to The Baptist Faith and
          Message 2000. the most recent statement of faith adopted by the Convention. According to your letter.
          1l1atstatement of faith explains that the tenets of the Convention are that marriage is between one man and
          one woman and serves as the means for procreation. that God made man in male and female form, and
          that the ·•gift of gender is thu~ prn'lof the goodness of God's creation:· You further cite the Convenlion·s
          hclicfthat one should ·'speak on hehalfofthc 1111hornand contend for the sanctity of all human life from
          concept ion to natura I death:·


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   EXHIBIT A                                                                        76 AT RISK
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            David \Veslt:y Whitlock -- page 2


            You state that, for these reasons, the University is requesting an exemption from the following regulatory
            provisions to the extent that they prohibit discrimination based on marital status, sex outside of marriage.
            sexual orientation. gender identity, pregnancy, or abo11ion:

                 •   34C.f.R.§     106.21 (governingadmissi{m);
                 •   34 C.F.R. § 106.23 (governing recruitment of students);
                 •   34 C.F.R. § I 06.J I (b)(4) (governing different rules of behavior or sanctions);
                 •   34 C.F.R. § I 06.31 (b)(7) (governing the limitation of rights, privileges. advantages. or
                     opportunities):
                 •   34 C.F.R. § 106.32 (governing housing);
                 0   34 C. F.R. § l 06.33 (governing comparable foci!itics such as restrooms and locker rooms);
                 •   34 C.F.R. § l 06.40 (governing. different rules based on marital or parental status of students):
                 ~   34 C.F.R. § 106.41(governing athletics);
                 •               *
                     34 C.F.R. 106.51 (governing employment):
                •    34 C.F.R. § I 06.52 (governing employment criteria);
                •    34 C.F.R. ~ I 06.53 (governing rccniitment of employees);
                •    34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment
                     decisions): and
                •    34 C. F .R. § l 06.60 (governing pre-employment inquiries).

            The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
            of marital status. sex outside of marriage, sexual orientation, gender identity, pregnancy, or abortion and
            compliance would conflict with the controlling organization's religious tenets.

            Please note that this letter should not be construed to grant exemption from the requirements of Title IX
            and the regulation other than a~ stated above. In the event that OCR receives a comph1int against your
            institution, we are obligated to determine initially whether the allegations fall within the exemption here
            granted. Also. in the unlikely event that a complainant alleges that the practices followed by the
            institution arc not based on the religious tenets of the controlling organization. OCR is obligated to
            contac.:tthe controlling organization to verify those tenets, If the organization provides an int<:rprctation
            of tenets that has a different practical impact than that described by the institution, l>rif the organization
            denies that it controls the institution. this exemption will be rescinded.

            1 hope this letter responds fully to your request. If you have any questions, please do not hesitate to
           contact me.

            Sincerely,




           Catherine E. Lhamon
           Assistant Secretary for Civil Rights
           U.S. Department of Educatit)n




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                                         OCT2 2 2014

          Jchn deSteiguer
          President
          Oklahoma Christian Cniversity
          2501 E. Memorial Road
          Edmond, OK 73013

          The purpose of this letter is to respond to your September 5, 2014, letter to the U.S.
          Department of Education. Office for Civil Rights (OCR), in which you requested a religious
          exemption for Oklahoma Christian University (the Cnivcrsity)ofEdmond. Oklahoma from
          Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. § 1681. Title IX
          prohibits discrimination on the basis of sex in any education program or activity operated by a
          recipient of Federal financial assistance.

          Title IX and its implementing regulation at 34 C .F.R. § 106.12 provide that Title IX does not
          apply to educational institutions controlled by religious organizations to the extent that
          application of Title IX would be inconsistent with the organization's religious tenets.
          Therefore, such educational institutions are allowed to request an exemption from Title IX by
          identifying the provisions of Title IX that conflict with a specific tenet of the religious
          o:-ganization. The request must identify the religious organintion that controls the
          educational institution and specify the tenets of that organization and the provisions of the
          !av.· and/or regulation that conflict with those tenets.

          Your request explains that the University is controlled by the Churches of Christ and that its
          ·•mission is to transform lives for Christian faith, scholarship and service." You state that each
          full•timc faculty member must be a member in good standing of the Churches of Christ, and that
          inactive or token membership in the church is grounds for dismissal. Additionally, your letter
          references a requirement in the University's Articles of Incorporation that each member of the
          University's Board of Trustees must be ·'an active. faithful member. in good standing, of a local
          cCJngregationof the Church of Christ."

          Among the religious tenets followed by the t:niversity and its controlling organization (the
          Churches of Christ) is that ··gender identity is given by God and is revealed in one"s birth sex:·
          You also state that the University, in compliance v-.iththe religious tenets of its controlling
          organil'.ation. adheres to the belief that "all sexual relations outside of a heterosexual marriage
          covenant arc sin:· Your letter cites to several Biblical passages in support of these tenets.

          Based on these tenets. your letter seeks an exemption from Title IX and the following provisions
          of its implementing regulation to the extent that they prohibit discrimination on the basis of
          gender identity or sexual orientation:




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            President John deStcigucr - page 2



                •    34 C.F.R. § 106.21 (governing admissions):
                •   34 C.F.R. § I 06.23 (governing recruitment):
                •   34 C.F.R. § I 06.31 (governing education programs or activities):
                •   34 C.F.R. § 106.32 (governing housing);
                •   34 C.F.R. § I 06.3 3 (governing comparable facilities such as restrooms and locker
                    rooms);
               •    34 C.F.R. § 106.34 (governing access to classes and schools);
               •    34 C.F.R. § 106.37 (governing financial assistance);
               •    34 C.F.R. § I 06.38 (governing employment assistance to students):
               •    34 C.F.R. § I 06.39 (governing health insurance benefits and services);
               •    34 C.F.R. § 106.41 (governing athletics);
               •    34 C.F.R. § 106.51 (governing employment):
               •    34 C.F.R. § I 06.53 (governing recruitment and hiring of employees);
               •    34 C.F.R. § I 06.55 (governing job classification and structure);
               •    34 C.F.R. § 106.57 (governing the consideration of marital or parental status in
                    employment actions); and
               •    34 C.F.R. § 106.60 (governing pre-employment inquiries).

           The University is exempt from these provisions to the extent that they prohibit discrimination
           based on gender identity or sexual orientation or require a recipient to treat students consistent
           wi:h their gender identity. but doing so would conflict with the controlling organization's
           religious tenets.

           Please note that this letter should not be construed to grant exemption from the requirements of
           Title IX and its implementing regulation other than as stated above. ln the event that OCR
           receives a complaint against your institution, we are obligated to determine initially whether the
           allegations fall within the exemption here granted. Also. in the unlikely event that a complainant
           alleges that the practices followed by the institution are not based on the religious tenets of the
           controlling organi?.ation, OCR is obligated to contact the controlling organization to verify those
           tenets. If the organi7..ation provides an interpretation of tenets that has a different practical
           impact than that described by the institution. or if the organization denies that it controls the
           institution, this exemption will be rescinded.

          I hope this letter responds fully to your request. Ir you have any questions. please do not hesitate
          to contact me.

                                                                 Sincerely,




                                                                 Catherine E. Lhamon
                                                                 Assistant Secretary for Civil Rights
                                                                 U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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           December 22. 201,1

           Everett Piper
           President
           Oklahoma Wesleyan University
           2201 Silver Lake Road
           Bartlesville. OK 74006

           Dear President Piper:

           The purpose of this letkr is to respond to your November 14, 2014. letter to the U.S. Department of
           Education, Office for Civil Rights (OCR). in which you requested a religious exemption for Oklahoma
           Wesleyan Un ivcrsity (University) of Rartlcsv illc. Oklahoma from Title IX of the Education Amendments
           of 1972 (Title IX), 20 U.S.C. § 1681. Title IX prohibit:; discrimination on the basis of sex in any
           education program or activity operated by a recipient of Federal financial assistance.

           The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX docs not apply to an
           educational institution controlled by a religious organization lo the extent that application of Title IX
           would be inconsistent with the controlling organization· s religiou~ tenets. Therefore, such educational
           institution, are allowedto requestan exemptionfrom Tith: IX by identifying the provisions of Title IX
           that conflict with a specific tenet of the religious organization. The request must identify the religious
           organization that eontrols the educational institution and specify the tenets of that organization and the
           provisions of the law and!or regulation that conflict with those lcncts.

           Your request explained that the University "was founded by The Wesleyan Church to provide higher
           education within a Christian environment for Wesleyan youth. and is owned and operated by The
           Wesleyan Church to this day."'

           Your letter requests a religious exemption from the provisions of Title IX that would "curtail the
           University's freedom to respond to transgcndtT individuals in accordance with its religious convictions
           and those ofThc Wesleyan Church·, Tnsupport of this request, you cite to The Wesleyan Church
           statement entitled "A Wesleyan View of Gender Identity and Expression.'' According to your letter. the
           statement sets forth The \Vesleyan Church's tenets related to gender identity, specifically that "[g]endcr
           differentiation is sacred." Your exemption request points to a recent OCR resolution agreement in which
           a school district agreed to allow a transgender male student to use the restroom, locker room. and living
           facilttics consistent with the student's gender identity, and to play on boys' athletic teams. You explain
           1hat, to the extent that this agreement indicates that Title IX prohibits discrimination on the basis of
           gender identity, compliance ''would be inconsistent ,vith the religious tenets of[thc University] and The
           Wesleyan Church."

           Your letter also requests an exemption from the Title IX provisions n:latcd to abortion. Jn suppor1of this
           request, you cite to The Wesleyan Church's statement on ''Sanctity                             or
                                                                                  Life." You explain that the
           University has adopted a '·Statement on Human Life" thal prohibits "all members of the [University]
           community from promoting or participating in any act of. or related to, aborting a child ·whether ;;u-;h a
           child is pre-birth or post-birth.''

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   EXHIBIT A                                                                        80 AT RISK
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            Everett Piper -- page 2


            You state that, for these reasons, the University is requesting an exe111ptionfrom the following regulatory
            provisions to the extent that they prol1ibit discrimination based on gender identity or abortion:

                 •      34 C_F_R. § 106. 2 l (governing admission);
                 •      34 C.F. R. § 106.22 (governing prcforcnce in admission):
                 •      34 C.F.R. § 106.23 (governing recruitment of students);
                 a      34 C.F.R. § l 06.3 l (governing sex discrimination in education programs or activities);
                 •      34 C. F .R. § I 06.32 (governing housing):
                 •      34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker rooms):
                 ,.     34 C.F.R. § I 06.34 (governing access to classes and schools);
                .,      34 C.F.R. § I 06.36 (governing counseling):
                .,      34 C.F.R. § 106.37 (governing financial assistance);
                o       34 C:.F.R. § I06.38 (governing employn1ent assistance to students);
                "       J4 C.F.R. § 106.39 (governing health and insurance benefits and services):
                0
                        34 C.F.R. § I 06.40 (governing different rules hased on marital or parental status of students):
                .,      34 C.F.R. § I 06.4 I (governing athletics);
                "       34 C.F.R. § I 06.43 (governing standards fur measuring skill or progress in physical education
                        classes): and
                •       34 C.F.R. § 106.51-61 (governing employment).

            The lJniversity is exempt from these provisions to the extent that they prohibit discrimination on the basis
            of gender identity or abortion and compliance would conflict with the controlling organization's religious
            tenet<;.

            Please note that this letter should not be construed to grant exemption from the requirements of Tille IX
            and the regulation other than as stated above. In the event that OCR receives a complaint against your
            institution. ,ve are obligated to determine initially whether the allegations fall within the exemption here
            granted. Also, in the unlikely event that a complainant alleges that the practices followed by the
            institution arc not based on the religious tenets oflhe controlling organization, OCR is obligated to
            contact the controlling organization to verity those tenets. Jfthc organization provides an interpretation
            of tenets that has a different practical impact than that des.crihed by the institution. or if the organization
            denies that it controls the institution, this ex.emption will be rescinded.

            ! hope this letter responds fully to your request. Ir you have any questions, please do not hesitate to
            contact me.

            Sincerely.




            Catherine     E. Lhamon
            Assistant Secretaryfor Civil Rights
            U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                        UNITED STAH:S Dl:PARTM;\NT OF EDUCATION
                                                                OFFICI: FOlt CIVIL Rl(i!ITS

                                                                                                                         Tl IE ,\SSIST,\;-,/T SECIU:TAl<Y


                                                                        May 23, 2014


             Robin Keith Dummer, Ed.D.
             Interim President
             Simpson University
             221 l University View Drive
             Rcdding, California 96003


             Dear Dr. Dummcr:

             The purpose of this letter is to respond to your letter to the U.S. Deparlment of
             Education, Office for Civil Rights (OCR), in which you requested a religious
             exemption     for Simpson University (University) of Redding, California from Title IX
             of the Education /\mcndmcnts of 1972 Uitlc IX), 20 U.S.C. § l(i81. Title IX
             prohibits discrimination on the basis of ~e:---in any education progrnm or activity
             operated by a recipient or f-edcrnl finnneial assistnncc.

             The impkmenting      regulation .it 34 C.FJC ~ I 06.12 provides that Tit Ii.: IX docs not
             apply to educational institutions controlled by religious organizations lo the cxl<.:nt
             application of Title IX would be inconsistent with the institution's religious tenets.
             ·n1ernl'ore, ~uch educational institutions .1re allom:<l to n:qucst an c.x.cmption from
             Title IX hy identifying the provisions ol'Titlc IX that conflict with a specific tenet or
             the religious organization. The request must identify the religious organi,11tion that
             controls tile educational institution and specify the tenets of that organization and the
             provisions of the law and/or regulation that eonflict.

             Your request explained that the University, which is owned by and affiliated with the
             Christian and Missionary Alliance denomination, is a Christ-centered learning
             community and that its identity as a Christian institution is central lo all its programs.
             You stale that the University's hihlical bclids allow only for hcteroscxu.d, biologically
             (ktcrmined male and kmale identitics and thm the University rcjcds uny attempt hy an
             individual to change his or her gender identity as immoral and sin fol.

             You supplied information explaining that any individual wh,1 violates campus standards
             regarding gcn<kr identity would be subject to discipline, including expulsion. Your
             exemption request points to a recent OCR resolution agreement in which a school district
             agreed to allow a transgcnder male student to use the restroom, locker room, and living
             facilities consistent with the student's gcndcr identity, and to play on boys' athletic
             to:ams. You explain that the.;University "would not be able to make similar


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   EXHIBIT A                                                                        82 AT RISK
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               Dr. Robin Keith Dummer, Simpson U11i\'crsity
               May 23, 2014
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               accommo<lations t:,lllsistent with [your] religious bclids." You further state that, for
               lhcse reasons. the University is requesting an exemption from Title IX and its
               implementing n.:gulation to the extent that they prohibit discrimination bascd on gender
               identity. \Ve interpret these statements as a request for exemption from provisions
               34 C.F.R. §§ I 06.3 I (b )( 4) (governing different rules orbehavior or sanctions), I 06.32
               (governing housing), I 06.33 (governing comparable fociIities such as restrooms .ind
               locker rooms), and I 06.41 (governing athletics). The University is exempt from these
               provisions to tbc extent that they require a rcc.:ipicnt to treat students consistent with their
               gender identity, but doing so would conflict with the controlling organization's religillus
               tenets.

              Please note that this letter should not be c.:onstrucd to grant exemption from the
              requirements of Title IX and the regulation other than as stated above. In the event tlwt
              OCR receives a complaint against your institution. we .ire obligated to determine initially
              whether the allegations foll within the exemption here granted. Also, in the unlikely event
              that a complainant alleges that the practices followed by the institution arc not based on
              the religious tenets of the controlling organi;,:ation, OCR is obligated to rnntact the
              controlling organization lo verify those tenets. If the organization provides ,m
              interpretation of tenets that has a different practical imp,11.:tthan th,1t described by th1,;
              institution, or i r the organization denies thut it controls the institution, this exemption will
              ht.:rescinded.

               ! hope this letter responds fully I<>your request.   I rcgrc1 the dday in responding   to your
              original request.   tryou have any qucslions, please do not hesitate to 1,;ontaetme.
                                                               Sincerely,



                                                               Catherine E. Lhamon
                                                               Assistant Secretary for Civil Rights
                                                               Office for Civil Rights
                                                               U.S. Dcparlrncnt of Edw.:ution




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                            83   81
              Case 6:21-cv-00474-AA                               Document 59-1                               Filed 08/11/21                          Page 84 of 112




                                               UNlTEf) STATES Dfi-'/\RPviJ--:NT OF EDUCATJO;\;




           'vla~ch 24. 201 5

          Todd S. Voss
          President
          Southern Wesleyan University
          907 \,Veslcyan Drive
          P.O. Box 1020
          Central_ South Carolina 29630

          Dear President Voss:

          The purpose of this letter is to respond to your January 20. 2015. letter to the U.S. Department of
          Education, Office for Civil Rights (OCR), in which you requested a religious exemption from Title IX of
          the l:ducati,m Amendments of l 972 (Title IX), 20 L .S.C. 168 L for Southern Wesleyan Ln ivcrsit~*
          (L'niversity) of Central, South Carolina. Title IX prohibits discrimination on the basis of sex in an)
          ~ducation program or activity operated by a recipient of Federal financial assistance.

          The impicmenting regulation at 34 C.F.R. § I06. l 2 provides that Title IX does not apply to an
          educational institution controlled by a religious organization to the extent that application of Title IX
          would be ir.consistentwith the controlling organization·s religious tenets. Therefore, such educa·_ional
          institutions are allowed to request an exemption from Title IX by identifying the provisions of Title rx
          that conflict with a specific tenet of the religious organization. The request must identify the religious
          0rga!'lization that controls the educational institution and specify the tenets of that organization and the
          provisions of the law and/or regu!ation that conflict with those tenets.

          Your request explained that the Lniversity "was founded by The Wesleyan Church to provide higher
          education within a Christian environment for Wesleyan youth, and is owned and operated by The
          Wesleyan Church to this day." Your letter references the University·s website that states that the
          University ..is a sponsored higher education institution of The Wesleyan Church_,., Your letter also
          references the website of The Weslevan Church where the lJniversitv is listed as one of five Wcslenn
          inst!tutions in the United States and ('anada.~                      •                             ·

          Your ictter requests a religious exemption from provisions of Title !X that would "'cunail the Lnivcrsity"s
          freedom to respond to transgcnder individuals in accordance with its religious convic1ions and those 1)f
          The Wesleyan Church.-· In support of this request. you cite to The Wesleyan Church's statcrr.cnt em;tlcd
          "'A Wesleyan View of Gender Identity and Expression:- According to your letter. the statement set~ forth
          The Wesleyan Chun:h's tenets related to gender identity. specifically that "[g]e11dcrdiffcrer11iatk1nis
          ~acred_·· Your exemption request points to a recent OCR resolution agreement in ,vhich a ~d10ol di~trict
          agree<l to allow a trnnsgender male student to use the restroom. locker rollm, and living facilities
          consistent with the student's gender identity. and to play on boys- athletic kams. You explain that. ;o the
          extent that th;s agreement indicates that Title IX prohibits discrimination on the basisof gender identity.
          compliance --would be inconsistent ·with the religious tenets of[thc University! and The \Vesleyan
          Church:·

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            SouthernWesleyan University.http://www.swu.edu about-sww
          : The Wesleyan Church. Wesleyan Collegesand Univcrsitic,. http: \vww.wesleyan.org/collcgc



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   EXHIBIT A                                                                        84 AT RISK
             HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
             Case 6:21-cv-00474-AA                Document 59-1             Filed 08/11/21         Page 85 of 112



            Todd S Voss - page 2



            Your letter also requests an exemption from the Title IX provisions related to abortion. In support of this
            request. you cite to The Wesleyan Church's statement on ·'Sanctity of Life." You explain that the
            Un:vcrsity has adopted a ''Statement on Human Life .. that '"prohibit[s] all members of the fl;niversitv]
            community from promoting or participating in an_yact of, or related to, abrn1ing a child whether such a
            child is pre-birth or post-birth."

            You state that, for these reasons,the University i!'.requestingan exemptionfrom the followingregulatory
            provisions to the extent that they prohibit discrimination   based on gender identity or abortion;

               •    34 C.F.R. § 106.21 (governing admission):
               •    34 C.l".R. § 106.22 (governing preference in admission):
               •    34 C.F.R. § 106.23 (governing recruitment of students):
               •    34 C.F.R. § 106.31 (governing sex discrimination in education programs and activitie5):
               •    34 C.F.R. § 106.32 (governing housing):
               •    34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker rooms):
               •    34 C.F.R. § 106.34 (governing access to classes and schools):
               •    34 C. F.R. § I06.36 (governing counseling):
               •    34 C.F.R. § 106.37 (governing financial assistance):
               •    34 C.F.R. § 106.38 (governing employment assistance to students);
               •    34 C.F.R. § 106.39 (governing health and insurance benefits and services):
               •    34 C.F.R. ~ I 06.40 (governing different rules based on marital or parental status of students):
               •    34 C.F.R. § I 06.41 (governing athletics):
               •    34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical education
                    classes): and
               •    34 C.F.R. § 106.51-61 (governing employment).

           The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
           of gender identity or abortion and compliance v.ould conflict with the controlling organization ·s religious
           tenets.

           Please note that th is letter should not be construed to grant exemption from the requirements of Title IX
           and the regulation other than as stated above. In the event that OCR receives a complaint against your
           institution, we are obligated to determine initially whether the allegations fall within the exemption here
           granted. Also. in the unlikely event that a complainant alleges that the practices followed by the
           i,1stitution are not based on the religious tenets of the controlling organization, OCR is obligated to
           contact the controlling organization to verify those tenets. If the organization provides an interprctat,on
           of tenets that has a different practical impact than that described by the institution. or if the organizat on
           denies that it controls the institution. this exemption will be rescinded.

           I hope this letter responds fully to your request. If )tlu have any questions. please do not hesitate to
           contact me.

           Sincerely.




           Catherine E. Lhamon
           Assistant Secretary for Civil Rights
           U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                                      85   83
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                                               UNITED STATES DEPART:v!E'<T OF EDUC/I.TIO!\'




         July 29. 2015

         C. Pat Taylor
         President
         Southwest Baptist University
         1600 Lnivcrsity Ave.
         Bolivar. \10 65613

         Dear President Taylor:

         I write to respond to your July 8, 2015, letter to the l;. S. Department of Education. Office for
         Civil Rights (OCR), in which you requested a religious exemption for Southwest Baptist
         L'ni,ersity (University) of Bolivar, Missouri from Title IX of the Education Amendments of
         1972 (Title IX). 20 C.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any
         cducatio:1 program or activity operated by a recipient of Federal financial assistance.

         The imP:ementing regulation at 34 C.F.R. § 106.12 provides that Title IX does not apply to an
         educatio::ial institution controlled by a religious organization to the extent that application of
         Title iX would be inconsistent with the controlling organization's religious tenets. Therefore,
         such educational institutions are allowed to request an exemption from Title IX by identifying
         the provisions of Title IX that conflict with a specific tenet of the reiigious organization. The
         request □ust identify the religious organization that controls the educational institution and
         specify the tenets of that organization and the provisions of the law or regulation that confl:ct
         wi~!1those tenets.

         Your request explained that the Cniversity. ··a Southern Baptist institution of higher education:·
         ••is controlled by the Missouri Baptist Convention ... whose constituency is the cooperating
         Baptist churches of Missouri." Your letter states that ··[p ]ursuant to the University· s Charter. the
         Missouri Baptist Convention controls the University in part by exercising its right to elect the
         entire membership of the board of directors of the L:niversity. the governing body of the
         Lnivcrsity.'"

         Your le:tcr requests a religious exemption from ,he provisions of Tille IX "to the extent
         application of those provisions would not be consistent with the Convention· s religious tenets
         rcgard1ng marriage. sex outside of marriage. sexual orientation. and gender identity.·· f n support
         of this request you cite to The Baptist Faith and Message 2000. the most recent statement of
         faith adopted by the Convention. According to your letter. that statement of faith explains ,hat
         the tenets of the Convention arc that marriage is between one man and one woman and scr,cs as
         the means for procreation, that God made people in male and female form, and that the ·•gift uf
         gender is thus part of the goodness of God's creation:·



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   EXHIBIT A                                                                        86 AT RISK
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           C. Pat Taylor -- page 2



           You explain that it would not be consistent with the Convention's religious tenets for the
           University to comply with Title IX to the extent that it prohibits the University from ·'engaging
           in recruiting, admissions, and financial assistance under a policy which called for the
           consideration of an applicant for admission· s sexual orientation, gender identity (including but
           not limited to transgendered status), marital status. past and present practices regarding marriage.
           and sex outside marriage[; ... from] subjecting students to rules of behavior, sanctions. or other
           treatment because of these student characteristics[: or froml making all employment decisions ...
           in a manner which takes into consideration these employee characteristics.•·

           You state that. for these reasons, the University is requesting an exemption from the following
           regulatory provisions "to the extent the regulation would require the institution to treat marriage.
           sex outside of marriage, homosexuality, and gender identity in a manner that is inconsistent with
           the religious tenets of the Convention:"

              •   34 C.F .R. § 106.21 (governing admission):
              •   34 C.F.R. § I 06.22 (governing preferences in admission);
              •   34 C.F.R. § 106.23 (governing recruitment of students);
              •   34 C.F.R. § I 06.31 (b)( 4) (governing different rules of behavior or sanctions);
              •   34 C.F.R. § 106.3 l(b)(7) (governing the limitation of rights, privileges, advantages, or
                  opportunities);
              •   34 C.F.R. § 106.32 (governing housing);
              •   34 C.F.R.§ 106.33 (governing comparable facilities such as restrooms and locker
                  rooms);
              •   34 C.F.R. § 106.37 (governing financial assistance);
              •   34 C. F .R. § 106.40 (governing different rules based on marital or parental status of
                  students);
              •   34 C.F.R. § 106.41 (governing athletics):
              •   34 C.F.R. § 106.51 (governing employment):
              •   34 C.F.R. § I 06.52 {governing employment criteria);
              •   34 C.F .R. § 106.53 (governing recruitment of employees);
              •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in
                  employment decisions); and
              •   34 C.F.R. § 106.60 (governing pre-employment inquiries).

           The University is exempt from these provisions to the extent that they prohibit discrimination on
           the basis of marital status, sex outside of marriage. sexual orientation, or gender identity and
           compliance would conflict with the controlling organization's religious tenets.

          Please note that this letter should not be construed to grant exemption from the requirements of
          Title IX and the regulation other than as stated above. In the event that OCR receives a
          complaint against your institution, we arc obligated to determine initially whether the allegations
          fall within the exemption here granted. Also, in the unlikely event that a complainant alleges




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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         C. Pat Taylor - page 3


         that the practices followed by the institution are not based on the religious tenets of the
         controlling organization, OCR is obligated to contact the controlling organization to verify those
         tenets. If the organization provides an interpretation of tenets that has a different practical
         impact than that described by the institution, or if the organization denies that it controls the
         institution, this exemption will be rescinded.

         I hope this letter responds fully to your request. If you have any questions, please do not hesitate
         to contact me.

                                                               Sincerely,


                                                               Catherme E. Lharnon
                                                               Assistant Secretary for Civil Rights
                                                               U.S. Department of Education




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   EXHIBIT A                                                                        88 AT RISK
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                                     UNITED STAf.ES DEPARTMANT OF EDUCATION
                                                           OFFICE FOR CIVIL RIGHTS

                                                                                                                THE ASSISTA!\T SI -:CRi'.Ti\RY




                                                                   JUN2 7 2D1f~
             Dr. Brent Ellis
             President
             Spring Arbor University
             l 06 E. Main St.
             Spring Arbor, MI 49283


             Dear Dr. Ellis:

             The purpose of this letter is to respond to your correspondence to the U.S. Department
             of Education, Office for Civil Rights (OCR), in which you requested a religious
             exemption     for Spring Arbor University (University) of Spring Arbor, Michigan from
             Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. § 1681. Title lX
             prohibits discrimination on the basis of sex in any education program or activity
             operated by a recipient of Federal financial assistance.

             The implementing regulation at 34 C.F.R. § l 06.12 provides that Title IX does not
             apply to educational institutions controlled by a religious organization to the extent
             application of Title IX would be not be consistent with the religious tenets of such
             organization. TI1erefore, such educational institutions are allowed to request an
             exemption from Title IX by identifying the provisions of Title IX that conflict with a
             specific tenet of the religious organization. The request must identify the religious
             organization that controls the educational institution and specify the tenets of that
             organization and the provisions of the law and/or regulation that conflict.

             Your request explained that the University is "an evangelical Christian university
             affiliated with the Free Methodist Church" that "emphasizes Christian principles of
             religion in its community and campus life." Your letter states that students are required
             to attend chapel re!,rularly and must pass Christian Perspective courses in order to
             graduate. According to the University's Articles of Incorporation, the majority of
             rnem bers of the University's Board of Trustees must be members of the Free Methodist
             Church. Your letter explains that "th<: University is under the control of the Free
             Methodist denomination through the Church members who serve as Trustees and have
             the majority voice on the Board, and through the President of the University, who must
             be a member of the Free Methodist Church."




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HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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           Dr. Brent Ellis, President
           Spring Arbor University
           June 24, 2014
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           You state that the University's Code of Conduct is based on Biblical principles and the
           tenets of the Free Methodist Church, and that all students and employees are required to
           follow the Code of Conduct or risk sanctions, including dismissal from the University or
           termination of employment. Among the religious tenets followed by the University and
           its controlling organi?.ation {the Free Methodist Church) are "that God created two sexes,
           male and female" and that a person cannot change his or her sex assigned at birth. You
           also assert that the University, in compliance with the religious tenets of its controlling
           organization, "adhere[s] to the requirement of heterosexuality" and docs not condone
           premarital cohabitation or extramarital sexual relationships.

           Your letter states that, because of these tenets, a transgender student would not be
           permitted to live in University housing, play on athletic teams, share restrooms, or use
           locker rooms with individuals of the transgendcr student's gender identity. Your letter
           further states that transgender individuals would not be eligible for employment with the
           University. Your letter also provides that transgender individuals '\.vould not be
           pcnnitted to engage in dating or sexual activity with a person of their bi1th sex, because
           this behavior is considered to be homosexual in nature, based upon the University's
           religious beliefs." On this basis, your letter requests an exemption from Title IX and the
           following provisions of its implementing regulation to the extent that these provisions
           prohibit discrimination on the basis of gender identity or sexual orientation:
                • 34 C.F.R. § l 06.31(b)(4) {governing different rules of behavior or sanctions);
                • 34 C.F.R. § l 06.32 (governing housing);
                • 34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
                   rooms);
                • 34 C.F.R. § I 06.41 (governing athletics); and
                • 34 C.F .R. § I 06.51 (governing employment).

           The University is exempt from the provisions listed above to the extent that they prohibit
           discrimination based on gender identity or sexual orientation or require a recipient to treat
           students consistent with their gender identity, and compliance would conflict with the
           controlling organization's religious tenets.

           Additionally, your letter states the tenets of the Free Methodist Church "also prohibit
           elective abortion, pre-ma,ital sex, extra-marital sex, and homosexual behavior, for
           students and employees." On this basis, you request an exemption from Title IX and the
           following provisions of its implementing regulation to the extent that they would require
           the University to "retain pregnant unmarried employees or employees who elect to
           tenninatc their pregnancy, to admit pregnant unmarried students, to retain unmarried
           students who elect to terminate their pregrrnncy, to allow unmanied students of the
           opposite sex to live together, to retain pregnant, unmarried students and to allow them to
           live in University housing, and to allow homosexual students to live together":
               • 34 C.F.R. § 106.21(b)(iii) (governing differential treatment on the basis of sex);
               • 34 C.F.R. ~ 106.21(c) (governing admissions prohibitions on the basis of marital
                   or parental status);




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   EXHIBIT A                                                                        90 AT RISK
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             Dr. Brent Ellis, President
             Spring Arbor University
             June 24, 2014
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                 •   34 C.F.R. § 106.3 l(b)(4) (governing different rnlcs of behavior or sanctions);
                 •   34 C.F.R. § 106.32 (governing housing);
                 •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status
                     of students);
                 •   34 C.F.R. § 106.Sl(a) (governing employment);
                 •   34 C.F.R. § 106.51(b )( 6) (governing the granting of pregnancy-related leave); and
                 •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in
                     employment decisions).

             The University is exempt from the provisions listed immediately above, to the extent that
             they require the University to treat pregnancy, abortion, sexual orientation, and pre-
             marital or extra-marital sexual relationships in a manner that is inconsistent with the
             religious tents of its controlling organization.

             Please note that this letter should not be construed to grant exemption from the
             requirements of Title IX and its implementing regulations other than as stated above. In
             the event that OCR receives a complaint against your institution, we arc obligated to
             determine initially whether the allegations fall within the exemption here granted. Also,
             in the unlikely event that a complainant alleges that the practices followed by the
             institution are not based on the religious tenets of the controlling organization, OCR is
             obligated to contact the controlling organization to verify those tenets. If the
             organization provides an interpretation of tenets that has a different practical impact than
             that described by the institution, or if the organization denies that it controls the
             institution, this exemption will be rescinded.

             I hope this letter responds fully to your request. If you have any questions, please do not
             hesitate to contact me.

                                                            Sincerely,

                                                             Q Jr-_
                                                            Catherine E. Lhamon
                                                            Assistant Secretary for Civil Rigl1ts
                                                            Office for Civil Rights
                                                            U.S. Department of Education



             cc: Diane Y. Bower, Esq., Marcoux Allen




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                              UNITED STATES DEP/1.RTME:d OF I-TJGCATlOJ-\:




          March 24. 2015

          D. Gregory \1ain
          President
          St. Gregory·s Lniversity
          19()0 West Ma<.:1\11hurStreet
          Shawnee. Oklahoma 74804

          De«r President Main:

          The purpose of this letter is to respond to your March 3. 2015. lefter to the U.S. Department of
          Educa:ion, Office for Civil Rights (OCR), in which )OU requested a religious exemption from Title IX of
          the Educ at ion Amendments of 1972 (Title IX). 20 L. S.C. § 168 L for St. Gregory's University
          lUniversity) of Shawnee, Oklahoma. Title IX prnhib;ts discrimination on the basis of sex in any
          education program or activity operated by a recipient of Federal financial assistance.

          ·;-he implementing regulation at 34 C.F.R. § l 06.12 provides that Title IX does not apply to an
          educational institution controlled by a religious organization to the extent that application of Title JX
          would be inconsistent with the controlling organization ·s religious tenets. Therefore, such educational
          institutions are allowed to request an exemption from Title IX by identifyingthe provisions of Title :x
          that conflict with a specific tenet of the religious organization. The request must identify the religious
          organization that controls the educational institution and specify the tenets of that organizatior. ~nd he
          provisions efthe law· and/or regulation that conflict with those tenets.

          Your request explained that the University is --owned by the St. Gregory's Abbey, a co;nmuni~: of
          Catholic Benedictine monks:·

          Your letter requests exemption from provisions of Title IX ··to the extent they are interpreted to reac:,
          gender identity discrimination.'' In support of this request, you cite to the Catechism of the Catholic
          Church, which. according to your letter. states that --·Being man' or ·being woman· is a reality which is
          good and willed by C,od:· Your exer.1ption request points to a recent OCR resolutior1 agreement in which
          a school district agreed to allow a rransgcndcr male student lo use the restroom, lo<.:kcrroom. and liv'ng
                                with the student's gender identity. and to play on boys' athletic teams. You explai11
          facilities <.:<rnsistent
          that. to ,he extent that this agreement indicates that Title IX prohibits discrimination on the basis of
          gender idcn:ity. complian<.:c"would be inconsistent with the religious tenets of St. Cirego~y·s:·

          You state that. for these reasons, the University is requesting an exemption from the following regulatory
          provisions \,1 the extent that they prohibit discrimination on the basis of gender identity:

              •     34 CF.R.         *
                                106.21 (governing admissions):
              •     34 C.F.R. § !06.22 (governing preference in admissions):
              •     34 C.F.R. § 106.23 (governing recruitment of students}:
              •     34 C.F.R. § 106.31 (governing sex discrimination in education programs or activities}:
              •     34 C.F.R. § I 06.32 (governing housing):
              •     34 C.F.R. § I 06.33 (governing comparable facilities such as restrooms and locker rooms}:

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   EXHIBIT A                                                                        92 AT RISK
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           D. Gregory Main··- page 2


               •   34 C.F.R. § 106.34 (govcming access to classes and schools):
               •   34 C.F.R, § I 06.36 (goveming counseling):
               •   34 C.F.R. § I 06.37 (governing financial assistance):
               •   34 C.F.R. § 106.38 (governing employment assistance to students);
               •   34 C.F.R. § 106.39 (governing health insurance benefits and services);
               •   34 C.F.R. § 106.40 (governing different mies based on marital or parental status of students):
               •   34 C.F.R. § I 06.41 (governing athletics):
               •   34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical education
                   classes): and
               •   34 C.F.R. ~ I 06.51-106,61 (governing employment).

           The t..:niversity is exempt from these provisions to the extent that they prohibit discrimination on the basis
           of gender identity and comp Iiance would conflict with the contrail ing organization· s religious tenets.

           Please note that this letter should not be construed to grant exemption from the requirements of'Title IX
           and the regulation other than as stated above. In the event that OCR receives a complaint against your
           institution, we are obligated to determine initially '-vhethcr the allegations fall within the exemption here
           granted. Also, in the unlikely event that a complainant alleges that the practices followed by the
           institution are not based on the religious tenets of the controlling organization, OCR is ohligated to
           contact the controlling organization to verify those tenets. If the organization provides an interpretati,)n
           of tenets that has a different practical impact than that described by the institution, or ifthc organizati-.m
           denies that it controls the institution, this exemption will be rescinded.

           i hope this letter responds fully to your request. If you have any questions, please do not hesitate to
           contact me.

           Sincerely,




           Catherine E. Lhamon
           Assistant Secretary for Civil Rights
           U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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                                                                                                           Tiff 1\SSISTA.'.\lI SLCl!L,.ARY




          January 8. 2015

          Dr. Jules Glanzer
          President
          Tabor College
          400 Smtih Jefkrson
          Hilbborn. KS 67063

          Dear Dr. Cilam:er:

         The purpose or this letter is to respond to your December 3, 2014, letter to the U.S. Department
         of Education, Office for Civil Rights (OCR), in which you requested a religious exemption from
         Title IX 0f the 1-:ducntion Amendments          or
                                                      1972 (Title IX), 20 U.S.C. § 168 l, for Tabor College
         (College) of Hillsboro, Kansas. Tille [X prohibits discrimination on the basis of sex in any
         educatil•n program or activity operated by a recipient of Federal financial assistance.


          The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX docs not apply to an
          educational institution controlled by a religious organization to the extent that application of
         Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
         such educational institutions arc allov.·ed to request an exemption from Title IX by identifying
         the provisions of Title IX that conflict with a sp~cific tenet of the religious organization. The
         requcs1 must identify the religious organization that controls the educational institution and
         specify the tenets of that organization and the provisions of the law and/or regulation that
         conflict \vith those tcnctg,

         Your request stated that the College was founded "by members of the Mennonite Brethren and
         Krimmcr Memwnite Brethren faiths'· and that it "has always existed for the purpose of providing
         education consistent \Vith the beliefs of the Mennonite Brethren denomination." Your letter
         explains that the College's Bylaws state that "the corporate owners of the college are 'the church
         congregations which arc members of the Central District Conference, the Southern District
         Conference. the L::itinAmerican District Conference and the North Carolina District Conference
         0r\--tennonitc Brethren Churches,"' and require that "a majority orthe Board of Directors be
         elected by these four district rnnferenccs." "Your letter further notes that the Bylaws of the
         College require that any "doctrinal statement or other mies and/or regulations issued by the
         Corporation or the College shall be in complete harmony with" the Confession of Faith of the
         united States Conference of the :\1ennonite Brethren Churches (Confession of Faith).

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   EXHIBIT A                                                                        94 AT RISK
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            Dr. Jules Glanzer - page '.!


            Your exemption request points to a recent OCR resolution agreement in which a school district
           agreed 10allow a transgendcr male sludenl lo use the restroom, locker room, and living facilities
           consistent with tbc ~tudcnt"s gender identity, and to play on boys' athletic teams. You explain
           that ·•1b Jecause of its deeply held faith-based convictions regarding the distinctiveness of males
           and females, Tabor College would not be able to provide the kind of accommodation required"
           in that resolution agrccmenl. You state that, for these reasons, the University seeks an exemption
           from Tille IX 10 the extent that Title IX prohibits discrimination based on gender identity.
           Specifically. you cite to the Confession of faith, which states that "God created them [humans]
           male and female in the image of God.·· Your letter states that the College cannot '·support or
           encourage an individual to live in conflict with biblical principles in any area, including gender
           and gender identity." V-./cinterpret these statements as a request for exemption from provisions
           34 C.F.R. §9 I 06.32 (governing housing). I 06.33 (governing comparable facilities such as
           restrooms and locker rooms), and 106.41 (governing athletics). The College is exempt from these
           provisions tu the extent that they require a recipient to treat students consistent with their gender
           identity, hut doing so would conifa:t with the controlling organization's religious tenets.

           Pkase note that this lctler should not be construed to grant exemption from the requirements of
           Title IX and the regulation other than as stated above. In the event that OCR receives a
           complaint against your institution, we arc obligated to dctennine initially whether the allegations
           fall within the exemptionhere granted. Also, in the unlikelyevent that a complainantalleges
           that the practices followed by the institution arc not based on the religious tenets of the
           controlling organization. OCR is obligated to contact the controlling organization to verify those
           tenets. l f the organization provides an interpretation of tenets !hat has a different practical
           impact than that described by the institution, or if the organi1.ation denies that it controls the
           institution. this exemption will h~ rescinded.

           I hope this letter responds fully lo your request. If you have any questions, please do not hesitate
           to contact me.

           Sincerely,




          Catherine E. I ,hamon
          Assistant Secretary for Civil Rights
          lJ.S. Department of Education




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         July 3L 2015

         Robert M. \1yers
         President
         Toccoa Falls College
         P.O. Box 800777
         107 Kincaid Drive
         Toccoa falls. GA 30598

         Dear President Myers:

         I ,Hite to respond to your July 8. 2015. letter to the C.S. Department of Education. Office for
         Civil Rights (OCR), in which you requested a religious exemption for Toccoa Falls College
         (College) of Toccoa Falls, Georgia from Title IX of the Education A1:nendments of 1972 (Title
         IX), 20 lJ.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any education
         program or activity operated by a recipient of Federal financial assistance.

         The implementing             regulation at 34 C.F .R. § 106.12 provides that Title IX does not app1y to an
         educational institution controlled by a religious organization to the extent that application of
         Title IX would be inconsistent with the institution's religious tenets. Therefore, such educational
         institutions are allowed to request an exemption from Title IX by identifying the provisions of
         Title IX that conflict with a specific tenet of the religious organization. The request must
         identify the religious organization that controls the educational institution and specify the tenets
         of that organization and the provisions of the law or regulation that conflict with those tenets.

         Your request explains that the College is an affiliate college of the Christian and Missionary
         Alliance (C&\1A) and, as such, "adheres doctrinally to the beliefs of the denomination_'·
         According to your letter, the College requires all members of the College community. including
         students and faculty, to adhere to its policy on the Faith Community and Mission of the College
         (Policy). The Policy, which was included with your letter, explains that the College ..has
         adopted the statement of faith set forth in the C&\1A \1anual.'' According to the Polic;·. the
         Collcge·s representatives arc "expected to (i) model these [C&MA 'sl biblical heliefs a:1d
         standards for others, (ii) perform all of their responsibilities as a service to God and (iii) comply
         with the follov.·ing obligations; ... affirm their agreement with the C&MA ·s statement of faith
         and other biblical beliefsf, .. -1 endeavor to conduct themselves in a manner that affirms biblical
         standards of conduct in accordance with theirs and the C&MA · s biblical beliefs ... [. and! be
         ready, willing. and able to lead or contribute to distinctly Christian activities such as worship or
         prayer ser,rices:· The Policy further provides that the College may dismiss a representative from
         his or her position if the representative does not comply with these obligations.

         Your exemption request states that the Policy provides that "God created human beings. male

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   EXHIBIT A                                                                        96 AT RISK
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          and female ... As such, students are not to adopt a gender identity different from the one gifted
          them by their Creator. This gendered ordering of creation is to be accepted, honored, and
          reflected in sexual intimacy." Your request explains that "compliance with Title IX. as
          interpreted by ED OCR to reach transgender 'discrimination,' ,voutd be inconsistent with the
          religious tenets of Toccoa Falls College.·•

          Your request also points to a recent EEOC detennination letter in which "the EEOC has begun
          openly declaring that the ban on 'sex· discrimination in Title Vil of the Civil Rights Act of 1964
          also forbids discrimination on the basis of ·sexual orientation."" You explain that if Title IX
          were '•interpreted by ED OCR to reach sexual orientation 'discrimination.' [compliance:] would
          also be inconsistent with the religious tenets of Toccoa Falls College.''

          Your exemption request also states that the College's policies provide fc.Jrthe sanctity of human
          life. According to your letter, the policies state that the College "subscribes to the biblical belief
          that all life is sacred from conception to death ... The college accordingly believes that no
          procedures should be performed for the primary objective of terminating a pregnancy ... except
          in rarest circumstances where other biblical, moral principles prevail, such as where it is
          medically impossible to save the life of both the mother and the child. The college's bdiefs
          further prohibit paying for or otherwise facilitating such procedures."

          You state that, for these reasons, the College is requesting an exemption from the following
          regulatory provisions "to the extent they are interpreted to reach gender identity or sexual
          orientation discrimination, and to the extent they restrict the College's freedom to apply and
          enforce its beliefs and policy regarding human life:"

              •   34 C.F .R. § I 06.21 (governing admission);
              •   34 C.F.R. § 106.22 (governing preferences in admission):
              •   34 C.F.R. § 106.23 (governing recruitment of students):
              •   34 C.F .R. § I 06.31 (governing education programs or activities);
              •   34 C.F .R. § 106.32 (governing housing):
              •   34 C.F.R. § I 06.33 (governing comparable facilities such as restrooms and locker
                  rooms):
              •   34 C.f.R. § I 06.34 (governing access to classes and schools):
              •   34 C.f.R. § I 06.36 (governing counseling and use of appraisal and counseling materials):
              •   34 C.F.R. § 106.3 7 (governing financial assistance):
              •   34 C.F.R. § I 06.38 (governing employment assistance to students};
              •   34 C.F.R. § l 06.39 (governing health and insurance benefits and services):
              •   34 C .F.R. § 106.40 (governing different rules based on marital or parental status of
                  students);
              •   34 C.F.R. § 106.41 (governing athletics):
              •   34 C.F.R. § I 06.43 (governing standards for measuring skill or progress in physical
                  education classes); and
              •   34 C.F.R. §§ 106.51-61 (governing employment).




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         The College is exempt from these provisions to the extent that they prohibit discrimination on
         the basis of gender identity or sexual orientation, or restrict the College's freedom to apply and
         enforce its beliefs and policy regarding human life and compliance would conflict with the
         controlling organization's religious tenets.

         Please note that this letter should not be construed to grant exemption from the requirements of
         Title IX and the regulation other than as stated above. In the event that OCR receives a
         complaint against your institution, we arc obligated to determine initially whether the allegations
         fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
         that the practices followed by the institution are not based on the religious tenets of the
         controlling organization, OCR is obligated to contact the controlling organization to verify those
         tenets. If the organization provides an interpretation of tenets that has a different practical
         impact than that described by the institution. or if the organization denies that it controls the
         institution, this exemption will be rescinded.

         I hope this letter responds fully to your request. If you have any questions, please do not hesitate
         to contact me.

                                                               Sincerely,


                                                               Catherine E. Lhamon
                                                               Assistant Secretary for Civil Rights
                                                               U.S. Department of Education




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   EXHIBIT A                                                                        98 AT RISK
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                                                   UNITED 5Tf'.TES UF:::PART\fE\;I OF EDUCAl'!OJ\




            :vlarch 24. 201 S

            Samuel \V. Oliver. Ph.D.
            Prcsiucn:
            L nion l,'niversity
             1



            1050 Union University Drive
            Jackson. Tennessee 38305-3697

            Dear President Oliver:

            The purpose of this letter is to respond to your Januar; 19. 2015. fetter to 1he L .S. Department of
            Education, Office for Civil Rights (OCR), in which you requested a religious exemption from Title: IX of
            the Education Amendments of I 972 (Title IX). 20 C .S.C. ~ 168 L for Union University (Un i...-ersity~of
            .lackson. Tennessee. Title IX prohibits discrimination on the basis of sex in any education program or
            activity operated by a recipieni of 1--"ederalfinancial assistance.

            The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX does not apply to an
            educational institution controlled by a religious organization to the extent that application of Title IX
            would be inconsistent with the controlling organization's        religious tenets. Therefore, such educational
            institutions are al lowed to request an exemption from Title IX by identifying the provisions of Title IX
            that conflict with a specific tenet of the religious organization. The request must identify the religious
            organization that controls the educational institution and specify the tenets ofthm organization and ·.he
            provisions of the law and/or regulation that conflict with those tenets.

            Your request explained that the university '•is contro11ed by a religious organization. That organiza'ion is
            ,he Te!lnessee Baptist Convention:· Your letter states that ·'the trustees of Union University arc elected
            by and responsible to the Tennessee Baptist Convention."       Your letter also references the Lniversit/s
            Bylav,s (::Z.l. I. Control and Management) which state --rqhe Charter vests the control of the affairs cf
            Lnion t..:niversily in its Board of Trustees, which consists of not fewer than eighteen nor rnore than thirt) •
            six in numbe~. elected by the Tennessee Baptist Convention."

            Your letter requests a religious exemption "'from provisions of Title IX to the extent application of those
            pro\"isions would not be consistent with the Convcntion·s religious tenets regarding marriage. sex ou1sidc
            or marriage. sexual orientation, gender identity ( including but not Iimitcd lo transgendcred status l.
            pregnancy. and abortion.'' In support of this request. you cite to The Baptist Faith and Message 200). the
            1-:ioslrecent statement of faith affirmed by the Tennessee Baptist Convention. According to your iettcr.
            that statement of faith explains that the tenets of the Convention are that marriage is between one man
            and one woman and serves as the means for procreation. that God made man in male and female fo:-m.
            and that the .. gift of gender is thus part of the goodness of God·s creation," You further cite the
            Convention's belief that one should ·'speak o:. behalf of the unborn and contend for the sanctity of ail
            human life from conception lo natural death.'"

            You explain that it would not be consistent with the Convention's religious tenets for the t:niversity to
            comply with Title IX to the extent that it prohibits the College from ·'engaging in recruiting and
            admissions under a policy which called for the consideration of an applicant for admission·s sexual
            •xientation. gender identity (including but not limited to transgendered status), marital status. past ard
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           present practices regarding marriage, sex outside marriage. pregnancy and abortion; ... from subjet·ting
           students to rules of behavior, sanctions, or other treatment because of these student characteristics[: or
           from} making all employment decisions ... in a manner which takes into consideration these employee
           characteristics."

           You state that, for these reasons, The Lniversity is requesting an exemption from the following regt:!atory
           provisions ·'to the extent the regulation would require the institution to treat marriage, sex outside of
           marriage. homosexuality, gender identity. pregnancy and abortion in a manner that i:; in1:onsistcnt \\ ilh
           the religious tenets of the Convention:"

               •   34 C.F.R. ~ l 06.2 ! (governing admission):
               •   34 C.F.R. § 106.23 (governing. recruitment of students):
               •   34 C.F.R. § I 06.31 (bX 4) (governing different rules of behavior or sanctions);
               •   34 C.F.R. § l06.3 l(b)(7) (governing the limitation of rights, privileges. advantages. or
                   opportunities);
               •   34 C.F.R. § !06.32 (governing housing):
               •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker rooms):
               •   34 C.F.R. § I 06.40 (governing different rules based on marital or parental status of students 1:
               •   34 C.F.R. § 106.41 (governing athletics):
               •   34 C.F.R. § I 06.51 (governing employment):
               •   34 C.F.R. § I 06.52 (governing employment criteria):
               •   34 C.F.R. § I 06.53 (governing recruitment of emplo:yees);
               •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment
                   decisions);
               •   34 C.F.R. § l 06.60 (governing pre-employment inquiries).

          The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
          of marriage status, sex outside of marriage. sexual orientation, gender identity, pregnancy, or abortion and
          compliance would conflict with the controlling organization's religious tenets.

          Please note that this letter should not be construed to grant exemption from the requirements of Title IX
          and the regulation other than as stated above. In the event that OCR receives a complaint against your
          institution, we are obligated to determine initially whether the allegations fall \Vithin the exemption here
          granted. Also. in the unlikely event that a complainant alleges that the practices followed by the
          institution are not based on the religious tenets of the controlling organization, OCR is obligated to
          contact the controlling organization to verify those tenets. If the organization provides an interpretation
          of tenets that has a different practical impact than that described by the institution, or if the organizafon
          denies that ii controls the institution, this exemption will be rescinded.

          I hope this letter responds fully to your request. If you have any questions, please do not hesitate to
          contact me.

          Sincerely.




          Catherine E. Lhamon
          Assistant Secretary for Civil Rights
          U.S. Department of Education




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   EXHIBIT A                                                                       100 AT RISK
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                                     UNTT[D Slf\TES DEPART:vlE;\JT OF EDUCATIOI\




           March 24. 2015

           Dr. Randy o·Rcar
           President and CEO
           L:nivcrsity of Mary I lard in-Baylor
           900 College Street
           Belton. Texas 765 13

           Dear Dr. o·R.car:

           The purpose ofthis letter is to respond to your January 29. 20 I 5. letter to the U.S. Department of
           Education, Office for Civil Rights (OCR), in which you requested a religious exemption from Title ;X l'f
           the Education Amend men ls of 1972 (Title IX). 20 L .S.C. ~ 1681. for the U nivcrsily of Mary I lardin-
           Baylor (University) of Belton, Texas. Title IX prohibits discrimination on the basis of sex in any
           education program or activity operated by a recipient of Federal financial assistance.

           The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX does not apply to an
           educational institution controlled by a religious organization to the extent that application of Title iX
           would be inconsistent with the controlling organization's        religious tenets. Therefore, such educat;ona!
           institutionsare allowedto request an exemptio!lfrn:n Title IX by idcnti(ving the provisionsof Title JX
           that conflict with a specific tenet of the religious organization. The request must identify the religious
           organization that controls the educational institution and specify the tenets of that organization and the
           provisions of the law and/or regulation that conflict with those tenets.

           Your request explained that the L"niversity is ··contrclled by a religious ('rganization. the Uaptist
           General Convention of Texas." Your request stated that pursuant to the University's Restated
           Certificate of Formation, "the Baptist Generai Convention of Texas controls the Universi!y in pan by
           exercising its right to select a majority of the board or directors of the University. the governing tody
           of the University."

           Your letter requests exemption from provisions of Title IX "to the extent application of those provisi;ms
           would not be consistent with the Convention's religious tenets regarding marriage. sex outside of
           marriage. sexual orientation, gender identity (including but not limited to transgcndcr status). pregnancy.
           and abortion.·· In support of this request. you cite to 011 SC'xual Ethic.I', a re.,olution adopted by the
           Convention in 2009. According to your letter. that resolution states that "lhe Bihle teaches that the iCca
           for sexual behavit)r is the marital union between husband and wife and that all other sc:\ual relations -
           whether premarital, extramarital. or homosexual - arc contrary to God·s purposes and thus sinfi.d."" Ym1
           further cite the Convention's religious oclicfthat ··gender is based on biological allrihutes and is sce1' as a
           gift from God and immutable.'' Finally. you cite to the Baptist Faith and Message. which. according. 1(1
           your letter. states that "jm]arriage is the uniting of one man and one woman.'·

           You explain that it would not be consistent with tl,e Convention's religious tenets for the Lniversity 10
           comply with Title IX to the extent that it prohibits the University from "engaging in recruiting and
           admissions under a policy which called for the consideration of an applicant for admission's sexual
           orientation. gender identity (including hut not limited to transgendercd status), marital status. past and
           present practices regarding marriage. sex outside marriage, pregnancy. and abortion: 1 ... f;rom subjecting
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          students to rules of behavior, sanctions, or other treatment because of these student characteristics[: or
          from] making all employment decisions ... in a manner which takes into consideration these employc:c
          c haractcristics.•·

          You state that. for these reasons, the University is rcqt1csting an exemption from the following regulatory
          provisions to the extent that they "would require the institution to treat marriage, sex outside of marriage.
          homosexuality. gender identity (including but not limited to transgender status), pregnancy and abortion
          in a manner that is inconsistent with the religious tenets" of the Baptist General Convention of Texas

              •   34 C.F.R. § l 06.21 (governing admissions):
              •   34 C.F.R. § l 06.23 (governing recruitment of students);
              •   34 C.F.R. § l 06.31 (b)(4) (governing different rules of behavior or sanctions):
              •   34 C.f.R. § I 06.31 (h)(7) (governing the limitation of rights. privileges, advantages. or
                  opportunities);
              •   34 C.F.R. § l 06.32 (governing housing):
              •   34 C .F. R. § l 06.33 (governing comparable fac iiities such as restrooms and locker rooms):
              •   34 C.F.R. § l 06.40 (governing different rules based on marital or parental status of students):
              •   34 C.F.R. § l 06.41 (governing athletics):
              •   34 C.F.R. § 106.51 (governing employment):
              •   34 C.F.R. § 106.52 (employment criteria):
              •   34 C.F.R. § I 06.53 (governing recruitment of employees);
              •   34 C.F.R. § I 06.57 (governing the consideration of marital or parental status in employment
                  decisions); and
              •   34 C.F.R. § 106.60 (governing pre-employment inquiries).

          The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
          of marital status, sex outside of marriage, sexual orientation, gender identity, pregnancy, or abortion <tnd
          compliance would conflict with the controlling organization's religious tenets.

          Please note that this letter should not be construed to grant exemption from the requirements of Title IX
          and the regulation other than as stated above. In the event that OCR receives a complaint against your
          institution, we are obligated to detennine initially whether the allegations fall within the exemption h<!re
          granted. Also, in the unlikely event that a complainant alleges that the practices followed by the
          institution are not based on the religious tenets of the controlling organization, OCR is obligated to
          contact the controlling organization to verify those tenets. If the organization provides an intcrprerati:rn
          of tenets that has a different practical impact than that described by the institution. or if the organizati:::m
          denies that it controls the institution. this exemption will be rescinded.

          I hope this letter responds ti.illy to your request. If you have any questions. please do not hesitate to
          contact me.

          Sincerely.




          Catherine E. Lhamon
          Assistant Secretary for Civil Rights
          U.S. Department of Education




100											
    EXHIBIT A                                                                       102 AT RISK
              HIDDEN DISCRIMINATION: TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS
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                                           L.:NITED STATES DEPARTMENT OF EDUCATION
                                                                   OfflCE    FOR CIVIi. JllCl-llS
                                                                                                                    Tl-I[ ASSISTJ\'.\JT SECRET1\RY




           May 4, 2015

           Mark Foley, Ph.D.
           President
           University of Mobile
           5735 College Parkway
           Mobile, AL 36613

           Dear Dr. Foley:

           I wTite to respond to your March 18, 2015, letter to the U.S. Department of Education, Office for
           Civil Rights (OCR), in which you requested a religious exemption for the University of Mobile
           (University) of Mobile, Alabama, from Title IX of the Education Amendments of 1972 (Title
           IX), 20 U.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any education
           program or activity operated by a recipient of Federal financial assistance.

           The implementing regulation at 34 C.F.R. § 106. 12 provides that Title IX does not apply to an
           educational institution controlled by a religious organization to the extent that application of
           Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
           such educational institutions are allowed to request an exemption from Title IX by identifying
           the provisions of Title IX that conflict with a specific tenet of the religious organization. The
           request must identify the religious organization that controls the educational institution and
           specify the tenets of that organization and the provisions of the law or regulation that conflict
           with those tenets.

           Your request explained that the University, "a Southern Baptist institution of higher education,"
           "is controlled by a religious organization. That organization is the Alabama Baptist State
           Convention." Your letter states that "pursuant to the University's Charter and Bylaws, the
           Alabama Baptist State Convention controls the University in part by exercising its right to select
           the entire membership of the board of directors of the University, the governing body of the
           University."

           Your letter requests a religious exemption from the provisions of Title IX "to the extent
           application of those provisions would not be consistent with the Convention's religious tenets
           regarding marriage, sex outside of marriage, sexual orientation, gender identity, pregnancy, and
           abortion," In support of this request, you cite to The Baptist Faith and Message 2000, the most
           recent statement of faith adopted by the Convention. According to your letter, that statement of
           faith explains that the tenets of the Convention are that marriage is between one man and one
           woman and serves as the means for procreation, that God made people in male and female form,
           and that the "gift of gender is thus part of the goodness of God's creation.,. You further cite the


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HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                                                                       103   101
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         Dr. Mark Foley- page 2


         Convention's belief that one should "speak on behalf of the unborn and contend for the sanctity
         of all human life from conception to natural death."

         You explain that it would not be consistent with the Convention's religious tenets for the
         University to comply with Title IX to the extent that it prohibits the University from "engaging
         in recruiting and admissions under a policy which called for the consideration of an applicant for
         admission's sexual orientation, gender identity (including but not limited to transgendered
         status), marital status, past and present practices regarding marriage, sex outside marriage,
         pregnancy, and abortion[; ... ] from subjecting students to rules of behavior, sanctions, or other
         treatment because of these student characteristics[; or from] making all employment decisions ...
         in a manner which takes into consideration these employee characteristics."

         You state that, for these reasons, the University is requesting an exemption from the following
         regulatory provisions "to the extent the regulation would require the institution to treat marriage,
         sex outside of marriage, homosexuality, gender identity, pregnancy, and abortion in a manner
         that is inconsistent with the religious tenets of the Convention:"

             •   34 C.F.R. § 106.21 (governing admission);
             •   34 C.F.R. § 106.23 (governing recruitment of students);
             •   34 C.F.R. § 106.3 l(b)(4) (governing different rules of behavior or sanctions);
             •   34 C.F .R. § 106.31 (b )(7) (governing the limitation ofrights, privileges, advantages, or
                 opportunities);
             •   34 C.F.R. § 106.32 (governing housing);
             •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
                 rooms);
             •   34 C.F.R. § I 06.40 (governing different rules based on marital or parental status of
                 students);
             •   34 C.F .R. § 106.41 (governing athletics);
             •   34 C.F.R. § 106.51 (governing employment);
             •   34 C.f .R. § 106.52 (governing employment criteria):
             •   34 C.F.R. § 106.53 (governing recruitment of employees);
             •   34 C.F.R. § I 06.57 (governing the consideration of marital or parental status in
                 employment decisions); and
             •   34 C.F.R. § 106.60 (governing pre-employment inquiries).

         The University is exempt from these provisions to the extent that they prohibit discrimination on
         the basis of marital status, sex outside of marriage, sexual orientation, gender identity,
         pregnancy, or abortion and compliance would conflict with the controlling organization's
         religious tenets.

         Please note that this letter should not be construed to grant exemption from the requirements of
         Title IX and the regulation other than as stated above. In the event that OCR receives a complaint
         against your institution, we are obligated to determine initially whether the allegations fall within
         the exemption here granted. Also, in the unlikely event that a complainant alleges that the
         practices followed by the institution are not based on the religious tenets of the controlling
         organization, OCR is obligated to contact the controlling organization to verify those tenets. If




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    EXHIBIT A                                                                       104 AT RISK
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           Dr. Mark Foley - page 3


           the organization provides an interpretation of tenets that has a different practical impact than that
           described by the institution, or if the organization denies that it controls the institution, this
           exemption will be rescinded.

           I hope this letter responds fully to your request. If you have any questions, please do not hesitate
           to contact me.

           Sincerely,




          Catherine E. Lhamon
          Assistant Secretary for Civil Rights
          U.S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                             105   103
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                                               UNITED STATES DEPi\RT\lENT Of- EDUCATIO>J




          March 24. 2015

          Dr. Larry L. Cockrum
          Chief Fxecutivc Officer and President-Elect
          Lnivcrsity of the Cumbcrlands. Im:.
          6 I 91 College Station Drive
          \,Vi!liamsburg. KY 40769

          Dear Dr. Co~krum:

          The purpose of this letter is to respond to your January 19. 20 l 5. letter 1.0 the L. S. Depa:'tmcnt of
          Education, Office for Civil Rigllts (OCR), in which you requested a religious exemption from Title IX of
          the Education Amendments of 1972 (Title IX). 20 l'.S.C. ~ 1681, for University of the Cumberlands Inc.
          (Univcrsil}) of Williamsburg, Kentucky. Title IX prohibits discrimination on tile basis of sex in any
          education program or activity operated bya recipient of Federal financial assistance.

          The implementing regulation at 34 C.F.R. § l 06.12 provides that Title IX docs not apply to an
          educational institution controlled by a religious organization to the extent that application of Title IX
          would be inconsistent with the controlling organization's religious tenets. Therefore, such educational
          institutions arc allowed to request an exemption from Title IX by identif)'·ing the provisions of Title IX
          that conflict with a specific tenet of the religious organization. The request must identity the religious
          organization that controls the educational institution and specify the tenets of that organization and tl·e
          provisions of the law and/or regulation that conflict with those tenets.

          Your request explained that the University is ··controlled by a religiou~ organization. That organizatim1 is
          the Kentucky Baptist Convention." Your letter explains that "pursuant to the University's Charter and
          Bylaws. the Kentucky Baptist Convention controls the University in part by exercising its right to sekct
          the entire elected membership of the board of directors of the L'nivcrsity. the governing body of the
          University ...

          Your letter requests a religious exemption from the provisions of Title IX "to the extent application of
          those provisions would not be consistent with the Convention ·s religious tenets regarding marriage. s;::,.
          outside of marriage. sexual orientation, gender identity. pregnancy. and abortion." In support {lf you,
          request. you cite The Baptist Faith and Message 2000. the most recent statement of faith adopted by the
          Convention. According to your letter, that statement of faith explains that the teni.:tsof the Conventicn
          are that marriage is between one man and one \\Oman and serves as the means fr,r procreation_ that (jod
          made :-nan in male and female form, and that the "gi It of gender is thus part of the goodness of <.iod·s
          crcati(1n... You further cite the Convention ·s belief that one should "speak on behalf of the unborn and
          contend forthe sanctity ofall lluman life from conception to natural death."

          Yoa e:xplain that it would not be consistent with the Convention's religious tenets for the University to
          comply with Title IX to the extent that it prohibits the University from ·'engaging in recruiting and
          admissions under a policy which called for the consideration of an applicant for admission·s sexual
          orientation. transgendered status, marital status. past and present practices regarding marriage, sex outside
          marriage. pregnancy and ah011ion: [... from] subjecting students to rules of behavior, sanctions. or ot:1er
          treatment because of these student characteristics[: or from] making all employment decisions ... in a
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    EXHIBIT A                                                                       106 AT RISK
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          Dr. Larry L. Cockrum - page 2


          manner which takes into consideration these employee characteristics."

          You state that, for these reasons, the University is requesting an exemption from the following regulatary
          provisions '·to the extent the regulation would require the institution to treat marriage, sex outside of
          marriage, homosexuality, gender identity, pregnancy and abortion in a manner that is inconsistent with
          the religious tenets" of the Kentucky Baptist Convention:

              •   34 C.F.R. § I06.21 (governing admissions):
              •   34 C.F.R. § I 06.23 (governing recruitment of students):
              •   34 C.F.R. § l 06.3 I (b)(4) (governing different rules of behavior or sanctions):
              •   34 C.F.R. § l 06.31 (b)(7) (governing the limitation of rights. privileges. advantages. or
                  opportunities):
              •   34 C.F.R. § l 06.32 (governing housing);
              •   34 C.F.R. § l 06.33 (governing comparable facilities such as restrooms and locker rooms):
              •   34 C.F.R. § l 06.40 (governing different rules based on marital or parental status of students):
              •   34 C.F.R. § l 06.41 (governing athletics):
              •   34 C.F.R. § 106.51 (governing employment):
              •   34 C. F .R. § l 06.52 (governing employment criteria):
              •   34 C.F.R. § ! 06.53 (governing recruitment of employees);
              •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment
                  decisions); and
              •   34 C.F.R. § I 06.60 (governing pre-employment inquiries).

          The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
          of marriage status, sex outside of marriage, sexual orientation, gender identity, pregnancy, or abortion and
          compliance would conflict with the controlling organization's religious tenets.

          Please note that this letter should not be construed to grant exemption from the requirements of Title IX
          and the regulation other than as stated above. In the event that OCR receives a complaint against your
          institution, we are obligated to determine initially whether the allegations fall within the exemption here
          granted. Also. in the unlikely event that a complainant alleges that the practices followed by the
          institution are not based on the religious tenets of the controlling organization, OCR is obligated to
          contact the controlling organization to verify those tenets. If the organization provides an interpretation
          of tenets that has a different practical impact than that described by the institution, or if the organization
          denies that it controls the institution, this exemption will be rescinded.

          I hope this letter responds fully to your request. If you have any questions, please do not hesitate to
          contact me.

          Sincerely.



                   /



          Catherine E. Lhamon
          Assistant Secretary for Civil Rights
          U S. Department of Education




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
       DISCRIMINATION:                                                                                                     107   105
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            December 22. 2014

            Dr. Thomas 0. Jones
            President
            Williams Baptist College
            P.O. Box 3733
            Wa!nut Ridge, AR 72476

            Dear Dr. Jones:


            The purpose of this letter is to respond to your November 17, 2014, letter to the U.S. Department
            of Education, Office for Civil Righi~ (OCR), in which you requested a religious exemption from
            Title IX of the Education Amendments of 1972 (Title IX). 20 U.S.C. § 1681, for Williams
            l-3aptist Colkge (College) of Walnut Ridge. Arkansas. Tille IX prohibits discrimination on the
            basis of sex in any education program or activity operated by a recipient of Federal financial
            assistance.

            The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX does not apply to an
            educational institution controlled by u religious organization to the extent that application of
            Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
            such educational institutions are allmved to request an exemption from Title IX by identifying
            the provisions of Title TXthat conflict with a specific tenet of the religious organization. The
            request must identify the religious organization that controls the educational institution and
            specify the tenets of that organization and the provisions ot-thc law and/or regulation that
            ccnllict with those tenets.

            Your request explained that the College ••is owned and operated by a religious organization. That
            organization is the Arkansas Baptist State Convention." Your letter enclosed a copy of the
            College·s Constitution and Bylaws. Article II of the Constitution designates the Arkansas
            Baptist State Convention as the College's sole member and Article IV provides that the Arkansas
            8aptist State Convention will select the entire elected membership of the Board of Trustees, tbe
            govcmi ng body of the College.


            Your letter requests a religious exemption from provisions of Title IX "to the extent application
           of those provisions would not be consistent with the Convention's religious tenets regarding

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    EXHIBIT A                                                                       108 AT RISK
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             Dr. Thom~s 0. Jones ··-pagt: :2


             marriage, sex outside of marriage, sexual orientation, gender identity, pregnancy and abortion."
             In support of this request, you cite to The Baptist faith and Message 2000, the most recent
             statement of faith adopted by LheConvention. According to your letter, that statement of faith
             explains that the tenets of the Convention arc that marriage is between one man and one woman
             and serves as the means for procreation, that God made man in male and female form, and that
             the ·'gift of gender is thus part of the goodness of God's creation.'' You furthercite the
             Convention's belief that one should "speak on behalf of the unborn and contend for the sanctity
             of all human life from conception to natural death,''

             You explain that it would not be consistent with the Convention's religious tenets for the College
             to comply with Title IX to U1eextent that it prohibits the College frClm "engaging in recruiting
             and admissions under a policy which called !or the consideration of an applicant for admission· s
             sexual orientation, transgendcrcd status. marital status, past and present practices regarding
             marriage, sex outside marriage, pregnancy and abortion; ... from subjecting students to rules of
             behavior, sanctions, or other treatment because of these student characteristics; [orJ from making
             employment decisions ... in a manner which takes into consideration these employee
             characteristics."

             You state that, for these reasons, the College is requesting an exemption from the following
             regulatory provisions to the extent that they prohibit discrimination based on marital status, sex
             outside of marriage, sexual orientation, gender identity, pregnancy, or abortion:

                o    34 C.F.R. § 106.21 (governing admiss1on);
                o   34 C.F.R. § !06.23 (governing recruitment of students);
                •   '.i4 C.F. R. § I 06.3 1(b )(4) (governing different rules of behavior or sanctions);
                •   34 C.F.R. § 106.31 (b)(?) (governing the limitation of rights. privileges, advantages, or
                    opportunities);
                •   34 C.F.R. § I06.32 (governing housing);
                •   34 C.r.R. § I 06.33 (governing comparable facilities such as restrooms and locker
                    rooms):
                o   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
                    students);
                o   34 C.F.R. § I06.41 (governing athletics);
                •   34 C.f-.R. § 106.51 (governing employment):
                •   34 c.1:.R. § l 06.52 (governing employment criteria);
                o   34 C .F.R. § 106.53 (governing recruitment of employees);
                •   34 C.F.R. § !06.57 (governing the consideration of marital or parental status in
                    employment decisions); and
                •   34 C.F.R. § 106.60 (governing pre-employment inquiries).




HIDDEN EXHIBIT   A TITLE IX RELIGIOUS EXEMPTIONS PUTTING LGBT STUDENTS AT RISK
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            Dr. Thomas 0. Jones -· page 3


            The College is exempt from these provisions to the extent that they prohibit discrimination   on
            the basis of marital status, sex outside of marriage. sexual orientation, gender identity,
            pregnancy. or abortion and compliance would conflict with the controlling organization's
            religious tenets.

            Please note that this letter should not be construed to grant exemption from the requirements of
            Title IX and the regulation other than as stated above. In the event that OCR receives a
            complaint against your institution. we arc obligated to dctennine initially whether the allegations
            foll within the exemption here granted. Also, in the unlikely event that a complainant alleges
            that the practices followed by the institution are not based on the religious tenets of the
            controlling organization. OCR is obligated to contact the controlling organization to verify those
            tenets. If the organization provides an interpretation of tenets that has a different practical
            impact than that described by the institution, or if the organization denies that it controls the
            institution, this exemption will be rescinded.

           I hope this letter responds fully to your request. If you have any questions, please do not hesitate
           to contact me.

           Sincerely,


              .'    f
                   ~./,/'··,
           Catherine E. Lhamon
           Assistant Secretary for Civil Rights
           U.S. Department of Education




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    EXHIBIT A                                                                       110 AT RISK
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WASHINGTON, D.C. 20036
800-777-4723
WWW.HRC.ORG


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